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                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE LEO M. GORDON, SENIOR JUDGE
__________________________________________
                                           )
POKARNA ENGINEERED STONE LIMITED,          )
                                           )
                  Plaintiff,               )
                                           )
      and                                  )
                                           )
M S INTERNATIONAL, INC.,                   )
                                           )
                  Consolidated Plaintiff,  )
                                           )
      v.                                   )   Consol. Court No. 20-00127
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               )
                                           )
      and                                  )
                                           )
CAMBRIA COMPANY LLC,                       )
                                           )
                  Defendant-Intervenor.    )
                                           )
__________________________________________)

                                               ORDER

        Upon consideration of the motions for judgment upon the administrative record filed by

plaintiffs, the responses thereto, plaintiffs’ replies, the administrative record, and all other

pertinent papers, it is hereby

        ORDERED that plaintiffs’ motions are DENIED;
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        ORDERED that the Department of Commerce’s determination is affirmed in all respects;

and it is further

        ORDERED that judgment is entered in favor of the United States.




                                                          _____________________________
                                                                  SENIOR JUDGE

Dated: ____________, 2021
       New York, N.Y.




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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE LEO M. GORDON, SENIOR JUDGE
__________________________________________
                                           )
POKARNA ENGINEERED STONE LIMITED,          )
                                           )
                  Plaintiff,               )
                                           )
      and                                  )
                                           )
M S INTERNATIONAL, INC.,                   )
                                           ) Consol. Court No. 20-00127
                  Consolidated Plaintiff,  )
                                           ) PUBLIC VERSION
      v.                                   )
                                           ) Business Proprietary Information
UNITED STATES,                             ) (BPI) Denoted by Brackets [ ]
                                          )  on Page 22.
                  Defendant,               )
                                          )
      and                                  )
                                          )
CAMBRIA COMPANY LLC,                       )
                                          )
                  Defendant-Intervenor.    )
                                          )
__________________________________________)


                DEFENDANT’S RESPONSE TO PLAINTIFFS’
           MOTIONS FOR JUDGMENT UPON THE AGENCY RECORD


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                                              TARA K. HOGAN
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May 26, 2021                           Attorneys for Defendant United States
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             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE LEO M. GORDON, SENIOR JUDGE
__________________________________________
                                           )
POKARNA ENGINEERED STONE LIMITED,          )
                                           )
                  Plaintiff,               )
                                           )
      and                                  )
                                           )
M S INTERNATIONAL, INC.,                   )
                                           ) Consol. Court No. 20-00127
                  Consolidated Plaintiff,  )
                                           ) PUBLIC VERSION
      v.                                   )
                                           ) Business Proprietary Information
UNITED STATES,                             ) (BPI) Denoted by Brackets [ ]
                                          )  on Page 22.
                  Defendant,               )
                                          )
      and                                  )
                                          )
CAMBRIA COMPANY LLC,                       )
                                          )
                  Defendant-Intervenor.    )
                                          )
__________________________________________)

                   DEFENDANT’S RESPONSE TO PLAINTIFFS’
              MOTIONS FOR JUDGMENT UPON THE AGENCY RECORD

       Pursuant to Rule 56.2 of the Rules of this Court, defendant, the United States,

respectfully submits this response to the motions for judgment upon the agency record filed by

plaintiff Pokarna Engineered Stone Limited (PESL) and consolidated plaintiff M S International,

Inc. (MSI). Because the Department of Commerce’s final determination in its antidumping duty

investigation of certain quartz surface products from India is supported by substantial evidence

and otherwise lawful, we respectfully request that the Court reject plaintiffs’ challenges and

sustain Commerce’s determination.
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                          STATEMENT PURSUANT TO RULE 56.2

I.     Administrative Determination Under Review

       The administrative determination under review is Certain Quartz Surface Products From

India, 85 Fed. Reg. 25,391 (Dep’t of Commerce May 1, 2020) (Final Determination), and the

accompanying Issues and Decision Memorandum, P.D. 367 (IDM). Following an affirmative

injury determination by the U.S. International Trade Commission (ITC), Commerce published an

antidumping duty order on June 22, 2020. Certain Quartz Surface Products From India and

Turkey, 85 Fed. Reg. 37,422 (Dep’t of Commerce June 22, 2020). The investigation period

covers April 1, 2018, through March 31, 2019.

II.    Issues Presented For Review

       1.      Whether Commerce’s interpretation of the term “producer” for industry support

purposes under 19 U.S.C. §§ 1673a and 1677 lawfully allows Commerce to evaluate the

sufficiency of a fabricator’s production-related activities.

       2.      Whether Commerce’s determination that quartz surface product fabricators do not

perform sufficient production-related activities to be considered “producers” for industry support

purposes is supported by substantial evidence.

       3.      Whether Commerce’s determination to refrain from applying a bona fide sales

analysis with respect to PESL’s paid sample sales is lawful.

                                           ARGUMENT

I.     Standard of Review

       This Court sustains any determination, finding, or conclusion by Commerce unless it is

unsupported by substantial record evidence, or otherwise unlawful. Fujitsu Gen. Ltd. v. United

States, 88 F.3d 1034, 1038 (Fed. Cir. 1996) (quoting 19 U.S.C. § 1516a(b)(1)(B)); see United




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States v. Eurodif S.A., 555 U.S. 305, 316 n.6 (2009) (Eurodif II) (“The specific factual findings

on which {Commerce} relies in applying its interpretation are conclusive unless unsupported by

substantial evidence.”). “Substantial evidence” connotes “such relevant evidence as a reasonable

mind might accept as adequate to support a conclusion.” Consol. Edison Co. of N.Y. v. NLRB,

305 U.S. 197, 229 (1938). Substantial evidence may be “less than the weight of the evidence,”

and the possibility of drawing inconsistent conclusions from the record does not render findings

unsupported by substantial evidence. Consolo v. Fed. Mar. Comm’n, 383 U.S. 607, 620 (1966).

       Indeed, when Congress entrusts an agency to administer a statute that demands inherently

fact-intensive inquiries, agency conclusions may be set aside only if the record is “so compelling

that no reasonable factfinder” could reach the same conclusion. INS v. Elias-Zacarias, 502 U.S.

478, 483-84 (1992); Shandong Rongxin Imp. & Exp. Co. v. United States, 203 F. Supp. 3d 1327,

1338 (Ct. Int’l Trade 2017) (recognizing tremendous deference to Commerce’s factual findings).

It is thus improper to overturn a determination “simply because the reviewing court would have

reached a different conclusion based on the same record,” Cleo Inc. v. United States, 501 F.3d

1291, 1296 (Fed. Cir. 2007) (citations omitted), and the Court will not substitute its judgment for

Commerce in choosing between two fairly conflicting views, even if it could justifiably have

made a different choice had the matter been before it de novo. Goldlink Indus. Co. v. United

States, 431 F. Supp. 2d 1323, 1326 (Ct. Int’l Trade 2006). Hence, a party challenging

Commerce’s determination under the substantial evidence standard “has chosen a course with a

high barrier to reversal,” Nippon Steel Corp. v. United States, 458 F.3d 1345, 1352 (Fed. Cir.

2006) (citation omitted), and the Court sustains Commerce’s factual determinations if they are

reasonable and supported by the record as a whole, even if evidence detracts from them. See Atl.

Sugar, Ltd., v. United States, 744 F.2d 1556, 1562 (Fed. Cir. 1984).




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       When the Court examines Commerce’s interpretations of the statute it administers, the

Court employs the two-pronged test established in Chevron, U.S.A., Inc. v. Natural Res. Def.

Council, Inc., 467 U.S. 837 (1984). First, the Court examines “whether Congress has directly

spoken to the precise question at issue,” and if it has, the agency and Court must comply with

Congress’s clear intent. Id. at 842-43. If, however, “the statute is silent or ambiguous with

respect to the specific issue, the question for the court is whether the agency’s answer is based on

a permissible construction of the statute.” Id. at 843. If so, “{a}ny reasonable construction of

the statute is a permissible construction,” Timken Co. v. United States, 354 F.3d 1334, 1342 (Fed.

Cir. 2004) (citation and quotation marks omitted), and Commerce’s “interpretation governs in

the absence of unambiguous statutory language to the contrary or unreasonable resolution of

language that is ambiguous.” Eurodif II, 555 U.S. at 316 (citation omitted). Indeed, “the whole

point of Chevron is to leave the discretion provided by the ambiguities of a statute with the

implementing agency.” Id. (citation omitted); see Torrington Co. v. United States, 68 F.3d 1347,

1351 (Fed. Cir. 1995) (recognizing Commerce as “master” of antidumping laws).

       Finally, the Court affords Commerce especially great deference “{w}hen a statute fails to

make clear any Congressionally mandated procedure or methodology for assessment of the

statutory tests.” JBF RAK LLC v. United States, 790 F.3d 1358, 1363 (Fed. Cir. 2015) (citation

and quotation marks omitted). In that circumstance, “Commerce may perform its duties in the

way it believes most suitable.” Id. (citation omitted). Consequently, Commerce receives

“tremendous deference” that is “both greater than and distinct from that accorded the agency in

interpreting the statutes it administers” when it exercises its technical expertise to select and to

apply methodologies to implement the trade statute. Fujitsu, 88 F.3d at 1039.




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II.    Commerce’s Industry Support Determination Is Lawful
       Contrary to MSI’s claims, Commerce’s interpretation of the industry support portion of

the statute is lawful. The statute does not define who constitutes a “producer” of subject

merchandise. Accordingly, Commerce has looked to the legislative history and concluded that,

to qualify as a “producer” for industry support purposes, a company must have sufficient

production-related activities. As this Court and the Court of Appeals for the Federal Circuit have

already recognized, Commerce’s interpretation is reasonable and therefore should be sustained

under the second prong of Chevron.

       A.      Relevant Background

       In May 2019, Cambria Company LLC (Cambria) filed a petition for imposition of

antidumping duties on certain quartz surface products from India. Petition, P.D. 1-5; C.D. 1-5

(May 8, 2019). MSI, a United States importer of quartz surface products, filed comments

challenging Cambria’s standing to file the petition, alleging that Cambria failed to include quartz

surface product fabricators as domestic industry “producers” in its industry support calculation.

MSI Standing Comments, P.D. 39-40; C.D. 18-30 at 2-6 (May 24, 2019). Cambria responded

with comments supporting its standing to file the petition. Petitioner Standing Comments, P.D.

42; C.D. 33 at 1-18 (May 28, 2019).

       In accordance with the twenty-day statutory deadline, Commerce on May 28, 2019

initiated an investigation. Certain Quartz Surface Products From India and the Republic of

Turkey, 84 Fed. Reg. 25,529 (Dep’t of Commerce June 3, 2019) (Initiation), and accompanying

Initiation Checklist, P.D. 46; C.D. 34 at Attachment II (May 28, 2019) (Initiation Checklist).

After reviewing the record evidence relating to fabricators, Commerce found that fabricators did

not perform sufficient production-related activities, and thus were not “producers” for purposes

of determining industry support. Id. at Att. II, pp. 1, 9-16. Commerce explained that the detailed


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information Cambria had submitted made it “clear that there are significant differences in the

level of complexity and capital investment, employment, training and technical expertise,

production processes, and type of equipment, between quartz surface product slab producers and

fabricators.” Id. at Att. II, pg. 14 (citing Petitioner Standing Comments, P.D. 42; C.D. 33 at 4-18

& Exs. 2-8); see also id. at 10-12 (detailing evidentiary arguments). In particular, Commerce

found that “fabricators simply convert an existing slab into a geometrical form for its end use or

application” and noted that “many fabricators rely on imported slabs to produce final fabricated

products.” Id. (citations omitted).

       Hence, consistent with other cases involving companies that perform processing on

merchandise, Commerce did not include the fabricators MSI identified in the domestic industry

for the industry support calculation. Id. at 16 (citations omitted). Commerce nonetheless

observed that, even if it had included the fabricators’ data, it still would have found that

Cambria’s petition had the requisite level of industry support. Id. at 16 n.129.

       Commerce, as required, notified the ITC of its decision to initiate an investigation.

Initiation Notification Letter, P.D. 47 (May 28, 2019). MSI subsequently submitted a case brief

challenging Commerce’s industry support determination. MSI Case Br., P.D. 355 at 6-11 (Mar.

27, 2020). In its final determination, Commerce explained that the statute did not allow it to

reconsider its industry support determination after initiation. IDM at 37-38.

       B.      Legal Framework And Commerce’s Statutory Interpretation

       To initiate an antidumping duty investigation, Commerce must, within 20 days after the

date on which a petition is filed and “after examining, on the basis of sources readily available to

{Commerce}, the accuracy and adequacy of the evidence provided in the petition,” “determine

whether the petition alleges the elements necessary for the imposition of a duty under {19 U.S.C.




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§ 1673} and contains information reasonably available to the petitioner supporting the

allegations,” as well as “determine if the petition has been filed by or on behalf of the industry.”

19 U.S.C. § 1673a(c)(1)(A). The term “industry” means “the producers, as a whole, of a

domestic like product, or those producers whose collective output of a domestic like product

constitutes a major proportion of the total domestic production of the product.” 19 U.S.C.

§ 1677(4)(A) (emphasis added).

       For the petition to be filed by or on behalf of the domestic industry, the statute requires:

(1) the domestic producers or workers who support the petition to account for at least 25 percent

of the total production of the domestic like product, and (2) the domestic producers or workers

who support the petition to account for more than 50 percent of the production of the domestic

like product produced by the portion of the industry expressing support for or opposition to the

petition. 19 U.S.C. § 1673a(c)(4)(A). “Domestic producers or workers” for these purposes is

defined as “interested parties who are eligible to file a petition under subsection (b)(1) {19

U.S.C. § 1673a(b)(1)}.” 19 U.S.C. § 1673a(c)(5). Section 1673a(b)(1), in turn, describes

interested parties who are eligible to file a petition as those described in paragraphs (C), (D), (E),

(F), and (G) of 19 U.S.C. § 1677(9). These interested parties include “a manufacturer, producer,

or wholesaler in the United States of a domestic like product . . . .” 19 U.S.C. § 1677(9)(C). The

terms “manufacturer, producer, or wholesaler” are not defined by the statute.

       Faced with statutory silence on the meaning of “manufacturer, producer, or wholesaler,”

Commerce has considered legislative history for guidance in evaluating petitions like the one in

this case. The legislative history explains that Congress intended the standing requirement “to

provide an opportunity for relief for an adversely affected industry and to prohibit petitions filed

by persons with no stake in the result of the investigation.” S. Rep. No. 249, 96th Cong., 1st




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Sess., at 47 (1979), reprinted in 1979 U.S.C.C.A.N. 381, 433; see also Torrington, 68 F.3d at

1352 (“The purpose underlying the antidumping laws is to prevent foreign manufacturers from

injuring domestic industries by selling their products in the United States at less than ‘fair value,’

i.e., at prices below the prices the foreign manufacturers charge for the same products in their

home markets.”).

       Consequently, Commerce has determined for industry support purposes “that in order to

be a producer, an entity must have a ‘stake’ in the domestic industry in question.” Eurodif S.A.

v. United States, 411 F.3d 1355, 1360 (Fed. Cir. 2005) (Eurodif I). This requires a company to

“perform some important or substantial manufacturing operation.” Id. at 1361 (citation and

quotation marks omitted). Therefore, Commerce evaluates whether an entity is a “producer” for

industry support purposes based on the overall nature of the entity’s production-related activities

in the United States, to determine whether the entity’s production operations are sufficient for it

to be considered part of the domestic industry. See Initiation Checklist, Att. II, pg. 14; see also

USEC Inc. v. United States, 259 F. Supp. 2d 1310, 1327 (Ct. Int’l Trade 2003) (USEC I); USEC

Inc. v. United States, 281 F. Supp. 2d 1334, 1345-46 (Ct. Int’l Trade 2003) (USEC II), aff’d in

relevant part, Eurodif I, 411 F.3d at 1360-61 (sustaining Commerce interpretation of producer).1

       To determine whether a company engages in sufficient production-related activities,

Commerce considers the six factors that the ITC similarly (but separately) examines to evaluate

whether an entity is part of the domestic industry for purposes of determining injury: (1) the

source and extent of the firm’s capital investment; (2) the technical expertise involved in the

United States production activities; (3) the value added to the product in the United States; (4)




1
  A separate aspect of the Federal Circuit’s decision resulted in further litigation and was later
reversed in Eurodif II, 555 U.S. 305.


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employment levels; (5) the quantity and type of parts sourced in the United States; and (6) any

other costs and activities in the United States directly leading to production of the like product.

See USEC I, 259 F. Supp. 2d at 1327; Initiation Checklist, Att. II, pg. 10. MSI calls this the

“sufficient production-related activities” test. See, e.g., MSI Br. 2.

       This Court and the Federal Circuit have previously sustained, as lawful, Commerce’s

interpretation of “producer” in the context of Commerce’s industry support determination. See

USEC II, 281 F. Supp. 2d at 1345-46; Eurodif I, 411 F.3d at 1360-61, 1365-66 (affirming this

aspect of USEC II). In particular, the Courts upheld Commerce’s different interpretations of the

term “producer” in different contexts as reasonable in light of the industry support provision’s

purpose. See id. The Federal Circuit’s Eurodif I decision remains binding on this issue. The

Court should thus sustain Commerce’s permissible, and therefore reasonable, interpretation.

       C.      The Statute Is Silent Regarding Who Constitutes A “Producer” For Industry
               Support Purposes

       Commerce’s use of the sufficient production-related activities test to determine who is a

“producer” is lawful because it is a reasonable interpretation of an ambiguous statutory term.

Indeed, this Court (affirmed by the Federal Circuit) has already recognized that the statutory

term “producer” is undefined and sustained Commerce’s determination under the sufficient

production-related activities test as reasonable and consistent with the statute’s legislative

history. See USEC I, 259 F. Supp. 2d at 1327-28 (discussing Commerce’s application of

sufficient production-related activities test and observing that “producer” is undefined); USEC II,

281 F. Supp. 2d at 1345-46 (sustaining Commerce’s determination); Eurodif I, 411 F.3d at 1360-

61, 1365-66 (affirming this aspect of Commerce’s determination as reasonable and lawful); see

also Brother Indus. (USA), Inc. v. United States, 801 F. Supp. 751, 757 (Ct. Int’l Trade 1992)

(recognizing “producer” as undefined statutory term), cited in Eurodif I, 411 F.3d at 1361.



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       Nonetheless, MSI portrays the matter as a Chevron step one issue by arguing that the

statute defines the domestic industry to include all producers of the domestic like product and

that both fabricated and unfabricated quartz surface materials are included in Commerce’s

investigation. See MSI Br. 5-16. The fundamental flaw in MSI’s reasoning is that it elides the

question of whether entities that perform processing on a pre-existing product—such as the

fabricators at issue in this case—have a sufficient stake in the domestic industry to be considered

“producers” for industry support purposes. See S. Rep. 96-249, at 47; Eurodif I, 411 F.3d at

1360-61 (upholding Commerce’s interpretation of “having a ‘stake’ as requiring that a company

‘perform some important or substantial manufacturing operation’”) (citation omitted).

       MSI thus fails to grapple with an important aspect of the problem. See, e.g., MSI Br. 6-7

(asserting that statute requires support from “producers of the domestic like product (not a

selected subset of producers)” without addressing issue). Commerce’s interpretation addresses

the question MSI sidesteps: which entities constitute domestic “producers” under the statute.

The statute at 19 U.S.C. § 1673a(c)(5) defines domestic producers as interested parties eligible to

file a petition under 19 U.S.C. § 1673a(b)(1), a provision that in turn cross-references 19 U.S.C.

§ 1677(9)(C), which lists “manufacturers, producers, and wholesalers.” This Court has observed

(accurately) that the statute does not define the terms “manufacturers, producers, and

wholesalers.” See USEC I, 259 F. Supp. 2d at 1328 (“the definition of ‘producer,’ a term that is

not statutorily defined”); Brother Indus., 801 F. Supp. at 757 (“To have standing to file a

petition, a party must be a ‘manufacturer, producer, or wholesaler.’ . . . These terms are not

defined in the statute.”). Likewise, the Federal Circuit has recognized the ambiguity by

analyzing—and ultimately upholding—the reasonableness of Commerce’s approach, consistent




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with Chevron step two. See Eurodif I, 411 F.3d at 1360-61, 1365-66. MSI does not articulate

any basis for this Court to ignore the Federal Circuit’s binding decision on this issue in Eurodif I.

       Consequently, MSI’s contentions that the question of whether to include fabricators is a

Chevron step one issue, and that the statute correspondingly prohibits Commerce from applying

the sufficient production-related activities test to address it, lack merit. See USEC II, 281 F.

Supp. 2d at 1345-46 (sustaining Commerce’s approach as reasonable and lawful); Eurodif I, 411

F.3d at 1360-61, 1365-66 (same). Even if the courts had not already resolved the issue, it is clear

that the statute does not address how and where to draw the line regarding who constitutes a

domestic industry “producer” for industry support purposes.

       Nor does MSI’s argument that both unfabricated and fabricated materials are included in

the investigation alter the analysis. See, e.g., MSI Br. 5-6. Clearly, there are entities who

perform processing or some form of further manufacturing on a product whose activities do not

rise to the level of being a “producer” of the underlying product—even if the end-product would

still be covered by the investigation. Given, however, that the statute neither defines the term

“producer” nor instructs Commerce on how to determine who qualifies, see USEC I, 259 F.

Supp. 2d at 1328; Brother Indus., 801 F. Supp. at 757, Commerce has filled the statutory gap by

analyzing the extent of entities’ production-related activities. The mere fact that fabricated

products are included in the investigation does not resolve whether the fabricators should be

considered “producers” of domestic like product for industry support purposes. See USEC II,

281 F. Supp. 2d at 1346; Eurodif I, 411 F.3d at 1361 (sustaining Commerce’s different

interpretations of “producer” for determining industry support and export price as lawful); cf.

Union Steel v. United States, 713 F.3d 1101, 1107-10 (Fed. Cir. 2013) (sustaining Commerce’s

different interpretations of antidumping statute concerning zeroing in different contexts).




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       Further, contrary to MSI’s claims, Commerce did not acknowledge that fabricators are

producers of domestic like product for industry support purposes. See MSI Br. 8, 9. This claim

results from MSI conflating the questions of what qualifies as domestic like product for purposes

of calculating a dumping margin and who constitutes a “producer” of the product. Commerce,

by contrast, examined whether fabricators’ activities were sufficient to consider them domestic

producers and concluded, based on its examination, that “fabricators do not perform sufficient

production-related activities to be included in the domestic industry for industry support

purposes.” Initiation Checklist, Att. II, pg. 14; id. at 16 (containing similar language).2

       MSI additionally argues that the maxim of expressio unius est exclusio alterius precludes

Commerce’s use of the sufficient production-related activities test because the statutes identifies

only two specific kinds of “producers” who may be excluded for industry support purposes. See

MSI Br. 11-16. This claim, however, suffers from the same fundamental flaw as MSI’s earlier

arguments because it skips over the key question of whether fabricators should be considered

“producers” in the first place. The provision that MSI cites in support of its expressio unius

argument, 19 U.S.C. § 1673a(c)(4)(B), does not address that question because it only applies to

companies that are otherwise domestic producers. Hence, notwithstanding this provision, courts

have treated the interpretation of “producer” as a matter of reasonableness under Chevron step

two. See USEC II, 281 F. Supp. 2d at 1345-46; Eurodif I, 411 F.3d at 1360-61.



2
  MSI also criticizes Commerce’s word choice for using the term “processing” to describe the
fabricators’ activities in its determination in this case, compared to “production” terminology
Commerce used in previous proceedings concerning quartz surface products from China. See
MSI Br. 9-10. Each proceeding stands on its own, however, and Commerce’s passing use of
terminology in a previous proceeding is not a basis to overturn Commerce’s determination here.
Moreover, Commerce’s statutory interpretation has not changed, and there is nothing improper
about Commerce finding more apt language to describe activities that it has consistently
determined do not rise to the level of turning fabricators of finished quartz surface products into
“producers” of the underlying merchandise. See Initiation Checklist, Att. II, pp. 14-16.


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       Moreover, to the extent that MSI argues that section 1673a(c)(4)(B) implicitly means that

Congress intended for Commerce to interpret “producer” in the context of industry support

differently, the “Supreme Court has observed . . . that ‘{b}ecause of the deference given to

agencies on matters about which the statutes they administer are silent, . . . expressio unius ought

to have somewhat reduced force in this context.’” Elkem Metals Co. v. United States, 468 F.3d

795, 801 (Fed. Cir. 2006) (quoting Ragsdale v. Wolverine World Wide, Inc., 535 U.S. 81, 102

(2002) (O’Connor, J., dissenting)). In Elkem, the Federal Circuit declined to use the expressio

unius maxim to interpret the antidumping statute’s constructed value provisions to impose an

implied restriction upon Commerce. See id. Instead, the Court found that it was appropriate to

read the statute literally when the statute imposed a restriction on a term but otherwise left the

term undefined. See id.; cf. U.S. Steel Group v. United States, 998 F. Supp. 1151, 1157-59 (Ct.

Int’l Trade 1998) (discussing problematic issues surrounding use of expressio unius est exclusio

alterius to discern Congress’s intent under Chevron step one).

       In short, because the statute is silent regarding the meaning of “producer” and Congress

has not directly spoken upon the precise issue, this issue is not resolved at Chevron step one.

       D.      Commerce’s Interpretation Is Reasonable

       If the Court determines that the statute is silent or ambiguous, the Court must sustain

Commerce’s interpretation so long as it is reasonable. See, e.g., Union Steel, 713 F.3d at 1107;

Floral Trade Council v. United States, 41 F. Supp. 2d 319, 323 (Ct. Int’l Trade 1999) (“Because

Congress intended to delegate policymaking to Commerce, the Court must defer to Commerce’s

reasonable interpretation.”) (citation omitted). Commerce’s interpretation is consistent with the

legislative history of the industry support requirement and is reasonable because it ensures that

Commerce considers entities that have a sufficient stake in the investigation.




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       Congress intended that the standing requirement “provide an opportunity for relief for an

adversely affected industry and to prohibit petitions filed by persons with no stake in the result of

the investigation.” S. Rep. No. 96-249, at 47; see also Statement of Administrative Action

accompanying the Uruguay Round Agreements Act, H.R. Doc. 103-316, at 811 (1994), reprinted

in 1994 U.S.C.C.A.N. 4040, 4162 (SAA) (explaining, despite changes to standing requirement,

that “{t}he definition of domestic industry in Article 4 is virtually identical to that in the 1979

Code and current U.S. law.”). In other words, the legislative history indicates that Congress

intended the requirement to ensure that petitions are filed by adversely affected domestic

industries with an appropriate stake in the result of the investigation.

       Commerce’s approach comports with this intent. Commerce interprets a “producer”

having a “stake” in the domestic industry as requiring an entity to “perform some important or

substantial manufacturing operation” with respect to the product in question. Eurodif I, 411 F.3d

at 1361 (citation omitted); see Initiation Checklist, Att. II, pg. 14 (discussing need for “sufficient

production-related activities to be included in the domestic industry”). To make that

determination, Commerce analyzes the six factors under the sufficient production-related

activities test. See Initiation Checklist, Att. II, pg. 10; USEC I, 259 F. Supp. 2d at 1327.

       Both this Court and the Federal Circuit have sustained Commerce’s interpretation and

approach as reasonable. See USEC II, 281 F. Supp. 2d at 1345-46, aff’d in relevant part and

rev'd on other grounds, Eurodif I, 411 F.3d at 1360-61, 1365-66. The USEC/Eurodif litigation

involved Commerce’s antidumping and countervailing duty investigations of low enriched

uranium from France, Germany, the Netherlands, and the United Kingdom. Commerce, in those

investigations, determined that utility companies were not domestic industry “producers” for

industry support purposes by analyzing the six factors that the ITC had articulated for examining




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whether a company may be considered a “member of the domestic industry” (i.e., the sufficient

production-related activities test). See USEC I, 259 F. Supp. 2d at 1327. The USEC/Eurodif

plaintiffs, like MSI, challenged the lawfulness of Commerce’s industry support determination,

citing a now-defunct tolling regulation that suggested a different interpretation of “producer.”

See id. at 1327-28; USEC II, 281 F. Supp. 2d at 1334. On remand, Commerce explained that its

determination was rooted in the statute’s legislative history and its corresponding interpretation

of “producer” as requiring an entity to have a “stake” in the industry through some important or

substantial manufacturing operation. Eurodif I, 411 F.3d at 1360. This Court and the Federal

Circuit both concluded that Commerce’s focus on the sufficiency of an entity’s production-

related activities was a reasonable interpretation of “producer” and therefore lawful. See USEC

II, 281 F. Supp. 2d at 1334; Eurodif I, 411 F.3d at 1360, 1365-66.

       Further, Commerce’s determination in this case is consistent with its practice following

the uranium investigations. In subsequent proceedings, Commerce has continued to evaluate the

sufficiency of companies’ production-related activities when identifying domestic producers for

industry support purposes. See, e.g., Calcium Hypochlorite from the People’s Republic of China,

79 Fed. Reg. 2,410 (Dep’t of Commerce Jan. 14, 2014), at accompanying Initiation Checklist,

Att. II (Calcium Hypochlorite Initiation) (Attached as Addendum A) (finding, after evaluating

sufficiency of production-related activities, that repackers/private label marketers were not

producers and thus not part of domestic industry); Chlorinated Isocyanurates from the People’s

Republic of China, 78 Fed. Reg. 59,001 (Dep’t of Commerce Sept. 25, 2013), at accompanying

Initiation Checklist, Att. II (Chlorinated Isocyanurates Initiation) (Attached as Addendum B)

(finding tableters not domestic industry producers because “tableting does not require significant

capital investment, technical production expertise, or employment levels when compared to the




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capital investment, technical expertise, and employment levels required to establish an integrated

chlorinated isos operation”); see also Initiation Checklist, Att. II, pp. 12 & n.95, 16 & n.128.3

       Because MSI solely contends that Commerce’s interpretation is impermissible because

the statute speaks directly to the definition of “producer,” its opening brief does not address the

reasonableness of Commerce’s interpretation. Thus, MSI provides no basis for this Court to

depart from the prior rulings sustaining Commerce’s approach as reasonable. See Novosteel SA

v. U.S., Bethlehem Steel Corp., 284 F.3d 1261, 1273 (Fed. Cir. 2002) (plaintiff waives arguments

not raised in opening brief).

       Extending its expressio unius argument, MSI does assert that Commerce’s exclusion of

fabricators does not meet either criterion of 19 U.S.C. § 1673a(c)(4)(B)—the provision providing

specific instances in which Commerce may disregard the positions of domestic producers if they

are related to foreign producers or are themselves importers of subject merchandise. See MSI

Br. 12-13. As we explained above, however, this provision would only apply to companies that

are otherwise domestic producers. Here, by contrast, Commerce analyzed the record evidence

and found that fabricators are not domestic producers. See Initiation Checklist, Att. II, pp. 9-16.

Hence, the section 1673a(c)(4)(B) criteria for disregarding the opposing positions of domestic

producers do not apply. Commerce lawfully did not invoke section 1673a(c)(4)(B) because there

were no bona fide domestic producers opposing Cambria’s petition. Cf. Bell Supply v. United

States, 888 F.3d 1222, 1229 (Fed. Cir. 2018) (holding that it was permissible for Commerce to

apply substantial transformation analysis without resorting to anticircumvention analysis).




3
 The determinations Commerce cited are available through Commerce’s ACCESS system, and
we provide them here for the Court’s convenience.


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III.   Commerce’s Determination That Fabricators Are Not “Producers” For Industry
       Support Purposes Is Supported By Substantial Evidence

       Commerce’s determination that fabricators are not producers for industry support

purposes is well-grounded in the record evidence that was presented to Commerce on the issue.

Commerce reviewed this evidence for the sufficiency of the fabricators’ domestic production-

related activities using the following six factors: (1) the source and extent of the firm’s capital

investment; (2) the technical expertise involved in the United States production activities; (3) the

value added to the product in the United States; (4) employment levels; (5) the quantity and type

of parts sourced in the United States; and (6) any other costs and activities in the United States

directly leading to production of the like product. See Initiation Checklist, Att. II, pp. 10, 14-16.

The record evidence showed that significant differences existed between the level of complexity,

investment, training and expertise, number of employees, and type of equipment required for the

fabrication process compared to quartz slab production. Id. at 14; see also id. at 10-12 (detailing

Cambria’s evidentiary arguments on issue). Thus, substantial evidence supports Commerce’s

conclusion not to treat fabricators as producers for industry support purposes.

       A.      Commerce’s Determination That Fabricators Do Not Perform Sufficient
               Production-Related Activities Is Supported By Substantial Evidence

       MSI criticizes Commerce’s determination, but its arguments boil down to disagreement

with Commerce’s weighing of the record evidence, which is not a basis to overturn Commerce’s

determination. See MSI Br. 21-23. For example, MSI criticizes multiple exhibits that Cambria

submitted to illustrate differences it identified between quartz slab production and fabrication,

asserting that each is an example of only one slab producer’s or fabricator’s experience. See

MSI Br. 21-22. However, Cambria’s exhibits encompass the experiences of multiple different

companies, and as a result, constitute multiple illustrative examples of differences between




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producers and fabricators. Among other things, they substantiate Cambria’s assertion of a

significant difference in the size of the capital investment required for quartz slab production

versus fabrication operations. See Initiation Checklist, Att. II, pp. 11 & nn.84-85 (discussing

Petitioner Standing Comments, P.D. 42; C.D. 33 at 7-9 & Exs. 2-5). Yet, by way of further

example, MSI disagrees with the exhibits illustrating this difference by incongruously attempting

to compare the size of individual slab producer investments to the collective size of investments

by fabricators, in effect comparing apples and oranges. See MSI Br. 21.

       In short, just because Commerce evaluated and weighed the evidence differently than

MSI does not mean Commerce’s determination is unsupported by substantial evidence. See

Cleo, 501 F.3d at 1296 (citing Am. Silicon Techs. v. United States, 261 F.3d 1371, 1376 (Fed.

Cir. 2001) (“Even if it is possible to draw two inconsistent conclusions from evidence in the

record, such a possibility does not prevent Commerce's determination from being supported by

substantial evidence”)); Haixing Jingmei Chem. Prod. Sales Co. v. United States, 335 F. Supp.

3d 1330, 1346 (Ct. Int’l Trade 2018) (“mere disagreement with Commerce’s weighing of the

evidence” insufficient basis for legal challenge). Moreover, contrary to MSI’s claims, it is clear

that Commerce reviewed and compared the record evidence regarding the production processes

for quartz slab producers and fabricators. See Initiation Checklist, Att. II, pp. 9-12, 14-15.

       In previous cases, both Commerce and the ITC have considered companies that engage in

processing such as finishing, cutting, and slitting not to be part of the domestic industry. See id.

at 15 (citing Multilayered Wood Flooring from China, Inv. Nos. 701-TA-476 and 731-TA-1179

(Final), USITC Pub. 4278, at 8 (Nov. 2011); Raw Flexible Magnets from China and Taiwan, Inv.

Nos. 701-TA-452 and 731-TA-1129-1130 (Final), USITC Pub. 4300, at 7-9 (Aug. 2008)). After

reviewing the evidence, consistent with these cases, Commerce determined that the fabrication




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process at issue here essentially processed subject merchandise and fell under this processing

category. See id. at 15-16. Specifically, the evidence demonstrated that “the fabrication process

does not change the fundamental physical characteristics imparted during the slab production

process, as fabricators simply convert an existing slab into a geometrical form for its end use or

application.” Id. at 14 (citing Petitioner Standing Comments, P.D. 42; C.D. 33 at 6 & Ex. 2).

Indeed, as Commerce noted, any domestically-produced slab that fabricators further processed is

already accounted for in Cambria’s industry support reporting. See id. at 16.

       Further, based upon information in the petition, Commerce observed that the production

process for quartz surface product slab involves seven steps: “(1) mixing raw materials, (2)

combining, (3) dispensing and molding, (4) pressing, (5) curing, (6) cooling, and (7) polishing.”

Initiation Checklist, Att. II, pg. 15 (citing Petition Volume 1, P.D. 1; C.D. 1 at 7). By contrast,

evidence regarding the fabricators’ production process identified only four steps: “(1) consult

with customers, (2) develop engineering diagrams, (3) perform intricate cutting, and (4) perform

various edge and surface finishing operations.” Id. (citing MSI Standing Comments, P.D. 39-40;

C.D. 18-30 at 5). Commerce likewise considered the evidence showing that fabricators used

different, more broadly available equipment compared to the specialized equipment used in the

production of quartz surface product slabs. See id. at 15 (citing Petitioner Standing Comments,

P.D. 42; C.D. 33 at 8-9, 11-12, Exs. 2, 5, 6, 7). Consequently, Commerce found that, because

the quartz slab production process involves highly complex and interconnected machinery and

engineering processes, it “requires specialized equipment dedicated to quartz surface products

production and a significantly greater amount of capital investment, training and technical

expertise, and number of employees than the fabrication process.” Id. at 14 (citing Petitioner

Standing Comments at 6-12, Exs. 2-8). Conversely, Commerce found that “the fabrication




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process requires limited equipment that is not dedicated solely to quartz surface products, fewer

employees, much less technical expertise, and significantly less capital investment.” Id.

       Overall, based on its examination of the record evidence, Commerce determined that

“there are significant differences in the level of complexity and capital investment, employment,

training and technical expertise, production processes, and type of equipment, between quartz

surface product slab producers and fabricators.” Id. at 14 (citation omitted). Commerce

additionally concluded that many fabricators rely on imported quartz slabs to produce final

fabricated products. Id.; Petitioner Standing Comments, P.D. 42; C.D. 33 at 13, 20, and Exs. 7,

9.4 Moreover, Commerce observed that because “the petitioner’s industry support calculation

properly accounts for all production of the domestic like product in the United States,” the

industry support calculation necessarily accounts for all United States-produced quartz surface

products that were further processed by fabricators. Initiation Checklist, Att. II, pg. 16. In fact,

as we noted above, Commerce explained that, even if it had included the fabricators MSI had

identified in the industry support calculation, the domestic producers and workers supporting the

petition still had the requisite level of industry support under the statute. See id. at 16 n.129.

       The foregoing demonstrates that Commerce’s determination is supported by substantial

evidence. MSI nonetheless faults Commerce for citing record evidence to support its analysis

without explicitly analyzing each fact. See MSI Br. 20-21. The law, however, does not require



4
  MSI criticizes the evidence supporting this finding as amounting to the profile of a single
fabricator. See MSU Br. 13 n.4, 22 (discussing Petitioner Standing Comments at Ex. 7). But, in
reality—aside from the fact that the article does indicate that the fabricator being profiled uses
imported slabs—the evidence was more extensive. In addition to Cambria’s representations,
which themselves are record evidence, Cambria cited information circulated among fabricators
opposing the petition, as well as information MSI itself had submitted evidencing how
fabricators described themselves, all further indicating that fabricators rely on imported quartz
slabs to produce final fabricated products. See Petitioner Standing Comments at 13, 20, and Ex.
9 (also citing and discussing MSI Standing Comments, P.D. 39-40; C.D. 18-30 at Ex. 6).


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Commerce to go into detail about each piece of evidence: “{A}bsent a showing to the contrary,

the court presumes that Commerce has considered all of the record evidence.” Jacobi Carbons

AB v. United States, 422 F. Supp. 3d 1318, 1325 n.10 (Ct. Int’l Trade 2019) (citation and

bracketing omitted). Commerce in this case documented its consideration of the parties’

evidence and arguments, explained the conclusions it drew from the record, and cited evidence

supporting its findings. See Initiation Checklist, Att. II, pp. 9-16.

       MSI also claims that the information it placed on the record demonstrates that fabricators

had sufficient production-related activities. See MSI Br. 16-17. To the contrary, none of the

exhibits that MSI proffered demonstrate that fabricators perform sufficient production-related

activities to be considered producers. Indeed, MSI’s submission did not analyze the issue in

terms of the six-factor production-related activities test. See generally MSI Standing Comments,

P.D. 39-40; C.D. 18-30. In any event, Commerce considered MSI’s evidentiary arguments and

reasonably disagreed. See Initiation Checklist, Att. II, pp. 9, 15 (documenting Commerce’s

consideration of MSI’s comments). We discuss each of MSI’s exhibits below.

       MSI’s Exhibit 1 consists of screen shots from Cambria’s website, showing that Cambria

has experience dealing with fabricators and a fabricator log-in portal for business purposes. MSI

Standing Comments at Ex. 1. If anything, this suggests that Cambria’s experience makes it well-

positioned to explain the differences between quartz surface product production and fabrication;

it certainly does not establish that fabricators are producers. MSI’s Exhibits 2 and 3 consist of

ITC questionnaires regarding quartz surface products from China and from India and Turkey,

respectively, showing that at the time the ITC was also considering whether fabricators perform

sufficient production-related activities for its own purposes. Id. at Exs. 2-3. Again, these do not

establish that Commerce must treat fabricators as producers. MSI’s Exhibit 4 is a transcript from




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an episode of the television show PBS Hometime, which shows that fabrication can be one step

in the process of making a quartz countertop, but does not show its significance compared to

overall quartz slab production. Id. at Ex. 4. MSI’s Exhibit 5 is an affidavit filed in a lawsuit

against Cambria by one of its former fabricators, indicating that investment in the fabricator shop

was around six million dollars. Id. at Ex. 5. That is a fraction of the estimated forty to hundreds

of millions in investment required for quartz slab production facilities. See Initiation Checklist,

Att. II, pg. 11 (citing Petitioner Standing Comments, P.D. 42; C.D. 33 at 7 & Exs. 2-4). There is

also record evidence that a fabricator shop can be established with significantly less investment

than the six million figure. See id.; Petitioner Standing Comments at 7-9 & Exs. 2, 5.

       MSI’s Exhibit 6 contains fabricator declarations that MSI obtained or solicited [




                                        ] MSI Standing Comments, P.D. 39-40; C.D. 18-30 at Ex.

6. Although these declarations show that [                                       ], they do not

support MSI’s claim that the information it placed on the record demonstrates that fabricators

perform sufficient production-related activities. Indeed, Cambria cited information contained in

these declarations as further evidence that fabricators rely on imported quartz slabs to produce

final fabricated products. See Petitioner Standing Comments, P.D. 42; C.D. 33 at 20. MSI’s

Exhibit 7 consists of product brochures that do not provide further insight into the fabrication

process. See MSI Standing Comments at Ex. 7. Finally, to the extent that MSI relies on its own

statements regarding the fabrication process, Commerce found that the activities MSI described

were not sufficient to make fabricators “producers” for industry support purposes. See Initiation




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Checklist, Att. II, pp. 9, 15 & nn.63, 122, 124-25 (illustrating Commerce’s consideration of

MSI’s arguments in ultimately finding fabricators’ activities insufficient).

       Thus, based on the record created by the parties, it was reasonable for Commerce to

determine that fabricators do not perform sufficient production-related activities to be considered

domestic producers of quartz surface product for industry support purposes.

       B.      Commerce And The ITC May Come To Different Conclusions

       MSI contends that later-released ITC reports contradict Commerce’s determination. See

MSI Br. 24-25. However, the ITC and Commerce maintain separate records, have different

statutory roles, and although both consider each other’s decisions as they are available

throughout their separate processes, they make their determinations based on the evidence from

their respective records. See Asociacion Colombiana de Exportadores de Flores v. United

States, 693 F. Supp. 1165, 1168 n.4 (Ct. Int’l Trade 1988) (“For administrative ease and to avoid

complications it would be helpful if the decisions of ITC and ITA were coterminous, but they are

separate decisions that ultimately are made on separate bases.”).

       It is not unprecedented for Commerce and the ITC to reach different determinations

regarding composition of the domestic industry for their respective purposes of determining

industry support and injury. For example, based on the record in Chlorinated Isocyanurates

from China, Commerce determined that tableters did not perform sufficient production-related

activities and were not producers for purposes of determining industry support. See Chlorinated

Isocyanurates Initiation, Att. II (Addendum B). The ITC, by contrast, found both in its

preliminary and final reports that tableters did perform sufficient production-related activities to

be considered producers for purposes of determining injury. Chlorinated Isocyanurates from

China and Japan, Inv. Nos. 701-TA-501 and 731-TA-1226, USITC Pub. 4431, at 10-12 (Nov.




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2013) (prelim.); Chlorinated Isocyanurates from China and Japan, Inv. Nos. 701-TA-501 and

731-TA-1226, USITC Pub. 4494, at 8-10 (Nov. 2014) (final).

       As Commerce explained, although Commerce and the ITC may apply the same statutory

term, such as “domestic like product,” they do so for different purposes and pursuant to separate

and distinct authority. See Initiation, 84 Fed. Reg. at 25,531; Initiation Checklist, Att. II, pg. 1.

This may result in different definitions, but such differences do not render the decision of either

agency contrary to law. See, e.g., Algoma Steel Corp., Ltd. v. United States, 688 F. Supp. 639,

642, 644 (Ct. Int’l Trade 1988) (discussing potential inconsistencies between Commerce and

ITC), aff’d, 865 F.2d 240 (Fed. Cir. 1989); cf. USEC II, 281 F. Supp. 2d at 1345-46 (sustaining

Commerce’s different interpretation of “producer” in different contexts as reasonable and

therefore lawful), aff’d in relevant part, Eurodif I, 411 F.3d at 1360-61; Union Steel, 713 F.3d at

1107-10 (sustaining Commerce’s different interpretations of statute in different contexts).

       Moreover, the statute requires Commerce to make its industry support determination

before it initiates an investigation and notifies the ITC. 19 U.S.C. § 1673a(c)(2), (d)(2). The

ITC then makes its preliminary determination forty-five days after the petition is filed. 19

U.S.C. § 1673b(a)(2). The statute also prohibits Commerce from reconsidering its industry

support determination after initiation. 19 U.S.C. § 1673a(c)(4)(E). In other words, Commerce

cannot reconsider its initial industry support decision—irrespective of any new or additional

information. Congress made that restriction on Commerce clear. See SAA at 862 (“{T}he

question of industry support will be resolved conclusively at the outset of a proceeding, thereby

eliminating the burden on petitioners under current law of potentially rearguing this issue after

initiation.”). Here, Commerce analyzed the evidence and information on the record at the time

of initiation, including the most recently available ITC report regarding quartz surface products,




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i.e., the ITC preliminary report for the investigation of quartz surface products from China. See

Initiation Checklist. Att. II, pp. 14-15. Given the nature of the industry support determination,

and Commerce’s clear restriction, it was appropriate for Commerce to do so.

       The Court should equally evaluate Commerce’s decision based on the evidence available

at initiation. See Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519,

554-55 (1978) (If “litigants might demand rehearings as a matter of law because some new

circumstance has arisen, some new trend has been observed, or some new fact discovered, there

would be little hope that the administrative process could ever be consummated in an order that

would not be subject to reopening.”); Co-Steel Raritan, Inc. v. Int’l Trade Comm’n, 357 F.3d

1294, 1316 (Fed. Cir. 2004) (same); cf. Essar Steel Ltd. v. United States, 678 F.3d 1268, 1278

(Fed. Cir. 2012) (holding that trial court exceeded its authority by requiring Commerce to

consider later-discovered evidence bearing on issue in dispute).

       The ITC’s preliminary report for the investigation of quartz surface products from China

found that “the operations of stand-alone fabricators are insufficient to constitute domestic

production of {quartz surface products}.” Quartz Surface Products from China, Inv. Nos. 701-

TA-606 and 731-TA-1416, USITC Pub. 4794, at 15 (June 2018) (prelim.). The ITC explained

that the degree of capital investment necessary to fabricate quartz surface products was far below

that required to produce quartz slab and that, although the expertise required of fabricators is not

necessarily low, the quartz slab production process appears to involve considerably more

specialized knowledge and employees. See id. The ITC also found that “quartz slab constitutes

the bulk of the value of the fabricated product.” Id. Finally, the ITC considered the fact that

“{f}abricators of {quartz surface products} also appear to some degree to rely on imported

quartz slab as an input in their production activities.” Id. Commerce considered these findings




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from the ITC, which were available at the time of initiation, and reasonably found that these

findings further supported the conclusion that fabricators do not perform sufficient production-

related activities to be considered domestic producers for purposes of determining industry

support. See Initiation Checklist, Att. II, pg. 15. MSI’s arguments that the ITC subsequently

determined to include fabricators in the domestic industry for purposes of evaluating injury does

not alter the reasonableness of Commerce’s determination based on the record at initiation.

       C.      Commerce Made Its Determination Within The Statutory Deadline

       MSI faults Commerce for not extending the deadline for determining whether to initiate

an investigation based on Cambria’s petition because, in its view, there was insufficient record

evidence on industry support. MSI Br. 25-26. The statute, however, does not require Commerce

to extend the initiation deadline. It authorizes Commerce to extend the deadline if “exceptional

circumstances” exist. 19 U.S.C. 1673a(c)(1)(B) (“In any case in which the administering

authority is required to poll or otherwise determine support for the petition by the industry under

paragraph (4)(D), the administering authority may, in exceptional circumstances, apply

subparagraph (A) by substituting ‘a maximum of 40 days’ for ‘20 days.’”) (emphasis added).

       Congress intended that “Commerce {would} use this extension authority only in

exceptional circumstances where the industry support issue cannot be decided in twenty days.”

SAA at 863. Here, Commerce found sufficient evidence of the requisite support from domestic

producers and workers, such that the petition requirements to initiate an investigation were met.

See generally Initiation Checklist, Att. II. Moreover, Commerce had already considered whether

to include fabricators as quartz surface product producers in its previous initiation determination

regarding quartz surface products from China and found that it was inappropriate to do so. See

Certain Quartz Surface Products From the People’s Republic of China, 83 Fed. Reg. 22,613




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(Dep’t of Commerce May 16, 2018), and accompanying Initiation Checklist (Petitioner Standing

Comments, P.D. 42; C.D. 33 at Ex. 1, Att. II). Thus, there were no exceptional circumstances to

warrant extension of the initiation decision deadline. This is especially so when Commerce

indicated that including the fabricators MSI identified would not have altered the ultimate

determination of industry support. See Initiation Checklist, Att. II, pg. 16 n.129.

IV.    Commerce’s Determination To Include Pokarna’s Paid Sample Sales In The Margin
       Calculation Is Lawful

       Commerce’s decision to include PESL’s paid United States sample sales in its calculation

is lawful because there is no legal requirement that Commerce exclude them in an investigation

and Commerce’s practice is not to do so. In an investigation like this one, Commerce makes a

final determination regarding whether the subject merchandise is being, or is likely to be, sold in

the United States at less than its fair value. 19 U.S.C. § 1673. In doing so, Commerce may

analyze and exclude sample sales made in the home market. This flows from the dictates of the

statute. For example, under 19 U.S.C. § 1677b(a)(1)(B), Commerce looks solely at prices for

sales made in the “ordinary course of trade” to determine normal value, and may exclude sales

that do not fall within the ordinary course of trade for that purpose. See IDM at 14. However, as

PESL acknowledges, this “ordinary course of trade” analysis is only relevant to home market

sales and does not apply to sales made to the United States. See PESL Br. 13 n.2; IDM at 14.

       When it comes to sales to the United States in an investigation, consistent with the statute

and relevant jurisprudence, Commerce reviews paid sample sales to determine if they are “sold”

—meaning that they consist of a “transfer of ownership to an unrelated party and consideration.”

IDM at 14 (quoting NSK Ltd. v. United States, 115 F.3d 965, 975 (Fed. Cir. 1997)). If a paid

sample sale to the United States market meets these criteria, Commerce includes it in the margin

calculation for the investigation. See id. Commerce here carried out that analysis, investigated



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and verified that PESL’s paid sample sales to the United States involved a “transfer of ownership

to an unrelated party and consideration,” and thus appropriately determined that PESL’s paid

sample sales should be included in the margin calculation. See id. That decision is consistent

with Commerce’s past practice. See id. (citing Certain Cold-Drawn Mechanical Tubing of

Carbon and Alloy Steel from Switzerland, 83 Fed. Reg. 16,293 (Dep’t of Commerce Apr. 16,

2019) (final determ.), at IDM Cmt. 1 (finding that home market sample sales were “sold” under

NSK definition, while excluding certain sales as outside “the ordinary course of trade”)).

       Indeed, we are not aware of any instance in which Commerce has excluded paid United

States sample sales in an antidumping duty investigation. As PESL acknowledges, in the only

two instances PESL identifies in which a party has even raised the possibility of Commerce

doing so, Commerce never reached the issue. See PESL Br. 15.

       Also consistent with the statute, Commerce’s practice regarding United States sales in

reviews differs from its practice regarding such sales in investigations. In reviews, pursuant to

19 U.S.C. § 1675(a)(2)(B)(iv), Commerce may evaluate whether a sample sale is bona fide for

purposes of calculating the dumping margin. See IDM at 14. Performing a bona fides analysis

in reviews enables Commerce to identify sales that may be fraudulent or otherwise manipulative

with respect to an existing order. See id. Because the bona fide sales provision is contained

within 19 U.S.C. § 1675 governing reviews, not investigations, Commerce does not exclude paid

sample sales that meet the criteria of a “transfer of ownership to an unrelated party and

consideration” or otherwise perform a bona fide sales analysis in investigations. See id. Further,

even assuming that PESL is correct in the sense that there theoretically may be cases in which

Commerce would find it appropriate to apply a bona fide sales analysis in an investigation, PESL

fails to demonstrate that the law requires Commerce to do so.




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       As PESL acknowledges, in an administrative review or new shipper review, “Commerce

has the discretionary authority to exclude certain U.S. sales from its analysis if such sales are

atypical or unrepresentative.” PESL Br. 14. Commerce’s authority derives from section

1675(a)(2)(B)(iv), which governs how Commerce carries out its duties in new shipper reviews.

The subsection, which Congress inserted in the overarching statutory section governing

administrative reviews, instructs Commerce to base its findings in new shipper reviews solely on

bona fide sales to the United States. 19 U.S.C. § 1675(a)(2)(B)(iv). Although this provision

contains an explicit reference to new shipper reviews, Commerce has interpreted its inclusion in

the section governing administrative reviews as evidence that it can also apply bona fide sales

analysis in administrative reviews, as it had already been Commerce’s practice to do so. See

IDM at 14; see also Tapered Roller Bearings and Parts Thereof, Finished and Unfinished, from

the People’s Republic of China, 85 Fed. Reg. 9,459 (Dep’t of Commerce Feb. 19, 2020) (final

admin. review), at IDM Cmt. 1 (TRBs from China); Honey from the People’s Republic of China,

85 Fed. Reg. 45,187 (Dep’t of Commerce July 27, 2020), at IDM Cmt. 1 (Honey from China).

       Prior to the 2016 amendment enacting 19 U.S.C. 1675(a)(2)(B)(iv), in fact, Commerce’s

longstanding practice had been to apply a bona fides analysis in both new shipper reviews and

administrative reviews. See Honey from China, 85 Fed. Reg. 45,187, at IDM Cmt. 1. The 2016

amendment codified Commerce’s practice by making a bona fides analysis mandatory in new

shipper reviews, without adding a similar obligation for administrative reviews or investigations.

See Trade Facilitation and Enforcement Act of 2015, Pub. L. No. 114-125 § 433, 130 Stat. 122,

171 (2016). Thus, as PESL readily acknowledges, the statute is silent with respect to whether

Commerce must apply a bona fides test in investigations. See PESL Br. 7-12.




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       Given Congress’s silence regarding application of a bona fide sales test in administrative

reviews and investigations, Commerce has determined that it is not required to apply a bona fide

sales test in circumstances outside of a new shipper review, but may do so in circumstances the

agency finds appropriate. See TRBs from China, 85 Fed. Reg. 9,459 at IDM Cmt. 1; Honey from

China, 85 Fed. Reg. 45,187, at IDM Cmt. 1. This Court has held that Commerce’s interpretation

is reasonable, that Commerce is neither precluded from nor required to apply the bona fide sales

test in an administrative review, and that Congress’s presumed knowledge of Commerce’s

administrative practice when it amended 19 U.S.C. § 1675 “lends force to the notion that

Congress’s amendments do not speak to Commerce’s practice within the context of an

administrative review.” Novolipetsk Steel Public Joint Stock Co. v. United States, 483 F. Supp.

3d 1281, 1286-87 (Ct. Int’l Trade 2020), appeal docketed No. 21-1622 (Fed. Cir. Apr. 21, 2021);

see also Windmill Int’l Pte., Ltd. v. United States, 193 F. Supp. 2d 1303, 1312-14 (Ct. Int’l Trade

2002) (ruling that Commerce reasonably applied bona fide sales test in administrative review

based on its practice prior to 2016 amendment).

       PESL takes this principle one step further, arguing that, because Commerce has the

authority to exclude certain United States sales from its analysis in new shipper reviews or

administrative reviews, Commerce must exclude such sales from the margin calculation in

investigations. See PESL Br. 13-15. This argument creates a legal obligation where none exists,

seeking to turn Commerce’s discretionary authority to exclude sales into an affirmative duty.

Despite its admission that the statute is silent, PESL attempts to justify its advocacy for an

affirmative statutory obligation by claiming that accuracy and fair comparison concerns render

Commerce’s practice of not employing bona fides analysis in investigations unreasonable. See

PESL Br. 12-14. The Federal Circuit has clarified, however, that “a Commerce determination




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(1) is ‘accurate’ if it is correct as a mathematical and factual matter, thus supported by substantial

evidence; and (2) reflects ‘commercial reality’ if it is consistent with the method provided in the

statute, thus in accordance with law.” Nan Ya Plastics Corp., Ltd. v. United States, 810 F.3d

1333, 1343-44 (Fed. Cir. 2016). PESL cannot credibly claim that Commerce’s practice, which

relies on the actual sale prices for PESL’s paid sample sales, is inaccurate in this sense or

inconsistent with any statutory method. Likewise, contrary to PESL’s invocation of “fair

comparison” considerations, Commerce explained that it verified that PESL’s paid sample sales

were valid “sales” (as court have defined that term) because they consisted of a “transfer of

ownership to an unrelated party and consideration.” IDM at 14 (quoting NSK, 115 F. 3d at 975).

And as the Court recognized in Novolipetsk, Congress easily could have amended the statute in

2016 to provide the affirmative obligation PESL advocates, but did not do so. See 483 F. Supp.

3d at 1287. Although a bona fide sales test may be preferable for PESL’s interests, in the

absence of expressed intent from Congress, the discretion regarding whether to apply a bona fide

sales test in this instance ultimately lies with Commerce, not PESL.

       Moreover, there are good reasons for Commerce to apply bona fides analysis in reviews,

but not investigations. As Commerce explained in its determination, “section 751(a)(2)(B)(iv)

of the Act, which provides for determinations based on bona fide sales, pertains to administrative

reviews.” IDM at 14. Given the need to identify sales that may be fraudulent or otherwise

manipulative with respect to an existing order, Commerce applies the bona fide sales test in both

administrative reviews and new shipper reviews. See id.; TRBs from China, 85 Fed. Reg. 9,459

at IDM Cmt. 1; Honey from China, 85 Fed. Reg. 45,187, at IDM Cmt. 1. Commerce performs a

bona fide sales test in these proceedings to “ensure that a producer does not unfairly benefit from

an atypical sale to obtain a lower dumping margin than the producer’s usual commercial practice




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would dictate.” Huzhou Muyun Wood Co. v. United States, 324 F. Supp. 3d 1364, 1376 (Ct. Int’l

Trade 2018). Additionally, although Commerce is required to perform a bona fide sales test in

all new shipper reviews, Commerce’s practice in exercising its discretion to apply the bona fide

sales test in reviews is only to apply the test in some, rather than all, administrative reviews. See,

e.g., TRBs from China, 85 Fed. Reg. 9,459 at IDM Cmt. 1. Situations in which it is appropriate

to apply the bona fide sales test in an administrative review may include, for example, instances

in which the review is based on a single entry or transaction, warranting further scrutiny because

there are fewer transactions from which to draw conclusions about the respondent’s selling

practices. See Novolipetsk, 483 F. Supp. 3d at 1288; Windmill, 193 F. Supp. 2d at 1313-14.

       Unlike investigations, both new shipper reviews and administrative reviews involve

reviewing exporters and producers under an existing antidumping duty order. Because the

exporter or producer in question has notice that it is subject to the discipline of an existing order

and potential duty liability, Commerce performs a bona fide sales test to ensure that the exporter

or producer has not manipulated their sales in light of the existing order to receive a lower

individual rate or margin. See, e.g., Huzhou, 324 F. Supp. 3d at 1376; Novolipetsk, 483 F. Supp.

3d at 1287 (“The legislative history indicates that Congress was driven by concerns that

exporters and producers were abusing the ability to obtain a new shipper rate on an expedited

basis in order to circumvent antidumping and countervailing duties.”). In an investigation,

however, where an order is not yet in place and the exporter or producer is not yet subject to its

discipline, the same incentive does not exist for a producer to make atypical sales to receive a

lower dumping rate or margin. See Melamine From the People’s Republic of China, 86 Fed.

Reg. 13,528 (Dep’t of Commerce Mar. 9, 2021) (final sunset review), and accompanying IDM at

4 (“Generally, Commerce selects the dumping margins from the final determination in the




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original investigation, as these rates are the only calculated rates that reflect the behavior of

exporters without the discipline of an order in place.”) (citations omitted).

       Consequently, as we noted above, PESL fails to point to a single past instance in which

Commerce has applied a bona fide sales analysis in an investigation (and we are not aware of

any). Instead, PESL relies heavily on case law discussing application of Commerce’s bona fide

sales test in administrative or new shipper reviews. See PESL Br. 13-15. But as we explained,

those proceedings following issuance of an order present different concerns about potential

manipulation than those present in an investigation when no order exists. Similarly, the only two

investigations PESL cites as support for its argument are ones in which Commerce never

addressed the appropriateness of applying a bona fide sales analysis. See id. at 15 (citing Large

Diameter Welded Pipe from Canada, Greece, Korea, and Turkey, 84 Fed. Reg. 6,378 (Dep’t of

Commerce Feb. 27, 2019) (final determ.), at IDM Cmt. 2; Uncovered Innerspring Units from the

People’s Republic of China, 73 Fed. Reg. 79,443 (Dep’t of Commerce Dec. 29, 2008) (final

determ.), at IDM Cmt. 2. In both determinations, Commerce made no finding regarding whether

or not it was appropriate to apply a bona fide sales test because doing so was unnecessary. Here,

by contrast, Commerce acted within its statutory discretion to determine that PESL’s paid sample

sales consist of a “transfer of ownership to an unrelated party and consideration,” that satisfy the

criteria for inclusion in the margin calculations, and that a bona fide sale test was not appropriate

in an investigation. See IDM at 14.

       Finally, PESL incongruously draws a comparison between Commerce’s exercise of its

statutory discretion here not to employ a bona fides analysis that the statute does not otherwise

require, and decisions upholding Commerce’s exercise of discretion to employ methods of

analysis that the statute does not otherwise require. See PESL Br. 11. The opposite nature of




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these cases makes the comparison inapt. Statutory silence does not preclude Commerce from

employing bona fides analysis in investigations, but it surely does not require it either. A more

apt comparison is to decisions sustaining as lawful Commerce’s practice of declining to apply its

now-withdrawn “Limiting Rule” regulation in administrative reviews, when the regulation by its

terms only applied to investigations. See Apex Frozen Foods Priv. Ltd. v. United States, 37 F.

Supp. 3d 1286, 1303 (Ct. Int'l Trade 2014), aff’d, 862 F.3d 1322, 1335-36 (Fed. Cir. 2017).

Similarly, given that there is no statutory requirement to perform a bona fide sales analysis on

otherwise paid United States sales in an investigation, Commerce has no obligation to do so.

                                         CONCLUSION

       For these reasons, we respectfully request that the Court deny plaintiffs’ motions and

sustain Commerce’s final determination.

                                                     Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Acting Assistant Attorney General

                                                     JEANNE E. DAVIDSON
                                                     Director

                                                     /s/ Tara K. Hogan
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May 26, 2021                                         Attorneys for Defendant United States



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                                                                                               A-570-008
                                                                                             Investigation
                                                                                 POI: 4/1/2013-9/30/2013
                                                                                  Proprietary Document
                                                                                            E&C/V: KJA
January 7, 2014                                                                            Public Version


                               ENFORCEMENT AND COMPLIANCE1
                               OFFICE OF AD/CVD ENFORCEMENT
                           AD INVESTIGATION INITIATION CHECKLIST


SUBJECT:                     Calcium Hypochlorite from the People’s Republic of China (“PRC”)
CASE NUMBER:                 A-570-008


PETITIONER:

Arch Chemicals, Inc.
5660 Northside Parkway
Suite 1100
Atlanta, GA 30328
Tel: 678-627-2494

COUNSEL TO PETITIONER:

Peggy A. Clarke
Law Offices of Peggy A. Clarke
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POTENTIAL RESPONDENTS:

A list of the producers of calcium hypochlorite in the PRC identified by Arch Chemicals, Inc.
(“Petitioner”) can be found in the “Petition for the Imposition of Antidumping Duties on Imports
of Calcium Hypochlorite from the People’s Republic of China,” dated December 18, 2013
(“Petition”).2



1
    Formerly, Import Administration.
2
    See Volume I of the Petition, at 4 and Exhibit GEN-3.



          Filed By: kabir archuletta, Filed Date: 1/10/14 9:01 AM, Submission Status: Approved
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                              Barcode:3172929-01 A-570-008 INV - Investigation          -




SCOPE: See Attachment I – Scope of the Investigation, to this checklist.


IMPORT STATISTICS:

                                                                                    YTD 2012          YTD 2013
         PRC                 2010               2011                 2012
                                                                                    (Jan-Sept)        (Jan-Sept)
      Quantity
       (1,000                6,707              9,481               10,626            9,509               12,037
      pounds)
       Value
                          4,439,894          6,531,531             7,797,883        6,912,716           8,423,997
       (USD)

Source: United States International Trade Commission (“ITC”) Dataweb, available at http://dataweb.usitc.gov/.
Petitioner reported the volume (converted from kilograms to pounds) and landed duty-paid value of imports of
calcium hypochlorite using Harmonized Tariff Schedule of the United States (“HTSUS”) subheading
2828.10.0000.3



APPROXIMATE CASE CALENDAR:

                                                   No. of
Event                                                          Date of Action               Day of Week
                                                   Days
                                                   Antidumping Duty Investigation

Petition Filed                                     0           December 18, 2013            Wednesday
Initiation Date                                    20          January 7, 2014              Tuesday
ITC Preliminary Determination                      45          February 3, 2014             Monday*

ITA Preliminary Determination†**                   160         May 27, 2014                 Tuesday

ITA Final Determination†                           235         August 11, 2014              Monday*

ITC Final Determination***                         280         September 24, 2014           Wednesday

Publication of Order****                           287         October 1, 2014              Wednesday
* Where the deadline falls on a weekend/holiday, the appropriate date is the next business day.
† These deadlines may be extended under the governing statute.
** This will take place only in the event of a preliminary affirmative determination from the ITC.
*** This will take place only in the event of a final affirmative determination from the International Trade
Administration (“ITA”).
**** This will take place only in the event of a final affirmative determination from the ITA and the ITC.
Note: The ITC final determination will take place no later than 45 days after a final affirmative ITA determination.
Note: Publication of order will take place approximately 7 days after an affirmative ITC final determination.



3
    See Volume I of the Petition, at 17 and Exhibit INJ-2.


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INDUSTRY SUPPORT:

Do Petitioner and those expressing support for the Petition account for more than 50% of
production of the domestic like product?

                         Yes
                         No

If No, do those expressing support account for the majority of those expressing an opinion and at
least 25% of domestic production?

                         Yes
                         No
                         Not Applicable

Describe how industry support was established - specifically, describe the nature of any polling
or other step undertaken to determine the level of domestic industry support.

See Attachment II, Analysis of Industry Support for the Petitions Covering Calcium
Hypochlorite from the People’s Republic of China, to this checklist.

Was there opposition to the Petition?

                          Yes
                          No

Are any of the parties who have expressed opposition to the Petition either importers or domestic
producers affiliated with foreign producers?

                            Yes
                            No
                            Not
                            Applicable



INJURY ALLEGATION:

We received a copy of the action notice from the Director of the Office of Investigations at the
ITC which was signed on December 18, 2013. It indicates that the ITC has instituted an
investigation to determine whether there is a reasonable indication that the domestic industry



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producing calcium hypochlorite is materially injured or threatened with material injury.4

The relevant injury data can be found in Volume I of the Petition, at 17-30 and Exhibits INJ-1
through INJ-8.5

Does the Petition contain evidence of causation? Specifically, does the Petition contain
information relative to:

                 volume and value of imports (See Volume I of the Petition, at 17-19, 22, 26-27
                 and Exhibits INJ-1 and INJ-2.)

                 U.S. market share (i.e., the ratio of imports to consumption) (See Volume I of the
                 Petition, at 19, 22 and Exhibit INJ-3.)

                 actual pricing (i.e., evidence of decreased pricing) (See Volume I of the Petition,
                 at 19-20, 23-24, 28-29 and Exhibits INJ-4 and INJ-6 through INJ-8.)

                 relative pricing (i.e., evidence of imports underselling U.S. products) (See
                 Volume I of the Petition, at 23, 28 and Exhibit INJ-4.)


PETITION REQUIREMENTS:

Does the Petition contain the following?

                 the name, address, and telephone number of Petitioner (See Volume I of the
                 Petition, at 2.)

                 the names, addresses, and telephone numbers of all domestic producers of the
                 domestic like product known to the petitioning company (See Volume I of the
                 Petition, at 2.)

                 the volume or value of the domestic like product produced by Petitioner and each
                 domestic producer identified for the most recently completed 12-month period for
                 which data is available (See Volume I of the Petition, at 3-4 and Exhibit GEN-2.)

                 Was the entire domestic industry identified in the Petition?

                          Yes (See Volume I of the Petition, at 2 and Exhibit GEN-2.)

                          No



4
 See Attachment IV to this checklist.
5
 See Attachment III, Analysis of Allegations and Evidence of Material Injury and Causation for the Petitions
Covering Calcium Hypochlorite from the People’s Republic of China.


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               a clear and detailed description of the merchandise to be investigated, including
               the appropriate Harmonized Tariff Schedule numbers (See Volume I of the
               Petition, at 4-13 and Exhibits GEN-2 and GEN-5 through GEN-14; see also
               General Issues Supplement, dated December 30, 2013 (“General Issues
               Supplement”), at 2-3; and Memo to the File Regarding Revised Scope Language,
               dated December 31, 2013 (“Scope Memo”).)

               the name of each country in which the merchandise originates or from which the
               merchandise is exported (See Volume I of the Petition, at 4.)

               the identity of each known exporter, foreign producer, and importer of the
               merchandise (See Volume I of the Petition, at 4 and Exhibits GEN-3 and GEN-4.)

               a statement indicating that the Petition was filed simultaneously with the
               Department of Commerce and the ITC (See Petition cover letter, at 3.)

               an adequate summary of the proprietary data (See public version of the Petition,
               and public version of the Supplement to the PRC AD Petition, dated December
               23, 2013 (“PRC AD Supplement”).)

               a statement regarding release under administrative protective order (See Petition
               cover letter, at 1-2, and PRC AD Supplement cover letter, at 1.)

               a certification of the facts contained in the Petition by an official of the petitioning
               firm(s) and its legal representative (if applicable) (See attachments to the Petition
               cover letter, attachments to the General Issues Supplement, and attachments to the
               PRC AD Supplement.)

               import volume and value information for the most recent two-year period (See
               Volume I of the Petition, at Volume I of the Petition, at 17-19, 22, 26-27 and
               Exhibits INJ-1 and INJ-2.)


LESS THAN FAIR VALUE ALLEGATION:

In accordance with 19 CFR 351.204(b)(1), because the Petition was filed on December 18, 2013,
the proposed period of investigation (“POI”) is April 1, 2013, through September 30, 2013.

On December 19, 2013, the Department issued supplemental questions to Petitioner regarding
Petitioner’s less than fair value allegation. Petitioner responded to the Department’s AD
Supplement to the Petition on December 23, 2013.

Export Price

Petitioner based its calculation of export price (“EP”) on the average unit value (“AUV”) of U.S.
imports of calcium hypochlorite from the PRC during the POI, under the HTSUS subheading



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2828.10.0000. Based on U.S. imports of calcium hypochlorite for consumption, Petitioner has
calculated a POI weighted average U.S. customs price of $1.34/kg.6 Petitioner deducted from
this POI weighted average an amount for foreign brokerage and handling charges in the PRC,
and foreign inland freight from the manufacturing plant to the port of exportation.7 As this
methodology is consistent with our past practice, we have relied on the POI-weighted average
AUV as the basis for EP.

Did the Petition contain the following?

                 support documentation for the alleged prices (See Volume II of the Petition, at 4-5
                 and Exhibits AD-5 through AD-14; see also PRC AD Supplement, at 2-4 and
                 revised Exhibits AD-9, AD-11, and AD-14 and Exhibits AD-28 and AD-29).

        N/A      any market research reports including an affidavit referring to sources and how
                 information was obtained.

                 current price data (See Volume II of the Petition at 4-5 and Exhibits AD-5 and
                 AD-14).

                 price and cost data from contemporaneous time periods.

                 correct currency rates used for all conversions to U.S. dollars (See Volume II of
                 the Petition, at Exhibit AD-13).

                 conversion factors for comparisons of differing units of measure (See Volume II
                 of the Petition, at Exhibit AD-17).

Normal Value

Petitioner states that the Department has treated the PRC as a non-market economy (“NME”)
country in every proceeding in which the PRC has been involved, and has continued to do so in
all administrative proceedings concluded in recent months.8

In accordance with section 771(18)(C)(i) of the Tariff Act of 1930, as amended (“Act”), the
presumption of NME status for the PRC has not been revoked by the Department and, therefore,
remains in effect for purposes of the initiation of this investigation. Accordingly, the normal
value (“NV”) of the product is appropriately based on factors of production (“FOP”) valued in a
surrogate market-economy country in accordance with section 773(c) of the Act.

Petitioner contends that the Philippines is the appropriate surrogate country for the PRC because:
1) it is at a level of economic development comparable to that of the PRC; and 2) it is a

6
  See Volume II of the Petition, at 4 and Exhibits AD-5 and AD-14; see also Supplement to the PRC AD Petition,
dated December 23, 2013 (“PRC AD Supplement”), at 2-4 and revised Exhibit AD-14.
7
  See Volume II of the Petition, at 4 and Exhibits AD-6 through AD-14; see also PRC AD Supplement, at 2-4 and
revised Exhibits AD-9, AD-11, AD-14, and AD-27.
8
  See Volume II of the Petition, at 1-2.


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significant producer of comparable merchandise.9 With regard to economic comparability,
Petitioner notes that the Department’s Office of Policy regularly includes the Philippines in its
memoranda identifying market economy countries it has determined to be comparable to the
PRC in terms of economic development, and the Philippines was found to be a suitable surrogate
country for use in a recent review of a product found by the Department to be comparable to
calcium hypochlorite, chlorinated isocyanurates.10 Lastly, Petitioner submits that data for
valuing FOPs in the Philippines are available and reliable and contends that the aforementioned
combination of factors makes the Philippines an appropriate surrogate country for purposes of
this investigation.11

Valuation of Raw Materials and By-Product

Petitioner based its NV on two different production methods.12 For a non-integrated production
process, which Petitioner believes to be comparable to some calcium hypochlorite producers in
the PRC, Petitioner based NV on its own U.S production experience during the time period
January – September 2013.13 For the production process of an integrated producer of calcium
hypochlorite, Petitioner based NV on a 2009 feasibility study conducted by Petitioner that
analyzed the costs associated with setting up a fully integrated facility.14 This study was
supported by an affidavit from the individual who assisted with the calculation of expected per-
kg FOPs.15 Petitioner also submitted information indicating that at least one major PRC producer
employs an integrated production process.16

Petitioner valued all raw material FOPs using publicly available surrogate country data.17
Specifically, Petitioner used Philippine import statistics from the Global Trade Atlas (“GTA”),
which contains a majority of the inputs required to produce calcium hypochlorite.18 For two
FOPs that did not have imports during the presumptive POI, steam/natural gas and hydrogen,
Petitioner relied upon the surrogate values used in the recent preliminary results of review of
chlorinated isocyanurates from the PRC.19 Petitioner relied on data from GTA for the most
recent six-month period for which data was available (i.e., March 2013 through August 2013).20
Petitioner excluded from these GTA import statistics imports from NME countries, countries that
maintain broadly available export subsidies, and any imports from “unspecified” countries.21


9
  Id., at 2-4 and Exhibits AD-2 and AD-3.
10
   Id., at 2-3. Petitioner also stated that the Department has found that both calcium hypochlorite and sodium
hypochlorite constitute products comparable to chlorinated isocyanurates, citing Chlorinated Isocyanurates From the
People’s Republic of China: Final Results of Antidumping Duty Administrative Review; 2010-2011, 78 FR 4386
(Jan. 22, 2013) and accompanying Issues and Decision Memorandum at Comment 1.
11
   Id., at 4.
12
   Id., at 5-6.
13
   Id., at 5-6 and Exhibits AD-17 and AD-19.
14
   Id., at 6 and Exhibits AD-16, AD-17 and AD-19.
15
   Id., at Exhibit AD-18.
16
   Id., at 5 and Exhibit AD-15.
17
   Id., at Exhibit AD-19.
18
    Id., at 6-7 and Exhibits AD-20 and AD-21.
19
   Id., at 6-7 and Exhibit AD-22.
20
   Id., at 6-7 and Exhibit AD-20.
21
   Id., at 6.


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Petitioner calculated a by-product offset for brine and hydrogen produced during the production
of calcium hypochlorite using GTA import data.22

Valuation of Direct and Indirect Labor

Consistent with the Department’s recent practice, Petitioner calculated the labor expense rate
using the most recent Chapter 6A International Labor Organization wage data for the
Philippines.23

Valuation of Electricity and Water

Petitioner valued energy costs using industry rates published by the Manila Electric Company.24
Petitioner valued water using rates published by Maynilad Water.25

Valuation of Packing Materials

Petitioner valued packing materials using GTA data from the Philippines. Petitioner limited its
valuation of packing materials to 45-kg drums, wooden pallet and plastic packaging film because
the majority of calcium hypochlorite imported from the PRC is packaged in this manner.26

Valuation of Factory Overhead

To calculate factory overhead, Petitioner relied on the financial statements of Mabuhay Vinyl
Corporation (“Mabuhay Vinyl”), a Philippine manufacturer of sodium hypochlorite, for the year
ending December 31, 2012. 27 Petitioner asserts that sodium hypochlorite is a product
comparable to calcium hypochlorite and notes that Mabuhay Vinyl is the company currently
being relied upon for financial ratios in the ongoing administrative review of chlorinated
isocyanurates.28

Specifically, Petitioner derived Mabuhay Vinyl’s total factory overhead cost by summing the
values for raw materials, labor and energy.29 Petitioner then calculated Mabuhay Vinyl’s factory
overhead ratio by dividing the total factory overhead cost by the sum of the values calculated for
the raw materials, labor and energy.30




22
   Id., at 8 and Exhibit AD-19.
23
   Id., at 7 and Exhibit AD-23.
24
   Id., at 7 and Exhibit AD-24.
25
   Id., at 7 and Exhibit AD-25.
26
   Id., at 8 and Exhibits AD-17, AD-19 and AD-20; see also Volume I of the Petition, at Exhibit GEN-2.
27
   See Volume II of the Petition, at 8 and Exhibit AD-26.
28
   Id.
29
   Id., at Exhibit AD-26.
30
   Id.


                                                       -8-
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Valuation of Selling, General and Administrative (“SG&A”) Expenses

To calculate the SG&A expense ratio, Petitioner relied on Mabuhay Vinyl’s financial
statements.31 Specifically, the ratio was calculated by computing Mabuhay Vinyl’s SG&A
expenses as a percentage of the net raw materials, labor, energy and manufacturing overhead
derived from Mabuhay Vinyl’s financial statements.32

Valuation of Profit

To calculate the profit ratio, Petitioner relied on Mabuhay Vinyl’s financial statements.33 The
ratio was calculated by computing Mabuhay Vinyl’s profit before taxes as a percentage of the
total of raw materials, labor, energy, manufacturing overhead, and SG&A and finance costs
derived from Mabuhay Vinyl’s financial statements.

ESTIMATED MARGIN:

The dumping margins (based on comparison of EP and NV for both integrated and non-
integrated production processes) for the PRC are 182.51-210.52 percent.34



RECOMMENDATION:

We have examined the accuracy and adequacy of the evidence provided in the Petition as
discussed in this checklist and attachments, and recommend determining that the evidence is
sufficient to justify the initiation of an antidumping duty investigation with regard to the PRC.
We also recommend determining that the Petition has been filed on behalf of the domestic
industry.




31
   Id.
32
   Id.
33
   Id.
34
   See PRC AD Supplement, at 3-4 and revised Exhibit AD-27.


                                                    -9-
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ATTACHMENTS:

  I.   Scope of the Investigation
 II.   Industry Support
III.   Analysis of Allegations and Evidence of Material Injury and Causation
IV.    Action Letter from the ITC




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                                          Attachment I

                                   Scope of the Investigation

The product covered by this investigation is calcium hypochlorite, regardless of form (e.g.,
powder, tablet (compressed), crystalline (granular), or in liquid solution), whether or not blended
with other materials, containing at least 10% available chlorine measured by actual weight. The
scope also includes bleaching powder and hemibasic calcium hypochlorite.

Calcium hypochlorite has the general chemical formulation Ca(OCl) 2 , but may also be sold in a
more dilute form as bleaching powder with the chemical formulation,
Ca(OCl) 2 .CaCl 2 .Ca(OH) 2 .2H 2 O or hemibasic calcium hypochlorite with the chemical formula
of 2Ca(OCl) 2 .Ca(OH) 2 or Ca(OCl) 2 .0.5Ca(OH) 2 . Calcium hypochlorite has a Chemical
Abstract Service (“CAS”) registry number of 7778-54-3, and a U.S. Environmental Protection
Agency (“EPA) Pesticide Code (“PC”) Number of 014701. The subject calcium hypochlorite
has an
International Maritime Dangerous Goods (“IMDG”) code of Class 5.1 UN 1748, 2880, or 2208
or Class 5.1/8 UN 3485, 3486, or 3487.

Calcium hypochlorite is currently classifiable under the subheading 2828.10.0000 of the
Harmonized Tariff Schedule of the United States (“HTSUS”). The subheading covers
commercial calcium hypochlorite and other calcium hypochlorite. When tableted or blended
with other materials, calcium hypochlorite may be entered under other tariff classifications, such
as 3808.94.5000 and 3808.99.9500, which cover disinfectants and similar products. While the
HTSUS subheadings, the CAS registry number, the U.S. EPA PC number, and the IMDG codes
are provided for convenience and customs purposes, the written description of the scope of this
investigation is dispositive.




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                                                 Attachment II

    Analysis of Industry Support for the Antidumping and Countervailing Duty Petitions
            Covering Calcium Hypochlorite from the People’s Republic of China

Background

Sections 702(c)(4)(A) and 732(c)(4)(A) of the Tariff Act of 1930, as amended (“the Act”), state
that the administering authority shall determine that a petition has been filed by or on behalf of
the industry if the domestic producers or workers who support the petition account for: (1) at
least 25 percent of the total production of the domestic like product; and (2) more than 50
percent of the production of the domestic like product produced by that portion of the industry
expressing support for, or opposition to, the petition. The above-referenced Petitions1 contain
data supporting a finding that Petitioner’s2 share is at least 25 percent of total production of the
domestic like product and more than 50 percent of the domestic like product production of those
producers expressing support for, or opposition to, the Petitions.

Section 771(4)(A) of the Act defines “industry” as the producers of a domestic like product.
Thus, to determine whether a petition has the requisite industry support, the Act directs the
Department of Commerce (“the Department”) to look to producers and workers who produce the
domestic like product. The International Trade Commission (“ITC”), which is responsible for
determining whether “the domestic industry” has been injured, must also determine what
constitutes a domestic like product in order to define the industry. While both the Department
and the ITC must apply the same statutory definition regarding the domestic like product (section
771(10) of the Act), they do so for different purposes and pursuant to a separate and distinct
authority. In addition, the Department’s determination is subject to limitations of time and
information. Although this may result in different definitions of the like product, such
differences do not render the decision of either agency contrary to law.3

Section 771(10) of the Act defines the domestic like product as “a product which is like, or in the
absence of like, most similar in characteristics and uses with, the article subject to an
investigation under this subtitle.” Thus, the reference point from which the domestic like
product analysis begins is “the article subject to an investigation,” i.e., the class or kind of
merchandise to be investigated, which normally will be the scope as defined in the Petitions.
While the Department is not bound by the factors used by the ITC to determine the domestic like
product in answering this question, we reviewed these factors as presented by Petitioner. The
factors are: (1) physical characteristics and uses; (2) interchangeability; (3) channels of
distribution; (4) customer and producer perceptions; (5) common manufacturing facilities,



1
  See Petitions for the Imposition of Antidumping and Countervailing Duties on Imports of Calcium Hypochlorite
from the People’s Republic of China, dated December 18, 2013 (“the Petitions”). Petitioner filed the General Issues
Supplement to the Petitions, dated December 30, 2013 (“General Issues Supplement”), in response to the
Department’s request for additional information regarding the Petitions.
2
  Petitioner is Arch Chemicals, Inc. (“Arch Chemicals”).
3
  See USEC, Inc. v. United States, 132 F. Supp. 2d 1, 8 (CIT 2001) (citing Algoma Steel Corp. Ltd. v. United States,
688 F. Supp. 639, 644 (CIT 1988), aff’d 865 F.2d 240 (Fed. Cir. 1989)).



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                                                                    Business Proprietary              Information

processes, and employees; and (6) price.4 With regard to the domestic like product, Petitioner
does not offer a definition of domestic like product distinct from the scope of the investigations.5
For a detailed analysis and discussion, see the “Analysis of Domestic Like Product” section
below.

Analysis of Domestic Like Product

        A. Calcium Hypochlorite

Petitioner addresses the six criteria used by the ITC to determine the domestic like product in
Volume I of the Petitions, at 13-17. Petitioner contends that all calcium hypochlorite constitutes
a single domestic like product. Petitioner makes the following arguments:

    1) Physical Characteristics and Uses

According to Petitioner, all calcium hypochlorite has similar compositions and is produced by
mixing chlorine and lime.6 Petitioner notes that, although there are various methods for
producing calcium hypochlorite and other ingredients may be involved, the final calcium
hypochlorite contains the same chemical compound (CA(OCl)2).7 Petitioner further states that
all calcium hypochlorite is typically either a white, solid concentrate in powder, tablet, or
crystalline (granular) form or a liquid solution.8 Petitioner also notes that calcium hypochlorite
has a distinct chlorine odor.9 In addition, Petitioner states that calcium hypochlorite “is a
chemically stable means of storing and delivering chlorine which is released when the product is
introduced into water.”10 Petitioner notes that all calcium hypochlorite is used significantly in
the chlorination of swimming pools and may also be used for the disinfection of water and
wastewater and cleaning and sanitizing operations (such as laundry, food and non-food contact
surfaces, and fruit and vegetable washing).11 While there are other products that may overlap
with calcium hypochlorite in terms of uses (such as chlorinated isocyanurates, sodium
hypochlorite, lithium hypochlorite, enzymes, sodium percarbonate, bromine, biguanide, salt
generators, and polyhexamethylene biguanide), Petitioner contends that those products are
produced using different inputs.12

    2) Interchangeability

Petitioner argues that all calcium hypochlorite must meet customer specifications and must be
registered with the Environmental Protection Agency. As a result, according to Petitioner, “the

4
  See Fujitsu Ltd. v. United States, 36 F. Supp. 2d 394, 397-98 (CIT 1999); Torrington Co. v. United States, 747 F.
Supp. 744, 748-49 (CIT 1990), aff’d, 938 F.2d 1278 (Fed. Cir. 1991); see also Antidumping and Countervailing
Duty Handbook, Twelfth Edition, United States International Trade Commission, Publication 3916 (April 2007), at
II-33.
5
  See Volume I of the Petitions, at 13.
6
  Id.
7
  Id., at 14.
8
  Id.
9
  Id.
10
   Id.
11
   Id.
12
   Id., at 15.


                                                         2
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                                                                    Business Proprietary              Information

imported and domestic {calcium hypochlorite} is generally comparable in quality and customers
can use them interchangeably.”13 In addition, although other products may serve as substitutes
for calcium hypochlorite in the pool industry, Petitioner notes that, in investigations concerning
chlorinated isocyanurates (a product that is also used in pool chlorination), the ITC “did not
consider whether any {potential substitutes} would be considered like products to the subject
chlorinated isocyanurates.”14 Furthermore, Petitioner states that the ITC “has previously found
chlorinated isocyanurates to be their own like product, separate from {calcium hypochlorite and
other alternatives}.”15 Petitioner argues that, despite some overlap in terms of uses, “{t}he
production processes of these products are substantially different than the processes for {calcium
hypochlorite} and each other, providing clear dividing lines.”16

     3) Channels of Distribution

Petitioner states that, in the retail market, calcium hypochlorite is generally sold through six
channels of distribution.17 In addition, Petitioner notes that calcium hypochlorite “is generally
sold on a transaction-by-transaction basis, often tied to an evergreen contract. Many big retailers
and customers seek price quotes for the coming year in the third or fourth quarter of the year. In
many cases, customers procure {calcium hypochlorite} from more than one source.”18

     4) Customer and Producer Perceptions

Petitioner contends that, despite the branding in the industry, calcium hypochlorite is a
commodity product and, therefore, customers and producers perceive all calcium hypochlorite to
be the same product.19

     5) Common manufacturing facilities and production employees

Petitioner notes that the domestic industry produces all calcium hypochlorite using the same
basic production processes in the same facilities.20 Furthermore, Petitioner contends that calcium
hypochlorite and substitute products have different production processes, are not produced in the
same facilities, and few are even produced by the same manufacturers.21

     6) Price



13
   Id.
14
   Id.; see also General Issues Supplement, at 2 and Attachment 1, and Chlorinated Isocyanurates from China and
Japan, Inv. Nos. 701-TA-501 and 731-TA-1226 (Preliminary), USITC Pub. 4431 (November 2013) (“Chlorinated
Isocyanurates from China and Japan”), at II-1.
15
   See Volume I of the Petitions, at 14; see also General Issues Supplement, at 2 and Attachment 1, and Chlorinated
Isocyanurates from China and Spain, Inv Nos. 731-TA-1082 and 1083 (Final), USITC Pub. 3782 (June 2005)
(“Chlorinated Isocyanurates from China and Spain”).
16
   See Volume I of the Petitions, at 15.
17
   Id.
18
   Id., at 16.
19
   Id.
20
   Id.
21
   Id., at 14-15.


                                                         3
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                                                          Contains           -
                                                                    Business Proprietary            Information

According to Petitioner, since calcium hypochlorite is a commodity product, all calcium
hypochlorite competes primarily on the basis of price.22

Department’s Position:

We analyzed the information provided by Petitioner with regard to the ITC’s domestic like
product factors. We agree with Petitioner that calcium hypochlorite, as defined in the scope of
the investigations, constitutes a single domestic like product. All calcium hypochlorite has the
same chemical compound that differs from other products that have similar uses. Although
calcium hypochlorite and other substitute products have some of the same end uses in the pool
industry, they have different production processes and are produced in different production
facilities. We note that the ITC has previously found that chlorinated isocyanurates, which are
also used in pool chlorination, are their own like product, separate from calcium hypochlorite
and other alternatives.23 Likewise, in the recent chlorinated isocyanurates from China and Japan
cases, the ITC again found that chlorinated isocyanurates are their own domestic like product.24
Although calcium hypochlorite and other substitute products, such as chlorinated isocyanurates,
may overlap in terms of uses in the pool industry, there is precedent for treating them as separate
like products due to their substantially different production processes.

Furthermore, unless the Department finds Petitioner’s definition of the domestic like product to
be inaccurate, we will adopt the domestic like product definition set forth in the Petitions.25
While the statute defines the “domestic like product” as “a product which is like, or in the
absence of like, most similar in characteristics and uses with, the article subject to an
investigation,” pursuant to section 771(10) of the Act, Petitioner has presented the Department
with information pertaining to the factors the ITC traditionally analyzes. We analyzed the
factors presented by Petitioner and find there is reason to conclude that calcium hypochlorite
comprises a single domestic like product.

        B. Tableting and Repackaging

Petitioner also contends that the domestic industry producing the domestic like product should
not include companies that are collectively called “repackers/private label marketers” in the
industry.26 These companies buy calcium hypochlorite in bulk and 1) repack it (sometimes
under private label), 2) compress granular calcium hypochlorite into tablets, and/or 3) blend
calcium hypochlorite with other ingredients.27 To support this argument, Petitioner contends that
less than 25 percent of calcium hypochlorite sold is in tableted form; most calcium hypochlorite
is sold and used in granular form.28 Moreover, Petitioner notes that, of the tableted calcium
hypochlorite sold in the United States, more than 95% of it is produced by Arch Chemicals and

22
   Id, at 16.
23
   See General Issues Supplement, at 2 and Attachment 1; see also, Chlorinated Isocyanurates from China and Spain,
Inv Nos. 731-TA-1082 and 1083 (Final), USITC Pub. 3782 (June 2005), at 10 and II-8.
24
   See General Issues Supplement, at 2 and Attachment 1; see also Chlorinated Isocyanurates from China and Japan,
at II-1.
25
   See Volume I of the Petitions, at 13-16.
26
   Id., at 3.
27
   Id.
28
   Id., at 3 and Exhibits GEN-2 and INJ-3.


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                                                                     Business Proprietary   Information

Axiall Corporation (“Axiall”), the other U.S. producer of bulk calcium hypochlorite.29 The
remaining tableted calcium hypochlorite is produced by companies that do not make the
underlying calcium hypochlorite. Petitioner contends these companies are essentially
distributors.30

Furthermore, according to Petitioner, it costs roughly [IIII xxxxxxx] to build a calcium
hypochlorite facility, while a tableting press costs roughly [IIII,III]; therefore, Petitioner argues
that the investment in tableting equipment is small compared to the investment required to
produce calcium hypochlorite.31 In addition, Petitioner notes that the value-added from tableting
is only about [I xxxxxxx] of the finished value of the product.32 Additionally, Petitioner asserts
that “compared to the investment in the facilities to produce Calhypo in its basic forms (powder
or granular) the investment by repackers/private label marketers is not sufficient to classify them
as members of the domestic industry and a clear line can be drawn between the Calhypo
producers and the repackers/private label marketers.”33 Finally, Petitioner contends that
blending calcium hypochlorite with other ingredients (i.e., formulating) does not change the
molecular structure of the calcium hypochlorite.34 As a result, Petitioner argues that
repackers/private label marketers should not be considered part of the domestic industry and
Petitioner has not included their production in the industry support calculation.

Department’s Position:

We have analyzed the criteria presented by Petitioner and have found there is reason to conclude
that the domestic industry should not include repackers/private label marketers. Data provided
by Petitioner indicate that 1) calcium hypochlorite is mostly sold and used in granular form, 2)
most of the tableted calcium hypochlorite is produced by Arch Chemicals and Axiall, the two
U.S. producers of bulk calcium hypochlorite, 3) tableting does not require significant capital
investment when compared to the capital investment required to produce bulk calcium
hypochlorite, 4) the value-added from tableting is relatively minor when compared to the
finished value of the product, and 5) blending (or formulating) calcium hypochlorite with other
ingredients does not change the molecular structure of the calcium hypochlorite.35

Industry Support Calculation

In determining whether Petitioner has standing (i.e., those domestic workers and producers
supporting the Petitions account for (1) at least 25 percent of the total production of the domestic
like product and (2) more than 50 percent of the production of the domestic like product
produced by that portion of the industry expressing support for, or opposition to, the Petitions),
we conducted the following analysis.

We considered the industry support data contained in the Petitions with reference to the domestic
29
   Id., at 3 and Exhibit GEN-2.
30
   Id., at 3.
31
   Id., at 3 and Exhibit AD-18.
32
   Id., at 3.
33
   Id., at 17.
34
   Id., at 3.
35
   See Volume of the Petitions, at 3.


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                                                           Contains           -
                                                                     Business Proprietary   Information

like product as defined in Attachment I, “Scope of the Investigation,” to this Checklist and
discussed above. We also considered Petitioner’s arguments regarding the definition of the
domestic industry, also discussed above. Petitioner states that there are two producers of calcium
hypochlorite in the United States: Arch Chemicals and Axiall.36 To support this claim,
Petitioner provided an affidavit from [Ixxxxxx Ixxxx, xxx Ixxxxxxx Ixxxxxxx Ixx Ixxxxx
Ixxxxxx/Ixxxxx Ixxxxxx Ixxxx] for Arch Chemicals, who has worked for Arch Chemicals since
1990. [Ix. Ixxxx] states that, based on his knowledge of the market, Arch Chemicals and Axiall
were the “only two producers of calcium hypochlorite in the United States throughout the period
covered by this petition.”37

To establish industry support, Petitioner provided its own production of the domestic like
product for calendar year 2012.38 In addition, Petitioner estimated Axiall’s 2012 production of
the domestic like product.39

Petitioner provided an estimate of Axiall’s 2012 production of the domestic like product based
on [Ix. IxxxxIx] “extensive knowledge of the market for calcium hypochlorite and Axiall’s
(formerly PPG Industries’) role in the market.”40 In addition, [Ix. Ixxxx] states that [xx]
“obtained information regarding Axiall’s…sales to customers through conversations with
customers, participation in industry events and trade associations, general industry research, and
reading industry publications.”41 [Ix. Ixxxx] estimated Axiall’s 2012 production of calcium
hypochlorite by estimating Axiall’s 2012 sales of calcium hypochlorite in 2012 and adding an
estimate for Axiall’s inventory. [Ix. Ixxxx] estimated Axiall’s inventory levels, based on [Ixxx
IxxxxxxxxI xxxxxxxxx xxxxxx xxxxxxxx xxx xxxxxxxxxxx xx xxx xxxxxxxx xxxxxxxx xx xxx
xxx xxxxxxxxx].42

Petitioner compared its own 2012 production volume to the estimated 2012 production volume
of the entire domestic industry.43 Based on information provided in the Petitions, Petitioner
accounts for [II.II] percent of total production of the domestic like product.




36
   Id., at 2.
37
   Id., at Exhibit GEN-2.
38
   Id., at 4.
39
   Id., at 4 and Exhibit GEN-2.
40
   Id., at Exhibit GEN-2.
41
   Id.
42
   Id., at 4.
43
   Id.


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                                                                      Business Proprietary                  Information


                                                   Table 1
                                       Calculation of Industry Support

                                                                                     2012 Production of
                                     Petitioner                                     Calcium Hypochlorite
                                                                                          (1,000 lbs)

       Arch Chemicals, Inc.                                                                   [III,III]

       Other U.S. Producers

       Axiall Corporation                                                                      [II,III]

       Total 2012 U.S. Production of Calcium Hypochlorite                                     [III,III]

                          Total Industry Support44                                            [II.II]%


Challenge to Industry Support

None.

Findings

We relied on information provided by Petitioner, as described above, to establish total 2012
production of calcium hypochlorite. Using these data, as demonstrated above, we find that the
domestic producers who support the Petitions account for at least 25 percent of the total
production of the domestic like product. We further find that the domestic producers who
support the Petitions account for more than 50 percent of the production of the domestic like
product produced by that portion of the industry expressing support for, or opposition to, the
Petitions. Therefore, we find that there is adequate industry support within the meaning of
sections 702(c)(4)(A) and 732(c)(4)(A) of the Act.

We conducted a search of the internet and have been unable to locate information that
contradicts Petitioner’s assertions. We find that Petitioner has provided data that are reasonably
available. For these reasons, we determine that there is adequate industry support for initiating
these investigations. Accordingly, we find that the Petitions have met the requirements of
sections 702(c)(4)(A) and 732(c)(4)(A) of the Act.
44
  We note that, even if we conservatively assume that companies that tablet should be included in the industry
support calculation, Petitioner still has the requisite level of industry support for the Petitions. According to
Petitioner, approximately [xxx xxxxxxx] pounds of tableted product was produced in the United States in 2012 by
companies other than Arch Chemicals and Axiall. See Volume I of the Petitions, at 3 and Exhibit GEN-2; see also
General Issues Supplement, at 3. Since the 2012 production figures for Arch Chemicals and Axiall include
production of tableted calcium hypochlorite, if we add this [xxx xxxxxxx] pounds of production of tableted calcium
hypochlorite to the denominator of the industry support calculation, Petitioner accounts for [II.II] percent of total
production of the domestic like product in 2012 ([III,III,III]/[(III,III,III I I,III,III)] = [.IIII]). See id. and Table 1
below.


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                                          Attachment III

      Analysis of Allegations and Evidence of Material Injury and Causation for the
     Antidumping and Countervailing Duty Petitions Covering Calcium Hypochlorite
                           from the People’s Republic of China


I.        Introduction

When making a determination regarding the initiation of antidumping duty and countervailing
duty investigations, the Department of Commerce (“the Department”) examines, on the basis of
sources readily available to the Department, whether the petitions allege the elements necessary
for the imposition of antidumping and countervailing duties and contain information reasonably
available to the petitioner that supports the allegations. 1 This attachment analyzes the
sufficiency of the allegations and supporting evidence regarding material injury and causation.

II.       Definition of Domestic Industry

The domestic industry is described with reference to producers of the domestic like product, as
provided for in section 771(4)(A) of the Act. The Petitions 2 define the domestic industry as U.S.
producers of calcium hypochlorite. 3 Petitioner identifies itself, Arch Chemicals, Inc., as well as
one other producer of the domestic like product, as the two companies constituting the domestic
industry in the United States. 4 For a discussion of the domestic like product, see Attachment II,
“Analysis of Industry Support for the Antidumping and Countervailing Duty Petitions Covering
Calcium Hypochlorite from the People’s Republic of China,” to this Checklist.

III.      Evidence of Injury and Threat of Injury

To determine injury, the statute requires an evaluation of the volume, price effects, and impact of
imports on the domestic industry and permits consideration of other economic factors. 5
Specifically, in examining the impact of imports, section 771(7)(C)(iii) of the Act states that:

          In examining the impact {of imports on domestic producers} …, the
          {International Trade} Commission {“ITC”} shall evaluate all relevant economic
          factors which have a bearing on the state of the industry in the United States,
          including, but not limited to–
                  (I) actual and potential decline in output, sales, market share, profits,
                  productivity, return on investments, and utilization of capacity,
                  (II) factors affecting domestic prices,



1
  See sections 702(c)(1)(A)(i) and 732(c)(1)(A)(i) of the Tariff Act of 1930, as amended (“the Act”).
2
  See Petitions for the Imposition of Antidumping and Countervailing Duties on Imports of Calcium Hypochlorite
from the People’s Republic of China, dated December 18, 2013 (“Petitions”).
3
  See Volume I of the Petitions, at 17.
4
  See Volume I of the Petitions, at 2-3 and Exhibits GEN-1 and GEN-2.
5
  See section 771(7)(B)(i) of the Act.



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               (III) actual and potential negative effects on cash flow, inventories,
               employment, wages, growth, ability to raise capital, and investment,
               (IV) actual and potential negative effects on the existing development and
               production efforts of the domestic industry..., and
               (V) in {an antidumping proceeding}…, the magnitude of the margin of
               dumping.

The Petitions allege that the domestic industry has experienced the following types of injury by
reason of imports from the People’s Republic of China (“PRC”):

•      Reduced market share (Volume I of the Petitions, at 19, 22 and Exhibit INJ-3);
•      Underselling and price depression or suppression (Volume I of the Petitions, at
       19-20, 23-24 and Exhibits INJ-4 and INJ-6 through INJ-8);
•      Lost sales and revenues (Volume I of the Petitions, at 23 and Exhibit INJ-4);
•      Reduced production and capacity utilization (Volume I of the Petitions, at 24 and
       Exhibit INJ-7);
•      Decline in production-related workers and other employment variables (Volume I
       of the Petitions, at 24 and Exhibit INJ-7); and
•      Decline in financial performance (Volume I of the Petitions, at 19, 24-25 and
       Exhibit INJ-6).

The Petitions also allege that the domestic industry could be threatened with further injury by
reason of imports from the PRC:

•      Export-oriented production (Volume I of the Petitions, at 26 and Exhibit INJ-5);
•      Continued increase of subject imports and market penetration (Volume I of the
       Petitions, at 26-27 and Exhibits INJ-2 and INJ-5);
•      Planned capacity expansion to further increase production, despite existing
       unused capacity (Volume I of the Petitions, at 27-28 and Exhibit INJ-5);
•      Continued underselling and price depression or suppression (Volume I of the
       Petitions, at 28-29 and Exhibits INJ-2 and INJ-7);
•      Price sensitivity and seasonality of the calcium hypochlorite market makes the
       domestic industry particularly vulnerable to unfair imports during the peak
       demand season (Volume I of the Petitions, at 29); and
•      Countervailable subsidies from the Chinese Government (Volume I of the
       Petitions, at 29).

The information from the Petitions provides the Department with a sufficient basis to conclude
that the allegations of material injury and threat of material injury as a result of imports of
subject merchandise are adequately supported.

IV.    Negligibility

Section 771(24)(A)(i) of the Act states that “imports from a country of merchandise
corresponding to a domestic like product identified by the Commission are ‘negligible’ if such
imports account for less than 3 percent of the volume of all such merchandise imported into the

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United States in the most recent 12-month period for which the data are available . . .”
According to ITC Dataweb import data provided by Petitioner for the 12-month period of
October 2012 through September 2013, the volume of calcium hypochlorite imports from the
PRC accounted for 94 percent of total imports. 6 Since the volume of imports from the PRC
exceeds the negligibility threshold, Petitioner submits that subject imports are not negligible. 7

V.      Causation of Material Injury or Threat of Material Injury

Petitioner contends that the material injury and the threat of material injury to the domestic
industry were caused by the impact of the allegedly dumped and subsidized imports from the
PRC. In support of its argument, Petitioner provides information on the historical trend of the
volume of the allegedly dumped and subsidized imports, focusing on the period beginning with
2010 and ending with the year-to-date data for September 2013 (the most recently available
quarterly data). 8 In the Petitions, Petitioner describes the effect of these import volumes, and
their respective values, on market share and domestic prices, and the consequent impact on the
domestic industry, specifically on financial performance, sales and revenue. 9 Petitioner argues
that this evidence reflects the injurious effects on the U.S. industry’s financial performance and
market share caused by increasing imports of the subject calcium hypochlorite at prices
substantially lower than price offers from Petitioner, thereby resulting in significant incidents of
lost sales and revenues. 10

In making a determination regarding causation of material injury, the ITC is directed to evaluate
the volume of subject imports (section 771(7)(B)(i)(I) of the Act), the effect of those imports on
the prices of domestically-produced products (section 771(7)(B)(i)(II) of the Act) and their
impact on the domestic operations of U.S. producers (section 771(7)(B)(i)(III) of the Act).
Petitioner bases its allegations of causation of current injury upon reduced market share;
underselling and price depression or suppression; lost sales and revenues; reduced production
and capacity utilization; decline in production-related workers and other employment variables;
and decline in financial performance. 11

In regard to the threat of material injury, Petitioner bases its allegations on export-oriented
production and continued increase of exports; continued increase of subject imports and market
penetration; planned capacity expansion to increase production; continued underselling and price
depression or suppression; the price sensitivity and seasonality of the calcium hypochlorite
market; and countervailable subsidies from the Chinese Government. 12

The allegations of causation of material injury and the threat of material injury are based upon
the factors indicating current injury, as well as the factors indicating threat of material injury as
noted above. The factors related to causation presented in the injury section of the Petitions are


6
  See Volume I of the Petitions, at 18.
7
  Id.
8
  Id., at 17-19, 22, 26-27 and Exhibits INJ-1 and INJ-2.
9
  See Volume I of the Petitions, at 19-24 and Exhibits INJ-3, INJ-4 and INJ-6 through INJ-8.
10
   Id.
11
   See Section III above.
12
   See Volume I of the Petitions, at 24-29 and Exhibits INJ-2, INJ-5 and INJ-7.

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the types of factors that the ITC is directed to consider for the purpose of evaluating causation
under sections 771(7)(C) and 771(7)(F) of the Act.

VI.    Conclusion

In order to assess the accuracy and adequacy of the evidence relating to the allegations regarding
material injury and causation, we examined the information presented in the Petitions and
compared it with information that was reasonably available (e.g., import data on the ITC website
and additional industry reports available online). We have not located any information that
contradicts Petitioner’s assertions.

We have analyzed Petitioner’s evidence regarding material injury and causation and have found
that the information in the Petitions demonstrates a sufficient showing of injury or threat of
injury to the U.S. industry producing calcium hypochlorite. Therefore, we find the overall
evidence of injury included in the Petitions to be adequate to initiate the investigations of
calcium hypochlorite from the PRC. Ultimately, the ITC will make the final determination with
respect to material injury, or threat thereof, and causation.




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                                   UNITED  STATES INTERNATIONAL
                                    Barcode:3172929-01             TRADE
                                                       A-570-008 INV      COMMISSION-
                                                                     - Investigation


                                     DIRECTOR OF INVESTIGATIONS ACTION REQUEST

                                        Subject                                                        Reference Information
 Investigation No. 701-TA-510 and 731-TA-1245 (Preliminary): Calcium          hypochlorite    Control
                                                                                                             INV-13-126
from China-Notice of Institution and Proposed Work Schedule                                   No.


                                                                                              Office         Investigations
Signature of                                                                                  Date
                                                                                                             12-18-13
Initiator                            Director,! Office of Investigations                      Initiated
                                                                                              Date Out       Expedite


                                                   STAFF CONCURRENCES
Office                 Signature                      Date,     I Office                     Signature                        Date

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                                                    PURPOSE OF REQUEST
To obtain approval to issue the attached draft notice of institution and the proposed draft schedule.




                                                BACKGROUND INFORMATION
The attached draft notice of institution and scheduling and the proposed draft schedule are in response to a petition
filed on December 18, 2013, by Arch Chemicals, Inc., Atlanta, GA. The petition alleges that an industry in the United
States is materially injured or threatened with material injury by reason of less-than-fair-value imports of calcium
hypochlorite and subsidized imports from China.

Commission staff has not identified any significant defects in the petition with respect to injury allegations and related
information.



                                                     RECOMMENDATION
That the Director approve the attached draft notice of institution and scheduling and the proposed draft schedule.




                                              NATURE OJ= DIRECTOR'S ACTION
                                                                                                                          Date
^Approved                • Disapproved

                                                      (/                       Signature
•     Other
                                                           COMMENTS
Staff assigned to these investigations are Joanna Lo, investigator (205-1888); James Fetzer, economist (708-5403); David
Boyland, accountant (708-4725); Christopher Robinson, industry analyst (205-2602); John Stephens, statistician (205¬
3408); John Henderson, attorney-advisor (205-2130); and Elizabeth Haines, supervisory investigator (205-3200).




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                                UNITED STATES INTERNATIONAL TRADE C O M M I S S I O N


                           Investigation Nos. 701-TA-510 and 731-TA-1245 (Preliminary)


                                            CALCIUM HYPOCHLORITE FROM CHINA



I n s t i t u t i o n o f a n t i d u m p i n g and c o u n t e r v a i l i n g d u t y investigations and s c h e d u l i n g of p r e l i m i n a r y
phase investigations.


AGENCY:           U n i t e d States I n t e r n a t i o n a l Trade C o m m i s s i o n .


ACTION:          Notice.


SUMMARY:              The Commission h e r e b y gives notice o f t h e i n s t i t u t i o n of investigations and
c o m m e n c e m e n t o f p r e l i m i n a r y phase a n t i d u m p i n g and c o u n t e r v a i l i n g d u t y investigation
Nos. 701-TA-510 and 731-TA-1245 (Preliminary) u n d e r sections 703(a) a n d 733(a) o f t h e T a r i f f
Act o f 1930 (19 U.S.C. § § 1671b(a) and 1673b(a)) (the Act) t o d e t e r m i n e w h e t h e r t h e r e is a
reasonable i n d i c a t i o n t h a t an i n d u s t r y in t h e U n i t e d States is m a t e r i a l l y i n j u r e d or t h r e a t e n e d
w i t h m a t e r i a l injury, or t h e e s t a b l i s h m e n t o f an i n d u s t r y in t h e U n i t e d States is m a t e r i a l l y
r e t a r d e d , by reason o f i m p o r t s f r o m China o f calcium h y p o c h l o r i t e , p r o v i d e d f o r in s u b h e a d i n g
2828.10.00 o f t h e H a r m o n i z e d T a r i f f Schedule o f t h e U n i t e d States, t h a t are alleged t o be sold
in t h e U n i t e d States at less t h a n f a i r value and alleged t o be subsidized b y t h e G o v e r n m e n t o f
China.        Unless t h e D e p a r t m e n t o f C o m m e r c e e x t e n d s t h e t i m e f o r i n i t i a t i o n p u r s u a n t t o
sections 702(c)(1)(B) or 732(c)(1)(B) o f t h e Act (19 U.S.C. § § 1 6 7 1 a ( c ) ( l ) ( B ) or 1 6 7 3 a ( c ) ( l ) ( B ) ) ,
t h e C o m m i s s i o n must reach a p r e l i m i n a r y d e t e r m i n a t i o n in a n t i d u m p i n g and c o u n t e r v a i l i n g
d u t y investigations in 45 days, o r in this case by M o n d a y , February 03, 2 0 1 4 .                                  The
Commission's views m u s t be t r a n s m i t t e d t o C o m m e r c e w i t h i n five business days t h e r e a f t e r , or
by M o n d a y , February 10, 2 0 1 4 .


           For f u r t h e r i n f o r m a t i o n c o n c e r n i n g t h e c o n d u c t o f these investigations and rules o f
general a p p l i c a t i o n , consult t h e Commission's Rules o f Practice and P r o c e d u r e , part 2 0 1 ,
subparts A t h r o u g h E (19 CFR p a r t 201), and p a r t 2 0 7 , subparts A and B (19 CFR p a r t 207).


EFFECTIVE DATE:                W e d n e s d a y , D e c e m b e r 18, 2 0 1 3 .


FOR FURTHER INFORMATION CONTACT:                                    Joanna Lo (202-205-1888), Office o f Investigations,
U.S. I n t e r n a t i o n a l Trade C o m m i s s i o n , 500 E Street SW, W a s h i n g t o n , DC 2 0 4 3 6 .
H e a r i n g - i m p a i r e d persons can o b t a i n i n f o r m a t i o n o n t h i s m a t t e r by c o n t a c t i n g t h e
Commission's TDD t e r m i n a l o n 2 0 2 - 2 0 5 - 1 8 1 0 .               Persons w i t h m o b i l i t y i m p a i r m e n t s w h o w i l l
n e e d special assistance in gaining access t o t h e C o m m i s s i o n s h o u l d c o n t a c t t h e Office o f t h e
Secretary at 2 0 2 - 2 0 5 - 2 0 0 0 .         General i n f o r m a t i o n c o n c e r n i n g t h e C o m m i s s i o n m a y also be
o b t a i n e d by accessing its i n t e r n e t server (http://www.usitc.gov).                           The public record f o r this
i n v e s t i g a t i o n m a y be v i e w e d o n t h e Commission's electronic d o c k e t (EDIS) at




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h ttp://edis.      usitc. gov.


SUPPLEMENTARY INFORMATION:


            B a c k g r o u n d . - T h e s e investigations are being i n s t i t u t e d in response t o a p e t i t i o n filed o n
W e d n e s d a y , D e c e m b e r 18, 2 0 1 3 , by Arch Chemicals, Inc., A t l a n t a , GA.


            Participation in t h e investigation and public service l i s t - P e r s o n s ( o t h e r t h a n
p e t i t i o n e r s ) w i s h i n g t o p a r t i c i p a t e in t h e investigations as parties m u s t file an e n t r y o f
a p p e a r a n c e w i t h t h e Secretary t o t h e C o m m i s s i o n , as p r o v i d e d in sections 2 0 1 . 1 1 and 207.10 of
t h e Commission's rules, n o t later t h a n seven days a f t e r p u b l i c a t i o n o f t h i s notice in t h e                          Federal
Register.          Industrial users and (if t h e m e r c h a n d i s e u n d e r investigation is sold at t h e retail level)
r e p r e s e n t a t i v e c o n s u m e r organizations have t h e right t o appear as parties in Commission
c o u n t e r v a i l i n g d u t y investigations.         The Secretary w i l l p r e p a r e a public service list c o n t a i n i n g
t h e names a n d addresses o f all persons, o r t h e i r representatives, w h o are parties t o these
investigations u p o n t h e e x p i r a t i o n of t h e p e r i o d f o r filing entries o f a p p e a r a n c e .


            L i m i t e d disclosure o f business p r o p r i e t a r y i n f o r m a t i o n (BPI) u n d e r an a d m i n i s t r a t i v e
p r o t e c t i v e o r d e r (APO) and BPI service l i s t - P u r s u a n t t o section 207.7(a) o f t h e Commission's
rules, t h e Secretary w i l l make BPI g a t h e r e d in t h e s e investigations available t o a u t h o r i z e d
applicants r e p r e s e n t i n g i n t e r e s t e d parties (as d e f i n e d in 19 U.S.C. § 1677(9)) w h o are parties t o
t h e investigations u n d e r t h e APO issued in t h e investigations, p r o v i d e d t h a t t h e a p p l i c a t i o n is
m a d e n o t later t h a n seven days a f t e r t h e p u b l i c a t i o n o f t h i s notice in t h e Federal Register.                          A
s e p a r a t e service list w i l l be m a i n t a i n e d by t h e Secretary f o r t h o s e parties a u t h o r i z e d t o receive
BPI u n d e r t h e APO.


            Conference.—The Commission's D i r e c t o r o f Investigations has s c h e d u l e d a c o n f e r e n c e in
c o n n e c t i o n w i t h t h e s e investigations f o r 9:30 a.m. o n W e d n e s d a y , January 0 8 , 2 0 1 4 , at t h e U.S.
I n t e r n a t i o n a l Trade C o m m i s s i o n Building, 5 0 0 E Street SW, W a s h i n g t o n , DC.                      Requests t o
a p p e a r at t h e c o n f e r e n c e s h o u l d be e m a i l e d t o W i l l i a m . b i s h o p @ u s i t c . g o v and
Sharon.bellamy(5)usitc.gov (DO NOT FILE ON EDIS) o n or b e f o r e M o n d a y , January 0 6 , 2014.
Parties in s u p p o r t o f t h e i m p o s i t i o n o f c o u n t e r v a i l i n g and a n t i d u m p i n g duties in t h e s e
investigations and parties in o p p o s i t i o n t o t h e i m p o s i t i o n o f such duties w i l l each be collectively
a l l o c a t e d o n e h o u r w i t h i n w h i c h t o make an oral p r e s e n t a t i o n at t h e c o n f e r e n c e .         A nonparty
w h o has t e s t i m o n y t h a t m a y aid t h e Commission's d e l i b e r a t i o n s m a y r e q u e s t permission t o
p r e s e n t a s h o r t s t a t e m e n t at t h e c o n f e r e n c e .


            W r i t t e n submissions.—As p r o v i d e d in sections 201.8 and 207.15 o f t h e Commission's
rules, any p e r s o n m a y s u b m i t t o t h e Commission o n or b e f o r e M o n d a y , January 13, 2 0 1 4 , a
w r i t t e n b r i e f c o n t a i n i n g i n f o r m a t i o n and a r g u m e n t s p e r t i n e n t t o t h e subject m a t t e r o f t h e
investigations.             Parties m a y file w r i t t e n t e s t i m o n y in c o n n e c t i o n w i t h t h e i r p r e s e n t a t i o n at t h e
c o n f e r e n c e n o later t h a n t h r e e days b e f o r e t h e c o n f e r e n c e .        If briefs o r w r i t t e n t e s t i m o n y
c o n t a i n BPI, t h e y m u s t c o n f o r m w i t h t h e r e q u i r e m e n t s o f sections 201.6, 207.3, a n d 207.7 o f
t h e Commission's rules.                  Please consult t h e Commission's rules, as a m e n d e d , 76 Fed. Reg.




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6 1 9 3 7 (Oct. 6, 2011) a n d t h e Commission's H a n d b o o k o n Filing Procedures, 76 Fed. Reg. 62092
(Oct. 6, 2 0 1 1 ) , available o n t h e Commission's w e b s i t e at h t t p : / / e d i s . u s i t c . g o v .


           In a c c o r d a n c e w i t h sections 201.16(c) and 207.3 o f t h e rules, each d o c u m e n t filed by a
p a r t y t o t h e i n v e s t i g a t i o n s m u s t be served o n all o t h e r parties t o t h e investigations (as
i d e n t i f i e d by e i t h e r t h e public or BPI service list), and a c e r t i f i c a t e o f service m u s t be t i m e l y
filed.     The Secretary w i l l n o t accept a d o c u m e n t f o r f i l i n g w i t h o u t a c e r t i f i c a t e o f service.


AUTHORITY:            These investigations are being c o n d u c t e d u n d e r a u t h o r i t y o f t i t l e VII o f t h e Tariff
Act o f 1930; t h i s n o t i c e is published p u r s u a n t t o section 207.12 o f t h e Commission's rules.


           By o r d e r o f t h e C o m m i s s i o n .




                                                                       Lisa R. B a r t o n
                                                                      A c t i n g Secretary t o t h e C o m m i s s i o n


Issued:




                                                                      3




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                                                  WORK SCHEDULE

                              Investigation Nos. 701-TA-510 and 731-TA-1245 (Preliminary)

                                        CALCIUM HYPOCHLORITE FROM CHINA

                                                    Staff Assigned


          Investigator                                          Joanna Lo (205-1888)
          Commodity-Industry Analyst                            Christopher Robinson (205-2602)
          Economist                                             James Fetzer (708-5403)
          Accountant/Auditor                                    David Boyland (708-4725)
          Attorney                                              John Henderson (205-2130)
          Statistician                                          John Stephens (205-3408)
          Supervisory Investigator                              Elizabeth Haines (205-3200)

                                                                           DATE


Petition received                                                          Wednesday, December 18, 2013


Questionnaires:
       Drafts t o Supervisory Investigator                                 December 18
          To Director of Investigations and OMB                            December 19
          Mail                                                             December 20
          Return                                                           January 2


Fieldwork                                                                  As needed


Conference                                                                 January 8
                                                                              9:30 a.m.
Briefs of Parties d u e   1
                                                                           January 13


Report to the Commission:
        Draft to Supervisory Investigator                                  January 17
        Draft to Senior Review                                             January 22
                                                                           January 27


Legal issues memorandum to the Commission                                  January 28


Briefing and vote (suggested date)                                         January 3 1

                                                                           February 3

                                                                           Monday, February 10, 2014

    1
        If briefs contain business proprietary information, a nonbusiness proprietary version is due the
following business day.




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          Addendum B
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                                                                  C-570-991
                                                                  Investigation
                                                                  POI 1/1/12 – 12/31/12
                                                                  Public Version
                                                                  IA/NME/IX: PW
September 18, 2013


                     IMPORT ADMINISTRATION
                   OFFICE OF AD/CVD OPERATIONS
      COUNTERVAILING DUTY INVESTIGATION INITIATION CHECKLIST



SUBJECT:      Chlorinated Isocyanurates from the People’s Republic of China

CASE NUMBER:         C-570-991


PETITIONERS:

Clearon Corp.
95 MacCorkle Ave, SW
South Charleston, WV 25303
Tel: 304-746-3025

Occidental Chemical Corporation
Occidental Tower
5005 LBJ Freeway, Suite 2200
Dallas, TX 75244
Tel: 972-404-3840

COUNSEL TO PETITIONERS:

James R. Cannon, Jr.
Thomas M. Beline
Jonathan Zielinski
Ulrika Swanson
Cassidy Levy Kent (USA) LLP
2000 Pennsylvania Avenue, NW
Suite 3000
Washington, DC 20006
Tel: 202-567-2318




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POTENTIAL RESPONDENTS:

A list of the producers of chlorinated isocyuranates (“chlorinated isos”) in the People’s Republic
of China (“PRC”) identified by Clearon Corp. and Occidental Chemical Corporation
(“Petitioners”) can be found in the “Petition for the Imposition of Countervailing Duties on
Chlorinated Isocyanurates from the People’s Republic of China,” dated August 29, 2013
(“Petition”). 1



SCOPE: See Attachment I – Scope of the Investigation, to this checklist.


IMPORT STATISTICS:

                                                                                     YTD 2012         YTD 2013
        CHINA                  2010                2011               2012
                                                                                     (Jan-Jun)        (Jan-Jun)
       Quantity
                              34,573              33,393            63,120             38,131          25,862
      (1,000 lbs)

        Value
                              26,177              27,334            52,070             31,569          20,998
       ($1,000)

Source: United States International Trade Commission (“ITC”) Dataweb, available at
http://dataweb.usitc.gov/. Petitioners reported the volume (converted from kilograms to pounds)
and landed duty-paid value of imports of chlorinated isos using Harmonized Tariff Schedule of
the United States (“HTSUS”) subheading 2933.69.6015. 2 Chlorinated isos may also enter under
HTSUS subheadings 2933.69.6021, 2933.69.6050, 3808.50.4000, 3808.94.5000, and
3808.99.9500. 3 Petitioners contend that, for purposes of analyzing import data, HTSUS
2933.69.6015 “most accurately corresponds to the relevant imports in bulk form and includes
{chlorinated isos} not blended with other additives or tableted and packaged for retail sale.” 4
Petitioners further submit that the other HTSUS subheadings in the scope of the investigation are
basket categories and are not limited to chlorinated isos. 5 Therefore, Petitioners did not include
these other HTSUS subheadings in the above import statistics. 6




1
    See Volume IV of the Petition, at Exhibit CVD-1.
2
    See Volume I of the Petition, at 115 and 130, and Volume II of the Petition, at Exhibit GEN-14.
3
    See Supplement to the Petition, dated September 9, 2013 (“Supplement to the Petition”), at 4.
4
    See Volume I of the Petition, at 19.
5
    Id., at 130.
6
    Id., at 113.


                                                           2
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APPROXIMATE CASE CALENDAR:

                                             No. of
Event                                                        Date of Action             Day of Week
                                             Days
                                             Countervailing Duty Investigation

Petition Filed                               0               August 29, 2013            Thursday

Initiation Date                              20              September 18, 2013         Wednesday

ITC Preliminary Determination                45              October 15, 2013           Tuesday*

ITA Preliminary Determination†**             85              November 22, 2013          Friday

ITA Final Determination†                     160             February 5, 2014           Wednesday

ITC Final Determination***                   205             March 24, 2014             Monday*

Publication of Order****                     212             March 31, 2014             Monday*

* Where the deadline falls on a weekend/holiday, the appropriate date is the next business day.
† These deadlines may be extended under the governing statute.
** This will take place only in the event of a preliminary affirmative determination from the ITC.
*** This will take place only in the event of a final affirmative determination from the International Trade
Administration (“ITA”).
**** This will take place only in the event of a final affirmative determination from the ITA and the ITC.
Note: The ITC final determination will take place no later than 45 days after a final affirmative ITA determination.
Note: Publication of order will take place approximately 7 days after an affirmative ITC final determination.


INDUSTRY SUPPORT:

Do Petitioners and those expressing support for the Petition account for more than 50 percent of
production of the domestic like product?

                             Yes
                             No

If No, do those expressing support account for the majority of those expressing an opinion and at
least 25 percent of domestic production?

                             Yes
                             No
                             Not Applicable




                                                         3
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Describe how industry support was established - specifically, describe the nature of any polling
or other step undertaken to determine the level of domestic industry support.

See Attachment II, Analysis of Industry Support for the Petitions Covering Chlorinated
Isocyanurates from Japan and the People’s Republic of China, to this checklist.

Was there opposition to the Petition?

                             Yes
                             No

Are any of the parties who have expressed opposition to the Petition either importers or domestic
producers affiliated with foreign producers?

                             Yes
                             No
                             Not Applicable



INJURY TEST:

Because the PRC is a “Subsidies Agreement Country” within the meaning of section 701(b) of
the Tariff Act of 1930, as amended (the “Act”), section 701(a)(2) of the Act applies to this
investigation. Accordingly, the ITC must determine whether imports of the subject merchandise
from the PRC materially injure, or threaten material injury to, a U.S. industry.


INJURY ALLEGATION:

We received a copy of the action notice from the Director of the Office of Investigations at the
ITC which was signed on September 4, 2013. It indicates that the ITC has instituted an
investigation to determine whether there is a reasonable indication that the domestic industry
producing chlorinated isos is materially injured or threatened with material injury. 7

The relevant injury data can be found in Volume I of the Petition, at 96-132; Volume II of the
Petition, at Exhibits GEN-2 and GEN-9 through GEN-17; and Volume IV of the Petition, at
Exhibit CVD-86. 8

Does the Petition contain evidence of causation? Specifically, does the Petition contain
information relative to:


7
 See Attachment IV to this checklist.
8
 See Attachment III, Analysis of Allegations and Evidence of Material Injury and Causation for the Petitions
Covering Chlorinated Isocyanurates from Japan and the People’s Republic of China.


                                                        4
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           volume and value of imports (See Volume I of the Petition, at 109-115 and 129-130;
           Volume II of the Petition, at Exhibits GEN-13 and GEN-14; and Volume IV of the
           Petition, at Exhibit CVD-86).

           U.S. market share (i.e., the ratio of imports to consumption) (See Volume I of the
           Petition, at 115-116 and 127, and Volume II of the Petition, at Exhibit GEN-14).

           actual pricing (i.e., evidence of decreased pricing) (See Volume I of the Petition, at
           119-121 and 127-128, and Volume II of the Petition, at Exhibits GEN-12, GEN-15
           and GEN-16).

           relative pricing (i.e., evidence of imports underselling U.S. products) (See Volume I
           of the Petition, at 119-120 and 127, and Volume II of the Petition, at Exhibits GEN-
           12, GEN-15 and GEN-16).


PETITION REQUIREMENTS:
Does the Petition contain the following?

               the name, address, and telephone number of Petitioners (See Volume I of the
               Petition, at 2.)

               the names, addresses, and telephone numbers of all domestic producers of the
               domestic like product known to the petitioning companies (See Volume I of the
               Petition, at 2-3.)

               the volume or value of the domestic like product produced by Petitioners and each
               domestic producer identified for the most recently completed 12-month period for
               which data is available (See Volume I of the Petition, at 3-4, and Volume II of the
               Petition, at Exhibit GEN-12.)

               Was the entire domestic industry identified in the Petition?

                      Yes (See Volume I of the Petition, at 2-3, and Volume II of the Petition, at
                      Exhibits GEN-9 and GEN-12.)

                      No

               a clear and detailed description of the merchandise to be investigated, including
               the appropriate Harmonized Tariff Schedule numbers (See Volume I of the
               Petition, at 7-16; Volume II of the Petition, at Exhibits GEN-6 through GEN-8;
               and Supplement to the Petition, at 2-4.)

               the name of each country in which the merchandise originates or from which the
               merchandise is exported (See Volume I of the Petition, at 31.)




                                                 5
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              the identity of each known exporter, foreign producer, and importer of the
              merchandise (See Volume I of the Petition, at 31-34 and 95; Volume II of the
              Petition, at Exhibits GEN-5, GEN-9, GEN-11 and GEN-13; and Volume IV of the
              Petition, at Exhibits CVD-1 and CVD-87.)

              a statement indicating that Petition was filed simultaneously with the Department
              of Commerce and the ITC (See cover letter to the Petition, at 2.)

              an adequate summary of the proprietary data (See public version of the Petition
              and public version of the Supplement to the Petition.)

              a statement regarding release under administrative protective order (See cover
              letter to the Petition, at 1-3 and Supplement to the Petition, at 1, 22 and 23.)

              a certification of the facts contained in Petition by an official of the petitioning
              firm(s) and its legal representative (if applicable) (See Petition cover letter and
              Supplement to the Petition attachment.)

              import volume and value information for the most recent two-year period (See
              Volume I of the Petition, at 95, 111-115, and 129-130; Volume II of the Petition,
              at Exhibit GEN-14; and Volume IV of the Petition, at Exhibit CVD-86.)



COUNTERVAILING DUTY ALLEGATIONS:

The proposed period of investigation (“POI”) is January 1, 2012, through December 31, 2012.

The Petition was filed on August 29, 2013. On September 4 & 5, 2013, the Department of
Commerce (the “Department”) sought clarification on certain issues in the Petition. Petitioners
filed their responses to the Department’s request on September 9, 2013, in the Supplement to the
Petition.



CONSULTATIONS:

In accordance with Article 13.1 of the Agreement on Subsidies and Countervailing Measures,
and section 702(b)(4)(a)(ii) of the Act, on August 30, 2013, we invited the Government of the
PRC (“GOC”) for consultations regarding the countervailing duty (“CVD”) petition.
Consultations were held with the GOC’s Ministry of Commerce by conference call on
September 12, 2013. The points raised in the consultations are described in the September 12,
2013, memorandum entitled, “Countervailing Duty Petition on Chlorinated Isocyanurates from
the People’s Republic of China: Consultations with the Government of the People’s Republic of
China,” which is available through Import Administration’s Antidumping and Countervailing
Duty Centralized Electronic Service System (“IA ACCESS”).



                                                 6
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COUNTERVAILING DUTY INVESTIGATION INITIATION STANDARD:

Section 702(b) of the Act states that Petitioners must allege the elements necessary for the
imposition of a CVD proceeding under section 701(a) of the Act, i.e., they must show the
existence of countervailable subsidies and material injury, or threat of material injury, by reason
of the subsidized imports. Section 702(b)(1) of the Act requires that these allegations be
supported by information reasonably available to Petitioners.

Petitioners contend that producers of certain chlorinated isos in the PRC have benefited from
countervailable subsidies bestowed by the GOC and by various provincial and municipal
governments within the PRC.

The Department recommends initiating an investigation of the alleged programs listed in Section
I below, “Programs on which the Department is Initiating an Investigation.” For each program,
Petitioners have properly alleged the elements of a subsidy as identified by sections 771(5) and
(5A) of the Act, i.e., financial contribution, benefit, and specificity. The Department finds that
Petitioners’ allegations are supported by adequate and accurate information that was reasonably
available to them. In Section II, “Alleged Programs on which the Department is Not Initiating an
Investigation,” the Department lists those programs that it does not recommend for initiation,
describing the Department’s decision under “Recommendation.”

ALLEGED SUBSIDY PROGRAMS

Note: A number of the allegations presented by Petitioners involve particular provinces,
localities, or special economic development zones. Petitioners have provided information
demonstrating that potential respondents are located within these provinces or localities.
Petitioners provided a list of PRC producers of chlorinated isos and the provinces in which they
are located. 9 Some of the allegations below, as noted, indicate that a particular corporate status
is required to be eligible for benefits. Petitioners have provided information indicating that
several potential respondents hold such status, such as foreign invested enterprises or state-
owned enterprises.”


I.          PROGRAMS ON WHICH THE DEPARTMENT IS INITIATING AN
            INVESTIGATION

A.          Government Provision of Goods and Services for Less Than Adequate
            Remuneration

            1.       Provision of Electricity for Less Than Adequate Remuneration

Description: Petitioners allege that the GOC, through the National Development and Reform
Commission (“NDRC”), regulates the power rates for certain industries, including the chemical
9
     See Volume I of the Petition at 32, Table 8.


                                                       7
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industry. Petitioners note that a report by the U.S. Energy Information Administration
(“USEIA”) indicates that the NDRC is the primary policymaking and regulatory authority in the
PRC’s energy sector, and is charged with approving new energy projects, setting domestic
wholesale energy prices, and implementing the GOC’s energy policies. Petitioners argue that
electricity prices are determined and capped by the NDRC. Petitioners also note that the USEIA
Report indicates that the NRDC is a department of China’s State Council, the highest organ of
executive power in the country.

Financial Contribution: The provision of electricity is a government financial contribution in
the form of a provision of a good or service.

Specificity: The GOC has provided preferential electricity pricing for companies located within
a defined geographic area. Subsidy programs limited to certain geographic areas within a
government’s jurisdiction are specific under section 771(5A)(D)(iv) of the Act.

Benefit: This program confers a benefit to recipients because electricity is being sold for less
than adequate remuneration (“LTAR”), pursuant to section 771(5)(E)(iv) the Act.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law 10, and that the Department would continue to investigate the provision of
electricity in future investigations. 11 In addition, Petitioners provided the following: “China to
Introduce Power Rates for High Energy Consuming Sectors,” AsianPulse News

(September 25, 2006); China Country Report, U.S. Energy Information Administration (revised
April 22, 2013). 12

        2.       Provision of Urea for Less Than Adequate Remuneration

Description: Petitioners argue that the GOC provides urea to domestic producers of chlorinated
isos at LTAR. Petitioners note that in 2012, the world price for urea grew to $527 per ton, and
reached nearly $800 per ton in the United States. Petitioners state that the domestic price of urea
in the PRC was considerably lower, reaching only $379 per ton in 2012. According to
Petitioners, given that urea is a major raw material for the production of chlorinated isos,
accounting for approximately one-third of total raw material costs, the government provision of
urea at LTAR confers a substantial net benefit on producers of chlorinated isos in the PRC.
Petitioners note that there are several state owned enterprises (“SOEs”) in the PRC that produce
urea, including the China National Petroleum Corp, China Blue Chemical Ltd. and the China

10
   See, e.g., Drawn Stainless Steel Sinks from the People’s Republic of China: Final Affirmative Countervailing
Duty Determination, 78 FR 13017 (February 26, 2013), and accompanying Issues and Decision Memorandum at
Section I.B; Multilayered Wood Flooring from the People’s Republic of China: Final Affirmative Countervailing
Duty Determination, 76 FR 64313 (October 18, 2011), and accompanying Issues and Decision Memorandum at
Section I.4; Utility Scale Wind Towers from the People's Republic of China: Final Affirmative Countervailing Duty
Determination, 77 FR 75978 (December 26, 2012) (“Wind Towers”), and accompanying Issues and Decision
Memorandum at Section V.A.7.
11
   See Circular Welded Carbon Quality Steel Line Pipe: Final Affirmative Countervailing Duty Determination, 73
FR 70961 (November 24, 2008) (“Line Pipe”) ,and accompanying Issues and Decision Memorandum at 29.
12
   See Volume IV of the Petition at Exhibits CVD-3 & 5, respectively.


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Petroleum and Chemical Corporation. Petitioners also provide evidence that agricultural
fertilizer users, as well as artificial boards, melamine, cyanuric acid and SCD vesicant producers
represent the majority of urea consumers.

Financial Contribution: The sale of urea at LTAR constitutes a financial contribution from a
government authority in the form of providing goods and services pursuant to section
771(5)(D)(iii) of the Act.

Specificity: The program is specific because it is provided to a limited number of industries,
pursuant to section 771(5A)(D)(iii)(I) of the Act.

Benefit: Under section 771(5)(E)(iv) of the Act, the government provision of a good provides a
benefit equal to the difference between the amount paid for the goods (if any) and a market price
determined.

Support: Petitioners provided the following: “China’s Urea Prices Rose in H1—Expected to Dip
in H2,” China Chemical Reporter (October 6, 2012); “Overgrown,” China Economic Review
(September 1, 2010). 13

        3.       Land and Land Usage for Foreign Invested Enterprises (“FIEs”) in National
                 Economic and Technological Zones at Preferential Rates

Description: Petitioners claim that Article 8 of the National Economic and Technological Zone
Incentives provides that FIEs within these zones may be provided with land use rights at
discounted prices of up to 6 million RMB.

Financial Contribution: The sale of land or land-use rights at LTAR constitutes a financial
contribution in the form of providing goods and services pursuant to section 771(5)(D)(iii) of the
Act.

Specificity: Sales of land-use rights by the national GOC are specific because the program is
limited to FIEs located within a designated geographical region pursuant to section
771(5A)(D)(iv) of the Act.

Benefit: The sale of land or land-use rights at below-market prices (i.e., for LTAR) constitutes a
benefit pursuant to 19 CFR 351.511(a).

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 14 Moreover, Petitioners provided the following: “State-owned
Construction Land Use Right Transfer Price Evaluation Technical Specification,” State


13
   See Volume IV of the Petition at Exhibits CVD-7 & 8, respectively; see also Supplement to the Petition at 14-16.
14
   See Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into Modules, From the People's Republic
of China: Final Determination of Sales at Less Than Fair Value, and Affirmative Final Determination of Critical
Circumstances, 77 FR 63788 (October 17, 2012) (“Solar Cells”), and accompanying Issues and Decision
Memorandum at Section VI. A.4. (for land located in the province of Jiangsu).


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Preferential Policies for Supporting State-Level Economic and Technology Development Zones,
Ministry of Land and Resources Notice, Guo Tu Zi Fa (April 8, 2013). 15

Recommendation: We recommend initiating an investigation with regards to the provision of
land in Economic and Technological Zones by the national government. We note that the
Department is not initiating the provincial components of this program. See Section II, below.
Furthermore, based on the information developed over the course of this investigation, the
Department may analyze the provision of the financial contribution as revenue forgone under
section 771(5)(D)(ii) of the Act.

B.      Programs Available to Foreign Invested Enterprises

        1.        “Two Free/Three Half” Program for FIEs

Description: Petitioners assert that under the Foreign Invested Enterprises Tax Law, an FIE that
is productive and is scheduled to operate for not less than ten years may be exempted from
income tax in the first two years of profitability, and pay income taxes at half the standard rate
for the next three years. According to Petitioners, this tax measure is reported to have been
terminated at the end of 2007; however, according to the transitional rules, unutilized tax
holidays may continue until expiry. Petitioners maintain that five years of preferential tax
treatment begins with the year in which the company records a profit, or in 2008, whichever is
earlier, and as a result, companies may be exempt from enterprise income taxes for the years
2008 and 2009, and may benefit from a 50 percent reduction in 2010, 2011 and 2012.

Financial Contribution: This exemption/reduction in the income tax paid by productive FIEs is
considered a financial contribution in the form of revenue forgone by the GOC within the
meaning of section 771(5)(D)(ii) of the Act.

Specificity: This tax incentive is specific because it is limited to a group of enterprises, i.e.,
productive FIEs, pursuant to section 771(5A)(D)(i) of the Act.

Benefit: This tax incentive confers a benefit equal to the amount of revenue foregone by the
government under 19 CFR 351.509. Petitioners note that the statutory income tax rate in the
PRC is 25 percent, and the benefit conferred by this program on an FIE that produces goods in
the PRC will be equal to 25 percent of the company’s taxable income during the first two years
after the FIE begins to make a profit, and 12.5 percent during the next three years.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 16 Additionally, Petitioners provided the following: Income Tax Law of
the People’s Republic of China for Enterprises with Foreign Investment and Foreign

15
   See Volume IV of the Petition at Exhibits CVD-9, 10 & 11, respectively; see also Supplement to the Petition at
16 - 17.
16
   See, e.g., Wind Towers, and accompanying Issues and Decision Memorandum at Section V.A.2; see also
Aluminum Extrusions from the People's Republic of China: Final Affirmative Countervailing Duty Determination,
76 FR 18521 (April 4, 2011) (“Aluminum Extrusions”), and accompanying Issues and Decision Memorandum at
Section VII.C.


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Enterprises, Article 8, Lehman, Lee & Xu (1991); Rules for the Implementation of the Income
Tax Law of the People’s Republic of China for Enterprises with Foreign Investment and Foreign
Enterprises, Chapter 6 (“Tax Preference”), Lehman, Lee & Xu (1991); Notice of the State
Council on the Implementation of the Transitional Preferential Policies in respect of Enterprise
Income Tax, No. 39 of the State Council (2007); China Alert 2008, Issue No. 1, KPMG; China
Alert 2008, Issue No. 11, KPMG. 17

        2.      Income Tax Benefits for FIEs Based on Geographic Location

Description: Petitioners state there are three location based preferential income tax rates for
FIEs: (1) 15 percent for FIEs in special economic zones; (2) 24 percent for productive FIEs in
coastal economic open areas, and in the old districts of the cities where the special economic
zones or economic and technological development zones are located; and, (3) 15 percent for
FIEs in encouraged industries located in designated areas. Petitioners note that although this
program was terminated at the end of 2007, according to the Transitional Preferential Enterprise
Tax Law Policies, all three provisions are subject to a transitional application. As such,
companies enjoying a 15 percent tax rate in 2007 are subject to 18, 20, 22, 24 and 25 percent tax
rates in 2008, 2009, 2010, 2011, and 2012, respectively. Petitioners also note that the 24 percent
benefit was normalized to 25 percent in 2008 under the transitional policies.

Financial Contribution: The reduced income tax rate is a financial contribution in the form of
revenue forgone by the GOC, pursuant to section 771(5)(D)(ii) of the Act.

Specificity: This subsidy is limited to enterprises located in designated geographic regions and is
specific under section 771(5A)(D)(iv) of the Act.

Benefit: Enterprises located in designated geographic regions receive a benefit in the amount of
the tax savings, pursuant to 19 CFR 351.509(a)(1).

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 18 Furthermore, Petitioners provided the following: Foreign Invested
Enterprise and Foreign Enterprise Income Tax Law (April 9, 2011); Income Tax Law of the
People’s Republic of China on Enterprises with Foreign Investment and Foreign Enterprises,
Order No. 45 (April 9, 2011). 19

        3.      Value Added Tax and Tariff Exemptions for FIEs and Certain Domestic
                Enterprises using Imported Equipment in Encouraged Industries

Description: Petitioners claim that FIEs and certain domestic enterprises need not pay import
tariffs and value added taxes (“VAT”) on imported equipment provided that these goods are not
for resale. Petitioners assert that the objective of the program is to encourage foreign investment

17
   See Volume IV of the Petition at Exhibits CVD-12 – 16, respectively.
18
   See, e.g., Certain Tow-Behind Lawn Groomers from the People’s Republic of China: Final Affirmative
Countervailing Duty Determination, 74 FR 29180, 29183 (June 19, 2009) and accompanying Issues and Decision
Memorandum at Section V.A.5.
19
   See Volume IV of the Petition at Exhibits CVD-14 & 17, respectively.


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and to introduce foreign, advanced technology equipment, and industry technology upgrades.
Petitioners argue that FIEs, and certain domestic enterprises, are exempted from the VAT and
tariffs on imported equipment used for development projects, which are encouraged by the GOC
in their production as long as the equipment does not fall into prescribed lists of non-eligible
items.

Financial Contribution: This VAT and tariff exemption provides a financial contribution in the
form of government revenue foregone under section 771(5)(D)(ii) of the Act.

Specificity: This VAT and tariff exemption has been found to be specific because it is limited to
a group of enterprises, i.e., FIEs and certain domestic enterprises, under section 771(5A)(D)(i) of
the Act.

Benefit: This VAT and tariff exemption confers a benefit equal to the amount of revenue
foregone by the government under 19 CFR 351.510. The standard VAT rate in the PRC is 17
percent, and the import tariff will depend on the specific equipment imported. The benefit
conferred by this program on an FIE that produces goods in the PRC, and uses imported
equipment, will be equal to 17 percent of the value of the imported equipment plus the tariff on
the imported equipment.

Support: The Department has previously determined that this VAT and tariff exemption confers
a countervailable subsidy under U.S. law. 20 Also, Petitioners provided the following: Circular of
the State Council on Adjusting Tax Policies on Imported Equipment, Guo Fa No. 37 (1997);
Taxation FAQs, Lehman Brown. 21

          4.       VAT refunds for FIEs on purchases of Chinese-made equipment

Description: FIEs enjoy refunds of the VAT on their purchases of Chinese-made equipment.

Financial Contribution: The VAT refund provides a financial contribution in the form of
government revenue forgone under section 771(5)(D)(ii) of the Act.

Specificity: The VAT refund is specific because it is contingent upon the use of domestic goods
over imported goods under section 771(5A)(C) of the Act.

Benefit: The benefit is an amount equal to the amount of revenue forgone by the government
under 19 CFR 351.510. The standard VAT rate in the PRC is 17 percent. The benefit conferred
by this program on an FIE that produces goods in the PRC will be equal to 17 percent of the
value of the PRC-made equipment it purchases.




20
     See Aluminum Extrusions IDM at Section VII.D.
21
     See Volume IV of the Petition at Exhibits CVD-18 & 19, respectively.


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Support: The Department has previously determined that this program constitutes a
countervailable subsidy under U.S. law. 22 Additionally, Petitioners provided the following:
Interim Administrative Measures on Purchase of Domestic Equipment Projects with Foreign
Investment, Guo Shui Fa, No. 171, Articles 3 & 4 (December 29, 1999). 23

        5.       Preferential direct tax treatment on purchases of domestically produced
                 equipment for FIEs

Description: Petitioners allege that preferential tax treatment under this program applies to FIEs
with investment projects listed in the encouraged category. Petitioners assert that FIEs may
deduct 40 percent of their expenses on purchases of domestically produced equipment; however,
the deduction shall not exceed the increase in income tax liability from the year before.
Petitioners claim that excess deductible may be carried forward for five years. Petitioners note
that the GOC’s public notice confirms that this program came to an end at the end of 2007;
however, this program appears to have been given a transitional application. According to
Petitioners, this transitional application allows companies to claim the deductibility for purchases
made before January 1, 2008, and any remaining carry-forward amount could have been used in
2012 (5 years from and including 2008). Additionally, equipment that was purchased at
preferential tax rates, and is still in use, continues to provide a benefit to companies that utilized
this program.

Financial Contribution: This program provides a financial contribution in the form of
government revenue foregone under section 771(5)(D)(ii) of the Act.

Specificity: This program is specific because it is limited to FIEs with investment projects in
encouraged categories.

Benefit: The tax reduction confers a benefit equal to the amount of revenue foregone by the
government under 19 CFR 351.510.

Support: Petitioners provided the following: Ministry of Finance (MOF) Circular Cai Shui,
No.49 ( 2000 expired); State Administration of Taxation (SAT) Circular Guo Shui Fa, No.90
(2000 expired); MOF Circular Cai Shui, No.1 (2008, articles 1 and 9 expired); Circular Guo Shui
Fa, No.52 (2008); SAT Guo Shui Han, No. 69 (February 12, 2010); Guo Shui Fa, No. 52 (May
16, 2008); “Enterprises to Purchase Domestic Equipment Investment no Longer Enjoy the
Enterprise Income Tax Policies,” Xinhua News (February 18, 2009). 24




22
   See Coated Free Sheet Paper from the People’s Republic of China: Final Affirmative Countervailing Duty
Determination, 72 FR 60645 (October 25, 2007) (“CFS Paper”), and accompanying Issues and Decision
Memorandum at Section I.E.
23
   See Volume IV of the Petition at Exhibit CVD-20.
24
   See Volume IV of the Petition at Exhibits CVD-22 - 26, respectively.


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C.      Other National Programs

        1.      Policy Loans under the Chlor-alkali Industry Second Five Year Plan

Description: Petitioners maintain that the GOC provides policy loans through its policy banks
and state-owned banks. Petitioners argue that these loans were found to have been made
pursuant to the GOC directives found in national and provincial five-year plans, industrial plans,
catalogues of encouraged industries, and other laws and regulations. Petitioners contend that
commercial banks in the PRC are government entities, and all senior bank officers for PRC
banks are members of the Chinese Communist Party and are appointed by the Party. These
officers are also assigned ranks in the PRC government’s hierarchy. According to Petitioners,
the GOC, at times, will pressure the banks to align their credit allocation along with national
economic policy. Moreover, Petitioners assert that the PRC’s banking regulation authority, the
CBRC, issued a guideline that governs, among other things, banks’ board membership and
mandates that banks support national policies on industrial transformation and environmental
protection, protect and save resources, and promote sustainable development of the society.
Petitioners assert that in the Chlor-alkali Industry “Second Five Year Plan,” the government is
encouraged to finance measures to vigorously promote the chlor-alkali industry and that the
GOC should provide “financial, tax and other aspects of subsidies and incentives.” Petitioners
note that the 2011 catalogue lists “chemical products” under encouraged projects.

Financial contribution: The Department has determined that government loans provide a direct
financial contribution by the GOC, pursuant to sections 771(5)(B)(i) and (D)(i) of the Act, and
that state-owned commercial banks are considered government authorities.

Specificity: The PRC’s state-owned banks have generally directed policy loans to industries
favored by the government, such as the chlor-alkali industry. As such, Petitioner claims that the
GOC’s preferential loans and directed credit are granted on a specific basis, pursuant to section
771(5A)(D) of the Act.

Benefit: Government policy lending provides benefits to recipients equal to the difference
between what the recipients paid on loans from government-owned banks, and the amount they
would have paid on comparable commercial loans, pursuant to section 771(5)(E)(ii) of the Act.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 25 In addition, Petitioners provided the following: China’s Banking
System: Issues for Congress, Michael F. Martin, Congressional Research Service (February 20,
2012) at 28-36; Chlor-Alkali Industry, “Second Five Year Plan” (July 26, 2011); China’s




25
   See, e.g., Certain New Pneumatic Off-the-Road Tires from the People's Republic of China: Final Affirmative
Countervailing Duty Determination and Final Negative Determination of Critical Circumstances, 73 FR 40480
(July 15, 2008) (“Tires”), and accompanying Issues and Decision Memorandum at Section IV.A.2; Citric Acid and
Certain Citrate Salts from the People's Republic of China: Final Results of Countervailing Duty Administrative
Review, 76 FR 77206 (December 12, 2011) (“Citric Acid”) and accompanying Issues and Decision Memorandum at
Section I.A (including policy loan in the Shandong province for promotion of key industries).


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Chemical Industry: Flying Blind; “China to Encourage Increased Private Investment in Banking
Sector,” Song Shengxia, Global Times (June 28, 2012). 26

        2.       Stamp Tax exemption on share transfers under Non-Tradable Share Reform

Description: Petitioners assert that the GOC waives stamp taxes otherwise due upon the transfer
of bonus shares. Petitioners argue that the underlying criterion for participation in non-tradable
share reform (“NTSR”) is that listed companies must have non-tradable shares, regardless of
what entity issued the non-tradable shares.

Financial contribution: The waiver of stamp taxes constitutes a financial contribution within the
meaning of section 771(5)(D)(ii) of the Act in the form of revenue foregone.

Specificity: In Tires, the Department found that the NTSR, including the stamp tax exemption, is
specific within the meaning of section 771(5A)(D)(i) of the Act, in that it is limited to only those
that participated in the NTSR. 27

Benefit: The GOC confers a benefit in the form of tax savings to the extent that the stamp tax
was not paid, pursuant to section 771(5)(E) of the Act.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 28

        3.       State Key Technology Renovation Project Fund

Description: Petitioners speculate that the State Key Technology Renovation Project Fund
(“Key Technology Program”) was created to promote technologies in targeted sectors, and
operates under the regulatory guidelines provided in the circular. Petitioners assert that the
purpose of this program is to promote: (1) technological renovation in key industries, key
enterprises, and key products; (2) facilitation of technology upgrades; (3) improvement of
product structure; (4) improvement of quality; (5) promotion of domestic production; (6)
increase of supply; (7) expansion of domestic demand; and, (8) promotion of continuous and
healthy development of the state economy. Petitioners maintain that under the Key Technology
Program, companies can apply for funds to cover the cost of financing specific technological
renovation projects. Petitioners state that the funds cover two years of interest payments on
loans to fund the project, or up to three years for enterprises located in the northeast, central, or
western areas of the PRC.

Petitioners note that chlorinated isos producers are located in the northeast of the PRC. 29
Petitioners also note that the chlor-alkali industry has its own five-year plan.


26
   See Volume V of the Petition at Exhibits CVD-28, 29, 50 & 31, respectively; see also Supplement to the Petition
at 18.
27
   See Tires, and accompanying Issues and Decision Memorandum at Section IV.A.5.
28
   Id. at Section IV.A.5 and Comment G.1.
29
   See Volume I of the Petition at 32, Table 8.


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Financial contribution: In Tires the Department determined that this program provided
countervailable subsidies within the meaning of section 771(5)(D)(i) of the Act.

Specificity: This program has been found to be specific because it is limited to a group of
enterprises under section 771(5A)(D)(i) of the Act, specifically, the group of enterprises that are
financing specific renovation projects under this program.

Benefit: Key Technology Program grants are a direct transfer of funds, within the meaning of
section 771(5)(D)(i) of the Act, and therefore, provide a benefit equal to the amount of the funds
provided under 19 CFR 351.504.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 30 Moreover, Petitioners provided the following: Chlor-Alkali Industry
“Second Five Year Plan” (July 26, 2011); Notice Concerning the Promulgation and Circulation
of “Measures for the Administration of National Key Technological Renovation Projects” at
paragraphs 4 and 7, and “Measures for the Administration of Treasury Bond Special Fund for
National Key Technological Renovation Projects,” Guo Jing Mao Touzi, No. 886 (September 10,
1999). 31

          4.       Shareholder loans (debt forgiveness)

Description: Petitioners argue that certain wholly state-owned non-bank financial institutions
have provided loans to companies. Petitioners attempted to obtain names of shareholders for
chlorinated isos producers, and found results for three companies. Petitioners also consulted
annual reports and general research into the three companies; however, they were unable to
determine who the shareholders are and whether they are state owned. Petitioners note that the
second-largest shareholder of Jiheng, a producer of chlorinated isos, is Shenzhen Ping An
Innovation Capital Investment Co., the private equity arm of the Ping An Insurance Group,
which, though classified as private, it is believed that there is state involvement. Petitioners
assert that other producers may have state-owned non-bank financial institutions as shareholders,
but extensive research into the producers was not conclusive.

Financial contribution: The forgiven portion of the loan is treated as a grant bestowed at the
point of the loan forgiveness, providing a financial contributions in the form of direct transfers of
funds under section 771(5)(D)(i) of the Act.

Specificity: The program is specific under section 771(5A)(D)(iii)(l) because it is limited to
companies which have state-owned non-bank financial institutions as shareholders .

Benefit: The benefit is equal to the amount the government has assumed or forgiven under 19
CFR 351.508(a).




30
     See, e.g., Tires, and accompanying Issues and Decision Memorandum at Section IV.A.7.
31
     See Volume V of the Petition at Exhibits CVD-29, 30, respectively.


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Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 32

        5.       Discounted Loans for Export-Oriented Enterprises

Description: Petitioners suggest that the PRC designates certain “honorable enterprises for
collection of export receipts of foreign exchange” to encourage large-scale enterprises to export,
if their annual export value reached $200 million, their ratio of exports to foreign exchange is
above 85 percent, and their ratio of surrendered verification forms of export receipts are above
80 percent. In addition, Petitioners maintain that the lending rates of RMB loans extended by
commercial banks to “honorable” companies can be lowered up to 10 percent on the basis of the
lending rates fixed by the People’s Bank of China but can be raised up to 30 percent for high-risk
enterprises. Petitioners argue that although the PRC repealed this practice in 2007, preferential
loans received in earlier years would be countervailable based on their repayment schedule.

Financial contribution: The Department has determined that these loans constitute a direct
financial contribution from the government in the form of a direct transfer of funds, pursuant to
section 771(5)(D)(i) of the Act.

Specificity: This program are specific under section 771(5A)(A) of the Act because receipt of
the financing is contingent upon exporting.

Benefit: The benefit of this program is the amount of interest paid against the loans compared to
the amount of interest that would have been paid on a comparable commercial loan.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 33 Furthermore, Petitioners provided the following: Circular of the
People’s Bank of China, the State Administration of Foreign Exchange, the Ministry of Foreign
Trade and Economic Cooperation and the State Administration of Taxation Concerning Printing
and Distributing Detailed Rules on Rewarding and Punishment Concerning Provisional
Regulations over Examination of Export Collections of Foreign Exchange, YinFa, No. 58
(February 17, 2000); Request for Consultations by the United States (Addendum), China –
Certain Measures Granting Refunds, Reductions or Exemptions from Taxes and Other
Payments, WT/DS358/1/Add.1. 34

        6.       Income tax credits on purchases of domestically produced equipment by
                 domestically owned companies

Description: Petitioners argue that tax credits are available to domestic companies that purchase
domestically produced equipment. Petitioners state that a domestic PRC company may claim tax
credits on the purchase of PRC made equipment if the project is compatible with the industrial

32
   See Lightweight Thermal Paper from the People’s Republic of China: Final Affirmative Countervailing Duty
Determination, 73 FR 57323 (October 2, 2008) (“Lightweight Thermal Paper”), and accompanying Issues and
Decision Memorandum at Section I.B; see also Supplement to the Petition at 18.
33
   See Line Pipe, and accompanying Issues and Decision at Section V.A.6.
34
   See Volume V of the Petition at Exhibits CVD-31 & 32, respectively.


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policies of the GOC. Petitioners maintain that a tax credit of up to 40 percent of the purchase
price of domestic equipment may apply to the incremental increase in tax liability from the
previous year. Petitioners note that this tax measure was allegedly terminated at the end of 2007;
however, in Steel Wheels the Department found that companies were still benefiting under this
provision during 2010.

Financial contribution: Under this program, the Department determined that the income tax
reductions constitute a financial contribution in the form of revenue forgone, under section
771(5)(D)(i) of the Act.

Specificity: This program is specific because the receipt of the tax savings is contingent upon the
use of domestic over imported goods under section 771(5A)(A) of the Act.

Benefit: The benefit is an amount equal to the tax savings under section 771(5)(E) of the Act.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 35 Also, Petitioners provided the following: New and Full Notification
Pursuant to Article XVI:1 of the GATT 1994 and Article 25 of the Agreement on Subsidies and
Countervailing Measures, G/SCM/N/155/CHN; G/SCM/N/186/CHN (October 21, 2011) at 94. 36

        7.       VAT rebate on domestically produced equipment

Description: Petitioners contend that for both domestic and FIE projects, which are in the
encouraged category, equipment purchased for self-use shall be exempted from tariff and import
VAT. According to Petitioners, this program was terminated at the end of 2008; however, in
Solar Cells the Department found this program countervailable during 2010. As such, there is a
reason to believe that this program is still on-going in its original or modified form.

Financial contribution: These VAT exemptions provide a financial contribution in the form of
government revenue forgone under section 771(5)(D)(ii) of the Act.

Specificity: The VAT exemptions are specific because they are limited to a group of encouraged
enterprises or industries under section 771(5A)(D)(i) of the Act.

Benefit: The benefit is an amount equal to the amount of revenue forgone by the government
under 19 CFR 351.510.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 37 In addition, Petitioners provided the following: MOF Circular Cai
Shui, No. 290 (1999); MOF Circular Cai Shui, No.1; SAT Circular Guo Shui Fa, No.52 (2008);
Circular of the Ministry of Finance, State Development and Reform Commission, General

35
   See Certain Steel Wheels from the People’s Republic of China: Final Affirmative Countervailing Duty
Determination, 77 FR 17017 (March 23, 2012) (“Steel Wheels”), and accompanying Issues and Decision
Memorandum at Section VII.D.
36
   See Volume IV of the Petition at Exhibit CVD-21.
37
   See Solar Cells, and accompanying Issues and Decision Memorandum at Section VI.A.10.


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Administration of Customs and State Administration of Taxation on Import Taxation Policies to
Implement the Opinions of the State Council of Invigorating Equipment Manufacturing, Cai
Guan Shui, No. 11 (2007); Circular of the State Administration of Taxation Concerning
Transmitting the Interim Measure for the Administration of Tax Refund to Enterprises with
Foreign Investment for Their Domestic Equipment Purchases, Guo Shui Fa, No.171 (September
20, 1999). 38

        8.       VAT exemption on imports by encouraged industries

Description: Petitioners argue that both domestic and FIEs established in western regions, and
those engaged in industries encouraged by the GOC, are eligible for this program. Petitioners
note that for domestic enterprises, they must be those industries encouraged by the GOC as
found in the “Catalogue of the Industries Products and Technologies Particularly Encouraged by
the State,” and these listed items must account for over 70 percent of the enterprise’s total
revenue in order to qualify. In addition, Petitioners also note that for FIEs, industries encouraged
by the GOC are those listed in the “Catalogue for the Guidance of the Foreign Investment
Industries,” and listed in the “Catalogue for the Guidance of the Advantageous Industries in
Central and Western Regions for Foreign Investment,” and that these listed items must comprise
over 70 percent of the enterprise’s total revenue.

Financial contribution: These VAT exemptions provide a financial contribution in the form of
government revenue forgone under section 771(5)(D)(ii) of the Act.

Specificity: These VAT exemptions, under section 771(5A)(D)(i) of the Act, are specific
because they are limited to FIEs established in western regions, and those engaged in industries
encouraged by the GOC 39, .

Benefit: The benefit is an amount equal to the amount of revenue forgone by the government
under 19 CFR 351.510.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 40 Moreover, Petitioners provided the following: State Planning
Commission, Catalogue of the Industries Products and Technologies Particularly Encouraged by
the State (December 31, 1997); National Development and Reform Commission (NDRC) and
Ministry of Commerce (MOC), Catalogue for the Guidance of the Foreign Investment Industries
(Amended in 2011) (Decree of the NDRC and MOC No. 12); National Development and Reform
Commission (NDRC) and Ministry of Commerce (MOC), Catalogue for the Guidance of the
Foreign Investment Industries (Amended in 2011) (Decree of the NDRC and MOC No. 12);
national Development and Reform Commission (NDRC), Midwest Industrial Catalogue for
Foreign Investment. 41

38
   See Volume V of the Petition at Exhibits CVD-40 - 44, respectively.
39
   As noted above, under the Chlor-alkali Industry “Second Five Year Plan,” chemical products are encouraged
projects.
40
   See High Pressure Steel Cylinders from the People’s Republic of China: Final Affirmative Countervailing Duty
Determination, 77 FR 26738 (May 7, 2012), and accompanying Issues and Decision Memorandum at Section V.D.
41
   See Volume V of the Petition at Exhibits CVD-45 - 47, respectively.


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          9.      Preferential lending for industrial readjustment

Description: Petitioners note that in April of 2011, the NDRC released a new version of the
Directory Catalogue on Readjustment of Industrial Structure. Petitioners state that the projects
listed in the “encouraged” category qualify for preferential treatment from the government,
including receiving priority in the allocation of credit by state-owned banks. Petitioners maintain
that the 2011 catalogue lists “chemical products” under encouraged projects. Petitioners state
that the chemical industry in the PRC receives preferential loans and financing from state-owned
banks. According to Petitioners, chemical companies also have preferential access to capital,
making it easier for them to deal with supply shortages, price increases, and volatility.

Financial contribution: The loans provide a financial contribution in the form of the direct
transfer of funds from government-owned banks under section 771(5)(D)(i) of the Act.

Specificity: The loans are specific because they are limited by law to a group of encouraged
industries under section 771(5A)(D)(i) of the Act.

Benefit: Under section 771(5)(E)(ii) of the Act, the loans confer a benefit equal to the difference
between the amount the recipient paid on the loan and the amount the recipient would pay on a
comparable commercial loan that the recipient could obtain on the market.

Support: The Department has previously has relied on an industry’s classification as encouraged
in the Directory Catalogue on Readjustment of Industrial Structure to support countervailing
loans from state-owned banks on the grounds that such loans are preferential policy loans. 42
Also, Petitioners provided the following: “China’s Chemical Industry: Flying Blind?,” A.T.
Kearney (2012) at 11; Directory Catalogue on Readjustment of Industrial Structure, NDRC;
Guidance Catalogue on Readjustment of Industrial Structure, NDRC (2011). 43

          10.     Export credit insurance from China Export and Credit Insurance Corporation

Description: Petitioners assert that the PRC provides generous export credit insurance through
the China Export and Credit Insurance Corporation (“Sinosure”), a state-owned financial
institution. According to Petitioners, Sinosure has grown rapidly since it was created in 2001,
and in 2009 Sinosure underwrote $98.7 billion in export credit insurance for the year. Petitioners
contend that due to the inadequate premiums charged by Sinosure, the company is unable to
cover its costs and losses. Petitioners note that Sinosure’s annual reports from 2003-2011 reveal
a cumulative operating loss of RMB 3.5 billion, and in 2010, despite the fact that the rate of
default and claims paid was likely to have grown during the global financial crisis, Sinosure
announced it would be reducing its premium rates to even lower levels.




42
     See Tires, and accompanying Issues and Decision Memorandum at Comment E. l.
43
     See Volume VI of the Petition at Exhibits CVD-49 - 52, respectively.


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Financial contribution: Export insurance provides a financial contribution in the form of the
potential direct transfer of funds from a government-owned financial institution under section
771(5)(D)(i) of the Act.

Specificity: This program is specific because it is contingent on export performance under
section 771(5A)(B) of the Act.

Benefit: This program confers a benefit on the recipient pursuant to 19 CFR 351.520, equal to
the difference between what the recipient paid for insurance premiums and the amount received
by the firm under the insurance program.

Support: Petitioners provided the following: “China Export and Credit Aims for Growth in
2010,” Rebecca Ng, InsuranceNewsNet.com (April 27, 2010); Sinosure Annual Reports 2003-
2011, and summary table. 44

          11.      Corporate Income Tax Law Article 33: reduction of taxable income for the
                   revenue derived from the manufacture of products that are in line with State
                   industrial policy and involve synergistic utilization of resources

Description: Petitioners argue that when calculating its taxable income, a company may take
into account 90 percent of the revenue derived from the use of raw materials of the prescribed
resources included in the Catalogue of Preferential Corporate Income Tax Treatments for
Synergistic Utilization of Resources. According to Petitioners, the prescribed resources are
associated minerals and by-products, waste water or liquid, waste gas, and waste residue, and
recyclable resources. Petitioners maintain that the chemical industry falls under the first of these
categories, and that resources used by chlorinated isos producers that are listed in the catalogue
include fertilizers (urea) and sulfuric acid.

Financial contribution: This program provides a financial contribution in the form of
government revenue foregone under section 771(5)(D)(ii) of the Act.

Specificity: The program is specific for purposes of section 771(5A)(D)(iii)(I) because the
recipients of the subsidy are limited in number, and under section 771(5A)(D)(iii)(II) because the
chemical industry is a predominant user of the subsidy.

Benefit: The tax reduction confers a benefit equal to the amount of revenue foregone by the
government under 19 CFR 351.510.

Support: Petitioners provided the following: KPMG, Corporate Income Tax Law Article 33;
KPMG, The Implementation Rules for the Corporate Income Tax Law, Article 99; Notice of the
Issuance of the Catalogue of Preferential Corporate Income Tax Treatments for Synergistic
Utilization of Resources (2008 version), Cai Shui, No. 117, jointly issued by the Ministry of
Finance, State Administration of Taxation and the State Development and Reform Committee
(August 26, 2008); China Tax Alert, Issue 31, KPMG (2008). 45

44
     See Volume VI of the Petition at Exhibits CVD-51 & 52, respectively.
45
     See Volume VI of the Petition at Exhibits CVD-62 - 65, respectively.


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          12.     Export Seller’s Credits and Export Buyer’s Credits from the Export-Import Bank
                  of China

Description: Petitioners state that China ExIm has increased its export credit activities
significantly in recent years. Petitioners note that, according to its annual report, in 2003 China
ExIm had RMB 102.6 billion outstanding on its balance sheet, compared to the RMB 600.8
billion it had outstanding in 2009. Petitioners contend that in 2011, the U.S. ExIm Bank
estimated that China ExIm issued $48.5 billion in new medium- and long-term export credits,
more than twice the value of such credits newly issued by the U.S. ExIm Bank in 2011, and that
total export credit financing from the GOC likely exceeds $100 billion per year.

Petitioners maintain that the China ExIm provides support to exporters through a variety of
means, including the export seller’s credit and the export buyer’s credit. Petitioners note that
China ExIm explains that the purpose of its programs is to support the export of PRC products
and improve their competitiveness in the international market, and it describes the export seller’s
credit as a loan with a large amount, long maturity, and preferential interest rate. Petitioners
state that although China ExIm reveals little information about the rates that are charged under
these programs, there are various second-hand reports indicating that the terms of this financing
are highly concessional.

Additionally, Petitioners maintain that the China Development Bank also appears to extend its
own export credits at volumes that may approach or even exceed the export credits reported by
China ExIm.

Financial contribution: This program provides a financial contribution in the form of a direct
transfer of funds from a government owned financial institution under section 771(5)(D)(iii) of
the Act.

Specificity: This program is specific within the meaning of section 771(5A)(B) of the Act
because it is contingent upon export activity.

Benefit: Under section 771(5)(E)(ii) of the Act, export financing confers a benefit equal to the
difference between the amount the recipient pays on the loan and the amount the recipient would
pay on a comparable commercial loan that the recipient could actually obtain on the market.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 46 Additionally, Petitioners provided the following: 2009 Annual Report,
Export-Import Bank of China, at 21; Report to the U.S. Congress on Export Credit Competition
and the Export Import Bank of the United States, Export-Import Bank of the United States at 17
(June 2012); Export-Import Bank of China, Ryan J. Orr and Jeremy R. Kennedy “Introduction”
and “Export Seller’s Credit;” “Highlights of Recent Trends in Global Infrastructure: New Players
and Revised Game Rules,” Transnational Corporations, Vol. 17, No. 1, at 108-109 (April 2008);
Export-Import Bank of the United States, Report to the U.S. Congress on Export Credit
Competition and the Export Import Bank of the United States (June 2011) at 113; China’s


46
     See Wind Towers, and accompanying Issues and Decision Memorandum at 25.


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African Aid: Transatlantic Challenges, Deborah Brautigam, The German Marshall Fund of the
United States (April 2008) at 25-26. 47

           13.     Preferential loans provided by the Export-Import Bank “Going-out” for Outbound
                   Investments

Description: According to Petitioners, the GOC has promoted its “Going-out” strategy in the
Tenth Five-Year Plan , 2001-2005 and Twelfth Five-Year Plan, 2011-2015. Petitioners contend
that these loans and other means of preferential financial assistance provide chlorinated isos
producers with the ability to establish subsidiaries or warehouses overseas, improving their
distribution channels and granting them greater access to the export market, as well as provide
producers with the ability to purchase inputs from overseas.

Petitioners note that the China ExIm’s 2011 Annual Report states that it seized opportunities
offered by global economic readjustment to support PRC companies to invest overseas and
facilitate domestic products, services, brands and standards to go global. Petitioners state that
China ExIm’s primary policy objective in carrying out the strategy is reported to be “the
promotion of foreign trade and diplomacy by capitalizing domestic exporters and exporting
credit to potentially profitable foreign projects.” Petitioners claim that with this objective, China
ExIm is “able to provide preferential loans with very flexible payment schedules at less than half
the interest offered by any of the commercial banks.” Petitioners note that it has been reported
that China ExIm issued a total of USD $500 billion in loans under the “going out” projects as of
the end of 2010.

Financial contribution: These programs provide a direct financial contribution by the GOC
under section 771(5)(D)(i) of the Act.

Specificity: This program targets particular industries for international promotion, and is thus
specific, pursuant to section 771(5A)(B) of the Act.

Benefit: Government policy lending provides benefits to the recipients equal to the difference
between the amount paid on loans from government-owned banks and the amount that would
have paid on comparable commercial loans, pursuant to section 771(5)(E)(ii) of the Act.

Support: Petitioners provided the following: Ting Xu, “Destination Unknown: Investment in
China’s ‘Go Out’ Policy,” China Brief, Volume 11 Issue: 17 (September 16, 2011); Export-
Import Bank of China, 2011 Annual Report at 10; China’s Policy Banks (September 9, 2009);
Twelfth Five-Year Plan, 2011-2015 (July 26, 2011). 48

           14.    Foreign Trade Development Fund

Description: Petitioners note that this national grant program provides firms, with an annual
export value of USD $1,000,000 to $5,000,000, grants from the Ministry of Foreign Trade and
Economic Cooperation. Moreover, Petitioners note that the Department also investigated similar

47
     See Volume V of the Petition at Exhibits CVD-33, 34, 36 - 39, respectively.
48
     See Volume VI of the Petition at Exhibits CVD-68 – 70, & 55, respectively.


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programs administered by a number of different local authorities. According to Petitioners, there
is evidence that a similar program exists in Jiangsu Province, where the provincial government
created a special fund to promote foreign trade.

Financial contribution: These government programs constitute financial contributions in the
form of a direct transfer of funds under section 771(5)(D)(i) of the Act.

Specificity: This program is specific within the meaning of section 771(5A)(B) of the Act
because it is contingent upon export activity.

Benefit: These programs confer a benefit equal to the amount of the funds provided under 19
CFR 351.504.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 49 Moreover, Petitioners provided the Circular on Issuance of
Management Methods for Foreign Trade Development Support Fund, Department of Finance,
Jiangsu Province, Jiangsu Foreign Trade Development Fund Management Interim Measures
Guide, Su Cai Qi, No. 182 (2008). 50

D.      Provincial Programs

        1.       “Famous Brands” program

Description: Petitioners contend that this program provides grants to an exporting company that
wins the “Famous Brand” or “Top Brand” award from a local or provincial government for
meeting high international standards. Petitioners argue that the PRC’s “Famous Brands”
program is administered at the national, provincial, and local government levels. According to
Petitioners, enterprises must provide information concerning their export ratio as well as the
extent to which their product quality meets international standards. Petitioners maintain that
awards and criteria vary by province and by city, for example, Jiheng, located in Hebei Province,
has been awarded the “Hebei Famous Brand Certificate.”

Financial contribution: This government grant constitutes a financial contribution in the form of
a direct transfer of funds under section 771(5)(D)(i) of the Act.

Specificity: This program is specific under section 771(5A)(B) of the Act because it is
contingent upon export activity.

Benefit: The benefit is an amount equal to the amount of funds provided under 19 CFR 351.504.




49
   See, e.g., Pre-Stressed Concrete Steel Wire Strand from the People's Republic of China: Final Affirmative
Countervailing Duty Determination, 75 FR 28557 (May 21, 2010) (“PC Strand”), and accompanying Issues and
Decision Memorandum at Section I.F.
50
   See Volume VI of the Petition at Exhibit CVD-73.


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Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 51 Furthermore, Petitioners provided the following: General
Administration of Quality Supervision, Inspection and Quarantine Bureau of Works Council,
Measures for the Administration of Chinese Top-Brand Products, AQSIQ Decree No. 12
(December 18, 2009); Hebei Famous Brand Certificate. 52

        2.      Preferential policies to attract foreign investment in Jiangsu Province

Description: Petitioners state that FIEs and foreign enterprises are subject to the following types
of taxes: corporate income tax, local income tax, VAT, consumption tax, business tax, personal
income tax, urban real estate tax, plate tax for vehicle and vessel usage, and stamp duty.
Petitioners contend that Jiangsu Province provides preferential rates to foreign enterprises and
FIEs to attract foreign investment. Petitioners note that China Salt Changzhou Chemical Co. is
located in Jiangsu Province. 53 Among the preferential tax policies offered by Jiangsu Province to
FIEs and foreign enterprises are: multi-year exemptions from the corporate tax rate; a reduced
local income tax rate; tax rebates on reinvested profits; no tax on the export share of profits; and
no value-added tax, consumption tax, or business tax.
Financial contribution: This program provides a financial contribution in the form of
government revenue foregone under section 771(5)(D)(ii) of the Act.

Specificity: This program is limited to FIEs and foreign enterprises in Jiangsu Province, and is
specific within the meaning of section 771(5A)(D)(i) of the Act. 54

Benefit: The tax reductions confer a benefit equal to the amount of revenue foregone by the
government under 19 CFR 351.510.

Support: Petitioners provided the following: China Council for the Promotion of International
Trade, Jiangsu Sub-Council, Preferential Policies to Attract Foreign Investment in Jiangsu
Province (October 2, 2008). 55

        3.      Outline of light industry restructuring and revitalization plan in Jiangsu Province

Description: Petitioners maintain that this plan proposes to accelerate the restructuring and
revitalization of light industry in Jiangsu Province. Petitioners contend that specified within this
plan is the promotion of the chlor-alkali industry, for which the province is promoting an
“industrial clustering” to build economies of scale. Petitioners argue that key enterprises
included in this plan can receive governmental support in terms of “land, capital and other
elements of supply.” Petitioners contend that also included in the plan are “various provincial

51
   See, e.g., Certain Frozen Warmwater Shrimp from the People’s Republic of China: Final Affirmative
Countervailing Duty Determination, 78 FR 50391 (August 19, 2013), and accompanying Issues and Decision
Memorandum at Section VI.A.2.
52
   See Volume VI of the Petition at Exhibits CVD-74 & 75, respectively.
53
   See Volume I of the Petition at 32, Table 8.
54
   Though this program has many similar tax policies to the Two Free Three Half program and FIE Income Tax Law
Article 7, supra, those programs are administered at the national level, while this one is administered at the
provincial level.
55
   See Volume VI of the Petition at Exhibit CVD-76.


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funds to support light industries” and the encouragement of expanded financing channels.
Petitioners state that at least one major producer and exporter of chlorinated isos, China Salt
Changzhou Chemical Co., is located in Jiangsu Province. 56

Financial contribution: The provision of funds is a financial contribution under section
771(5)(D)(i) of the Act. To the extent land is provided, it qualifies as a financial contribution in
the form of the provision of a good for LTAR under section 771(5)(D)(iii) of the Act.

Specificity: This program is limited to particular industries targeted for development and is de
jure specific pursuant to section 771(5A)(D)(i) of the Act.

Benefit: The provision of funds confers a benefit equal to the amount of the funding provided by
the government. To the extent land is provided, the sale or provision of land at below-market
prices (i.e., for LTAR) constitutes a benefit pursuant to 19 CFR 351.511(a).

Support: Petitioners provided the following: Jiangsu Development and Reform Commission,
Jiangsu Province Light Industry Adjustment and Revitalization Plan, Su Zheng Fa, No. 87 (May
31, 2009). 57
       4.      Jiangsu province grants for legal fees in foreign trade remedy proceedings

Description: Petitioners maintain that, according to Key Points to Report on the Business
Development Special Fund to Support the Transformation and Upgrading of Foreign Trade,
Jiangsu Province subsidizes PRC companies to defend various trade remedy cases abroad under
the “Export-Import Fair Trade” program. Petitioners note that PRC producers and exporters of
chlorinated isos have been subject to a U.S. antidumping order and have actively participated in
administrative reviews (and litigation) since 2005. Further, Petitioners note that at least one
major producer and exporter of chlorinated isos, China Salt Changzhou Chemical Co., is located
in Jiangsu Province. 58

Financial contribution: This government grant constitutes a financial contribution in the form of
a direct transfer of funds under section 771(5)(D)(i) of the Act.

Specificity: The benefits are awarded only to a small number of enterprises or industries and
therefore is specific within the meaning of sections 771(5A)(D)(iii)(I) of the Act.

Benefit: This grant program confers a benefit equal to the amount of the funds provided under
19 CFR 351.504.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 59 Moreover, Petitioners provided the following: Jiangsu Province


56
   See Volume I of the Petition at 32, Table 8.
57
   See Volume VI of the Petition at Exhibit CVD-77.
58
   See Volume I of the Petition at 32, Table 8.
59
   See, e.g., Raw Flexible Magnets from the People’s Republic of China: Final Affirmative Countervailing Duty
Determination, 73 FR 39667 (July 10, 2008) and accompanying Issues and Decision Memorandum at 8.


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Department of Finance, Special Funds to Support Foreign Trade Transformation and Upgrading
of the Implementation Details of the Notification, Choi Su-regulation No. 40 (2010). 60

          5.       Shandong Province: grants to enterprises exporting key products

Description: Petitioners contend that Shandong Province has policies to encourage trade and
exportation growth, which include: (1) interest discounts on loans to “productive exportation
enterprises” used for the R&D of export products; (2) subsidies for export credit insurance; and,
subsidies to entities having made “remarkable contributions to the foreign economic cooperation
and international trade development of the province.” Petitioners note that four major producers
and exporters of chlorinated isos, Heze Huayi, Liaocheng London, Kangtai, and Zhucheng
Taisheng, are located in Shandong Province. 61
Financial contribution: This government grant constitutes a financial contribution in the form of
a direct transfer of funds under section 771(5)(D)(i) of the Act.

Specificity: This program is specific because it is contingent upon export activity, pursuant to
section 771(5A)(B) of the Act.

Benefit: This program provides a benefit in the amount of the grant received under 19 CFR
351.504(a).

Support: Petitioners provided the following: Notice of Making Efforts to Accomplish the Work
of Applying the Trade Promotion Capital for Agricultural, Light Industry and Textile Products in
2006, No. 747 (LWJMFZ 2006); 2006 Shandong Province Policies on Encouraging Trade and
Exportation Expansion, Lu Cai Qi, No. 5(2006). 62

E.        Local and Municipal Programs

          1.       Grants for export credit insurance

Description: Petitioners assert that this program reimburses PRC companies for export credit
insurance fees that they have paid to Sinosure. Petitioners contend that companies report fees
paid to their local authorities and receive a grant when approved. Petitioners state that Chinese
Premier Wen mentioned increasing the use of export credit insurance in August 2012.

Financial contribution: This government grant constitutes a financial contribution in the form of
a direct transfer of funds under section 771(5)(D)(i) of the Act.

Specificity: These programs are specific because they are limited to companies that export,
pursuant to section 771(5A)(B) of the Act.




60
     See Volume VI of the Petition at Exhibit CVD-78.
61
     See Volume I of the Petition at 32, Table 8.
62
     See Volume VI of the Petition at Exhibits CVD-80 & 81, respectively.


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Benefit: This program provides a benefit in the amount of the grant received under 19 CFR
351.504(a).

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 63 Moreover, Petitioners provided the following: “Wen called for faster
payment of export tax rebates, greater use of export credit insurance and reduced inspections and
fees to ease the burden on companies,” Bloomberg News (August 26, 2012). 64

        2.      Special Fund for Energy Saving Technology Reform

Description: Petitioners state that according to the Circular of the MOF and NDRC on Printing
and Distributing Interim Measures of Energy Saving Technology Reform Awards Fiscal Funds,
Article 1, the special fund was in place during the 11th 5-Year period. Petitioners speculate that
the GOC distributed the funds to enterprises (Article 14) in order to encourage energy-saving
technology renovation projects (Article 5). Petitioners contend that the funds were arranged by
the GOC (Articles 5 and 14), but the local governments were mandated to play a role in
supervision of the implementation (Article 15). Petitioners note that the Department
countervailed this program in Citric Acid, and that the Department found that enterprises whose
energy-saving innovation projects result in energy savings that exceed 10,000 tons of coal will
receive an award. Petitioners also note that the standard award is RMB 200 per ton of coal for
the eastern PRC provinces (RMB 250 for those in mid-west provinces). According to
Petitioners, currently available enabling documents, this program was in place during the 11th 5-
Year period, which lapsed by the end of 2010, however, given the non-recurring character of the
grant, the benefits should be allocated over the average useful life of assets.

Financial contribution: This government grant constitutes a financial contribution in the form of
a direct transfer of funds under Section 771(5)(D)(i) of the Act.

Specificity: This program is specific because it is limited to a group of enterprises under section
771(5A)(D)(i) of the Act, specifically, the group of enterprises with energy-saving innovation
projects resulting in energy savings that exceed 10,000 tons of coal.

Benefit: This grant program confers a benefit equal to the amount of the funds provided under
19 CFR 351.504.

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 65 In addition, Petitioners provided the following: Guangdong Provincial
Department of Finance, the Provincial Economic and Trade Commission Office of Guangdong
Province on the issuance of special funds for energy management Interim Measures, Guangdong
Cai Gong {2008} No. 126, (July 9, 2008); NDRC, MOF on the issuance of “Energy-Saving



63
   See Steel Wheels, and accompanying Issues and Decision Memorandum at Section VII.O; PC Strand, and
accompanying Issues and Decision Memorandum at Section I.H.
64
   See Volume VI of the Petition at Exhibit CVD-82.
65
   See Citric Acid, and accompanying Issues and Decision Memorandum at Section I.T.


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Technological Transformation of Financial Incentives Fund Management Interim Measures,” Cai
Jian {2007} No. 371 (August 10, 2007). 66

          3.       The Clean Production Technology Fund

Description: Petitioners note that according to Article 21 of the Provisional Measures on Clean
Production Inspection, funds are granted to enterprises that voluntarily undertake “clean
production inspection with remarkable achievement after the implementation of clean production
plans, development and reform commissions and environmental protection administration.”
Petitioners further note that Article 22 provides that the “development and reform commissions”
have the power to designate clean production projects among the clean production
implementation plans undertaken by the enterprises for energy saving, water saving,
comprehensive utilization, increasing energy utilization rates, and preventing pollution.
Petitioners maintain that based on currently available information, this program is discretionary
and it is awarded only to those who are deemed to have had a “remarkable achievement.”

Financial contribution: This government grant constitutes a financial contribution in the form of
a direct transfer of funds under section 771(5)(D)(i) of the Act.

Specificity: This program is provided to a limited number of recipients, specifically, recipients
with projects related to energy or water conservation or pollution control that qualify for
benefits. Accordingly, the program is specific within the meaning of section 771 (5A)(D)(iii)(I)
of the Act.

Benefit: This grant program confers a benefit equal to the amount of the funds provided under
19 CFR 351.504.

Support: The Department has previously determined that the purpose of this program “is to
provide incentives and rewards . . . to encourage enterprises to conduct clean production
inspection.” 67 Also, Petitioners provided the following: Ministry of Environmental Protection,
State Environmental Protection Administration Order No. 16 (August 16, 2004). 68

II.      ALLEGED PROGRAMS ON WHICH THE DEPARTMENT IS NOT
         INITIATING AN INVESTIGATION

1.       Land and Land Usage at Preferential Rates Provided by Jiangsu and Shandong Provinces

Description: Petitioners claim that the price of state-owned land usage may be reduced by
10,000 to 50,000 RMB per hectare depending on the scale of the investment. Petitioners contend
that in Jiangsu Province, eligible priority development projects can obtain land for a transfer fee
of no less than 70 percent of the minimum price. Petitioners assert that for this reason, the


66
   See Volume VI of the Petition at Exhibits CVD-83 & 84.
67
   See CFS Paper, and accompanying Issues and Decision Memorandum at Section III.B (determining that the
potential benefit is less than 0.005 percent and not including that potential benefit in respondent’s CVD rate).
68
   See Volume VI of the Petition at Exhibit CVD-85; see also Supplement to the Petition at 18 - 19.


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authorities in Jiangsu Province have discretion to provide land at a discount, as low as 30 percent
below the minimum price.

Petitioners also contend that Shandong Province may provide up to a 30 percent discount on the
land leases for energy saving and environmental protection industrial projects. Petitioners
suggest that eligible priority development projects can obtain the land for a transfer fee of no less
than 70 percent of the minimum price, and for this reason, the authorities in Shandong Province
have discretion to provide land at a discount, as low as 30 percent below the minimum price.

Financial Contribution: The sale of land or land-use rights at LTAR constitutes a financial
contribution in the form of providing goods and services pursuant to section 771(5)(D)(iii) of the
Act.

Specificity: Sales of land-use rights are specific because they are limited to enterprises or an
industry located within a designated geographical region pursuant to section 771(5A)(D)(iv) of
the Act.

Benefit: The sale of land or land-use rights at below-market prices (i.e., for LTAR) constitutes a
benefit pursuant to 19 CFR 351.511(a).

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 69 Moreover, Petitioners provided the following: “State-owned
Construction Land Use Right Transfer Price Evaluation Technical Specification,” State
Preferential Policies for Supporting State-Level Economic and Technology Development Zones,
Ministry of Land and Resources Notice, Guo Tu Zi Fa (April 8, 2013); “Jiangsu Provincial
Department of Jiangsu Provincial Development and Reform Commission on the Adjustment of
Industrial Land Price Policy to Inform the Implementation of Standards,” Guo Tu Zi Fa, No. 56
(June 26, 2009); “Shandong Adjust Industrial Land Premium Policy,” Shandong Provincial
Department’s Ministry of Land and Natural Resources’ Forward on Adjusting the Minimum
Price Standards for Industrial Land Policy, Ministry of Land and Resources (August 20, 2009). 70

Recommendation: First, we note that the Department did not find this program countervailable
in Solar Cells. The decision in Solar Cells to countervail the provision of land was made
specifically with respect to two respondents and we note for one of the respondents, only for the
land use rights provided outside of Jiangsu Province. Thus, based on the examination of the
information provided in the petition, the referenced documents do not show that there is a
program in either province providing 30 percent discounts on land use rights. The documents
state that the entities responsible for providing land use rights within the respective province
cannot provide leases for industrial land at prices lower than the corresponding land prices.
These documents indicate that the provincial government is not setting discounted land prices
but is setting administrative guidelines and a floor so that land authorities cannot lease land
below these prices.. Thus, the evidence provided by Petitioners does not substantiate the

69
   See Solar Cells, and accompanying Issues and Decision Memorandum at Section VI. A.4. (for land located in the
province of Jiangsu).
70
   See Volume IV of the Petition at Exhibits CVD-9, 10 & 11, respectively; see also Supplement to the Petition at
16 - 17.


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allegation that Jiangsu Province and Shandong Province provide land for LTAR. Accordingly,
we recommend finding that with regard to this component of the allegation Petitioners have
failed to support their allegation of a countervailable subsidy.

          2.      Exemption from Land-Use Taxes and Fees

Description: Petitioners maintain that certain companies do not pay land-use taxes and fees, i.e.,
these companies never paid taxes or fees and no such taxes or fees were owed. Additionally,
Petitioners note that the taxes reported by a producer of chlorinated isos are substantially lower
than the taxes reported by other producers. Petitioners maintain that although this program was
discontinued in 2007, companies who took advantage of it are still accruing benefits in terms of
possessing land that they otherwise would not have. Although in a prior case the respondent
argued that its exemption was due to its status as an FIE, there is nothing to indicate that this
program was limited to FIEs. Petitioners state that at least one producer of chlorinated isos,
Sino-Korea Anhui Suzhou, is an FIE.

Financial contribution: The exemption from land-use taxes and fees confers a countervailable
subsidy and is a financial contribution in the form of revenue forgone by the GOC pursuant to
section 771(5)(D)(ii) of the Act.

Specificity: The exemption/reduction by this program is limited as a matter of law to certain
enterprises, FIEs, and is therefore specific under section 771(5A)(D)(i) of the Act.

Benefit: The benefit received is in the amount of the tax savings, pursuant to 19 CFR
351.509(a)(l).

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 71

Recommendation: We found this program countervailable in Thermal Paper (2008), but we
noted that the exemption which applied to FIEs ended in 2007. We found this exemption to be
a recurring subsidy. We would recommend not initiating since the only possible benefit from
this program is the tax saving incurred from the land use-tax and fee exemption. These ended
after 2007, so no possible benefit. As a result, we recommend finding that Petitioners have
failed to support their allegation of a countervailable subsidy.

          3.      Corporate Income Tax Law Article 26.1: Income tax exemption from State
                  Treasury debt

Description: According to Petitioners, under the Corporate Income Tax Law Article 26.1,
interest from State treasury debt is exempt from income tax for industries and projects that are
eligible for key support from the GOC.

Financial contribution: This tax exemption provides a financial contribution in the form of
government revenue foregone under section 771(5)(D)(ii) of the Act.
71
     See Thermal Paper, and accompanying Issues and Decision Memorandum at Section I.M.


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Specificity: This program is specific because it is limited to an eligible group of enterprises
under section 771(5A)(D)(i) of the Act.

Benefit: The income tax exemption confers a benefit equal to the amount of revenue foregone by
the government under 19 CFR 351.510.

Support: Petitioners provided the following: Corporate Income Tax Law Article 26.1; The
Implementation Rules for the Corporate Income Tax Law Article 82, KPMG; Twelfth Five-Year
Plan, 2011-2015 (July 26, 2011). 72

Recommendation: There is nothing in either the Corporate Income Tax Law or the
Implementation Rules that limit this exemption for industries and projects that are eligible for
key support from the State, because any company that purchases or holds State treasury debt
receives this tax exemption. Consequently, we recommend finding that Petitioners have failed
to support their allegation of a countervailable subsidy.

          4.       Corporate Income Tax Law Article 26.2: income tax exemption for qualified
                   dividends, profit distribution and other returns on equity investments derived by a
                   resident enterprise from another resident enterprise

Description: Petitioners claim that, according to Corporate Income Tax Law Article 26.2,
qualified investment income is exempt from income tax for industries that are eligible for
support from the GOC. Petitioners note that a qualified investment (dividends, profit
distributions, and other returns on equity investments) refers to the investment return derived by
a resident enterprise from its direct investment in another resident enterprise, which are held for
at least 12 months. The 2011 Guiding Catalog of Industrial Structural Adjustment lists
“chemical products” under encouragement projects, indicating that producers of chlorinated isos
receive key support from the GOC.

Financial contribution: This program provides a financial contribution in the form of
government revenue foregone under section 771(5)(D)(ii) of the Act.

Specificity: The program is specific within the meaning of section 771(5A)(D)(ii) of the Act
because the tax legislation establishes objective criteria governing the eligibility for, and the
amount of, the subsidy. In addition, the program is specific under section 771(5A)(D)(iii)(I) of
the Act because the actual recipients of the subsidy are limited in number.

Benefit: The tax reduction confers a benefit equal to the amount of revenue foregone by the
government under 19 CFR 351.510.

Support: Petitioners provided the following: Corporate Income Tax Law Article 26.2, KPMG;
Implementation Rules for the Corporate Income Tax Law, Article 83, KPMG; Twelfth Five-Year
Plan, 2011-2015 (July 26, 2011). 73

72
     See Volume VI of the Petition at Exhibits CVD-53 - 55, respectively.
73
     See Volume VI of the Petition at Exhibits CVD-71, 72 & 55, respectively.


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Recommendation: Although Petitioners allege that this program is specific because it is limited
to certain types of qualified investment and limited to enterprises that receive key support from
the State, there is no information provided in the tax law and implementing rules that restricts
access to this exemption to enterprises that receive key support from the State. Thus, this
exemption is available to all companies. Therefore, we recommend finding that Petitioners have
failed to support their allegation of a countervailable subsidy.

        5.       Corporate Income Tax Law Article 32: accelerated depreciation of fixed assets

Description: Petitioners maintain that enterprises are allowed to accelerate the depreciation of
fixed assets if they are: (1) fixed assets that are upgraded and replaced frequently due to
advancement in technologies; or (2) fixed assets that are exposed to constantly high levels of
vibration or corrosion. The minimum amortization period is 60 percent of the prescribed period,
and the assets must be depreciated using the double-declining-balance or sum-of-the-year-digits
method. To produce chlorinated isos, cyanuric acid is reacted with caustic soda, resulting in a
sodium cyanurate salt which is then reacted with chlorine. This is a highly corrosive process,
and as a result the equipment used in its manufacture is susceptible to corrosion. This program is
tailored to the chemical industry, particularly those firms using chemicals such as acids and
caustic soda, because of the nature of its manufacturing processes.

Financial contribution: This program provides a financial contribution in the form of
government revenue foregone under section 771(5)(D)(ii) of the Act.

Specificity: This program is specific under section 771 (5A)(D)(iii)(I) of the Act because the
recipients of the subsidy are limited in number and under section 771(5A)(D)(iii)(II) of the Act
because the chemical industry is the predominant user of the subsidy.

Benefit: The income tax exemption confers a benefit equal to the amount of revenue foregone by
the government under 19 CFR 351.510.

Support: The Department has previously determined that similar accelerated depreciation
provisions confer a countervailable subsidy under U.S. law. 74 Moreover, Petitioners provided the
following: Corporate Income Tax Law Article 32; KPMG, The Implementation Rules for the
Corporate Income Tax Law Article 98. 75

Recommendation: This program applies to all assets that need to be upgraded or frequently
replaced and those assets which are exposed to high levels of vibration or corrosion. While
assets used by the chemical industry could fall under this definition, Petitioners have failed to
support their specificity allegation because the types of assets falling under this definition would
fall into a wide array of industries. As a result, we recommend finding that Petitioners have
failed to support their allegation of a countervailable subsidy.

74
   See Certain Oil Country Tubular Goods from the People’s Republic of China: Final Affirmative Countervailing
Duty Determination, Final Negative Critical Circumstances Determination, 74 FR 64045 (December 7, 2009) and
accompanying Issues and Decision Memorandum at Section I.I.
75
   See Volume VI of the Petition at Exhibits CVD-56 & 57, respectively.


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          6.      Zhanjiang (Shanghai) Municipality and Zhanjiang Economic & Technological
                  Development Zone export related assistance

Description: Petitioners contend that Zhanjiang Municipality and Zhanjiang Economic &
Technological Development Zone provided export assistance in the form of grants. At least one
major producer and exporter of chlorinated isos, Sino-Korea Anhui Suzhou SDF, is located in
Shanghai. 76

Financial contribution: These grants are a financial contribution under section 771(5)(D)(i) of
the Act.

Specificity: The amount of the grant is contingent upon export performance, and therefore the
subsidy is specific under section 771(5A)(B) of the Act.

Benefit: This program provides a benefit equal to the amount of a grant, pursuant to 19 CFR
351.504(a).

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 77

Recommendation: While Petitioners have correctly stated that the Department has found this
program countervailable, they have allege that this program provides benefits to companies in
Shanghai; however, the Zhangjiang program we countervailed is in Guangdong Province, not in
Shanghai. Therefore, Petitioners have incorrectly alleged this program and the information
provided in the Petition does not show that any producers of the subject merchandise are located
in Guangdong Province. Thus, we recommend finding that Petitioners have failed to support
their allegation of a countervailable subsidy.

          7.      Zhanjiang (Shanghai) environmental subsidies

Description: Petitioners assert that according to Zhanjiang (Shanghai) Finance Bureau’s award
notice listing grant recipients in 2006, awards were made to “aquaculture and processing key
industries” for environmental protection projects. This assistance is a direct transfer of funds.
Among the specific goals of the Twelfth Five-Year Plan, 2011-2015 is to reduce ammonia
nitrogen and nitrogen oxide emissions by 10 percent. Consistent with these targets, it is
reasonable to conclude that chlor-alkali and chlorinated isos producers will receive benefits in
connection with reductions in such emissions. According to Zhangjiang (Shanghai) Finance
Bureau’s award notice listing grant recipients in 2006, awards were made to “aquaculture and
processing key industries.” At least one major producer and exporter of chlorinated isos, Sino-
Korea Anhui Suzhou SDF, is located in Shanghai. 78



76
     See Volume I of the Petition at 32, Table 8.
77
     See Thermal Paper, and accompanying Issues and Decision Memorandum at Section I.K.
78
     See Volume I of the Petition at 32, Table 8.


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Financial contribution: This program is a direct transfer of funds and is a financial contribution
under section 771 (5)(D)(i) of the Act.

Specificity: The subsidy is specific because the recipients are limited in number under section
771 (5A)(D)(iii) of the Act.

Benefit: This program provides a benefit in the amount of a grant pursuant to 19 CFR
351.504(a).

Support: The Department has previously determined that this program confers a countervailable
subsidy under U.S. law. 79 Also, Petitioners provided the Twelfth Five-Year Plan, 2011-2015
(July 26, 2011). 80

Recommendation: While Petitioners have correctly stated that the Department has found this
program countervailable, they have alleged that this program provides benefits to companies in
Shanghai; however, the Zhangjiang program we countervailed is in Guangdong Province, not in
Shanghai. Therefore, Petitioners have incorrectly alleged this program and the information
provided in the Petition does not show that any producers of the subject merchandise are located
in Guangdong Province. Therefore, we recommend finding that Petitioners have failed to
support their allegation of a countervailable subsidy.

          8.      Corporate Income Tax Law Article 34: tax credit for the purchase of special
                  equipment for the purpose of environmental protection, energy and water
                  conservation or production safety

Description: Petitioners note that ten percent of investments or expenses made for the purchase
of special equipment for the purpose of environmental protection, energy and water
conservation, or production safety may be credited against income tax payable, provided that the
equipment is kept for at least five years. This equipment is listed in the Catalogue of Preferential
Corporate Income Tax Treatments for Specialized Equipment in Energy or Water Conservation
and the Catalogue of Preferential CIT Treatments for Specialized Equipment in Environmental
Protection. If the company transfers or leases the equipment within five years of purchase, the
amount of the tax credit must be repaid.

Financial contribution: This program provides a financial contribution in the form of
government revenue foregone under section 771(5)(D)(ii) of the Act.

Specificity: This program is limited to companies that purchase specific equipment. Thus, the
program is specific under section 771(5A)(D)(iii)(I) of the Act because the recipients of the
subsidy are limited in number.




79
     See Thermal Paper, and accompanying Issues and Decision Memorandum at Section I.L.
80
     See Volume VI of the Petition at Exhibit CVD-55.


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Benefit: The tax reduction confers a benefit equal to the amount of revenue foregone by the
government under 19 CFR 351.510.

Support: Petitioners provided the following: Corporate Income Tax Law Article 34; The
Implementation Rules for the Corporate Income Tax Law, Article 100; Notice of Issuance of the
Catalogue of Preferential Corporate Income Tax Treatments for Specialized Equipment in
Energy or Water Conservation (2008 Version) and the Catalogue of Preferential CIT Treatments
for Specialized Equipment in Environmental Protection (2008 Version), Caishui, No. 115,
Jointly Issued by the Ministry of Finance, the State Administration of Taxation and the State
Development and Reform Committee (August 20, 2008); Notice of Issuance of the Catalogue of
Preferential Corporate Income Tax Treatments for Specialized Equipment in Safe Production
(2008 Version), Caishui, No. 118, Jointly Issued by the Ministry of Finance, the State
Administration of Taxation, and the State Administration of Work Safety (August 28, 2008). 81

Recommendation: Upon review of the catalogues listing the equipment for Energy and Water
Savings Equipment and Environmental Protection Equipment, this equipment (e.g., air
conditioning equipment, ventilators, pumps, industrial boilers, air pollution prevention
equipment, environmental monitoring instrumentation) appears to be able to be used by a wide
array of enterprises and industries. Consequently, we recommend finding that Petitioners have
failed to support their allegation of a countervailable subsidy.

           9. Trade financing services from China’s Export-Import Bank

Description: Petitioners note that, according to its website, the Export-Import Bank of China
(“China ExIm”) provides various services to borrowers, including packing loans, export bill
purchases, opening letters of credit, opening letters of guarantee, inward bill advance, delivery
against guarantee, factoring, forfeiting and other services. Petitioners maintain that the stated
objective of these programs is to fulfill China ExIm’s duties entrusted by the GOC.

Financial contribution: These programs provide a direct financial contribution by the GOC
under sections 771(5)(B)(i) and (D)(i) of the Act.

Specificity: These programs are specific because they are limited to companies that export,
pursuant to section 771(5A)(B) of the Act.

Benefit: The benefit is an amount equal to the amount of revenue forgone by the government
under 19 CFR 351.510, or equal to the amount of the funds provided under 19 CFR 351.504.

Support: Petitioners provided the following: Export-Import Bank of China, Trade Financing;
Export-Import Bank of China, 2012 Annual Report at 19. 82

Recommendation: Petitioners’ alleged benefit is revenue forgone and grants, however, the
alleged financial contribution is direct transfer of funds which would include loans. Thus, the
evidence provided by Petitioners does not support the allegation of loans being provided under

81
     See Volume VI of the Petition at Exhibits CVD-58 - 61, respectively; see also Supplement to the Petition at 18.
82
     See Volume VI of the Petition at Exhibits CVD-66 - 67, respectively.


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terms that would confer a benefit to producers of subject merchandise. Petitioners have failed to
provide information to support an allegation that pre-shipment packing loans and the discounts
of trade bill are provided at preferential rates. Furthermore, there is no information explaining or
detailing the financial contribution and benefit for export and import factoring services provided
by the bank. Therefore, we recommend finding that Petitioners have failed to support their
allegation of a countervailable subsidy.



RECOMMENDATION:

We have examined the accuracy and adequacy of the evidence provided in the Petition as
discussed in this checklist and attachments, and recommend determining that the evidence is
sufficient to justify the initiation of a CVD investigation with regard to the PRC. We also
recommend determining that the Petition has been filed by, or on behalf of, the domestic
industry.



ATTACHMENTS:

   I.        Scope of the Investigation
   II.       Analysis of Industry Support
   III.      Analysis of Allegations and Evidence of Material Injury and Causation
   IV.       Action Letter from the ITC




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                                          Attachment I

                                   Scope of the Investigation


The products covered by this investigation are chlorinated isocyanurates. Chlorinated
isocyanurates are derivatives of cyanuric acid, described as chlorinated s-triazine triones. There
are three primary chemical compositions of chlorinated isocyanurates: (1) trichloroisocyanuric
acid (“TCCA”) (Cl3(NCO)3), (2) sodium dichloroisocyanurate (dihydrate) (NaCl2(NCO)3 X
2H2O), and (3) sodium dichloroisocyanurate (anhydrous) (NaCl2(NCO)3). Chlorinated
isocyanurates are available in powder, granular and solid (e.g., tablet or stick) forms.

Chlorinated isocyanurates are currently classifiable under subheadings 2933.69.6015,
2933.69.6021, 2933.69.6050, 3808.50.4000, 3808.94.5000, and 3808.99.9500 of the Harmonized
Tariff Schedule of the United States (“HTSUS”). The tariff classification 2933.69.6015 covers
sodium dichloroisocyanurates (anhydrous and dihydrate forms) and trichloroisocyanuric acid.
The tariff classifications 2933.69.6021 and 2933.69.6050 represent basket categories that include
chlorinated isocyanurates and other compounds including an unfused triazine ring. The tariff
classifications 3808.50.4000, 3808.94.5000 and 3808.99.9500 cover disinfectants that include
chlorinated isocyanurates. The HTSUS subheadings are provided for convenience and customs
purposes. The written description of the scope of the investigation is dispositive.




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                                                 Attachment II

                   Analysis of Industry Support for the Petitions Covering
          Chlorinated Isocyanurates from Japan and the People’s Republic of China

Background

Sections 702(c)(4)(A) and 732(c)(4)(A) of the Tariff Act of 1930, as amended (“the Act”), state
that the administering authority shall determine that a petition has been filed by or on behalf of
the industry if the domestic producers or workers who support the petition account for: (1) at
least 25 percent of the total production of the domestic like product; and (2) more than 50
percent of the production of the domestic like product produced by that portion of the industry
expressing support for, or opposition to, the petition. The above-referenced Petitions 1 contain
data supporting a finding that Petitioners’ 2 share is at least 25 percent of total production of the
domestic like product and more than 50 percent of the domestic like product production of those
producers expressing support for, or opposition to, the Petitions.

Section 771(4)(A) of the Act defines “industry” as the producers of a domestic like product.
Thus, to determine whether a petition has the requisite industry support, the Act directs the
Department of Commerce (“the Department”) to look to producers and workers who produce the
domestic like product. The International Trade Commission (“ITC”), which is responsible for
determining whether “the domestic industry” has been injured, must also determine what
constitutes a domestic like product in order to define the industry. While both the Department
and the ITC must apply the same statutory definition regarding the domestic like product (section
771(10) of the Act), they do so for different purposes and pursuant to a separate and distinct
authority. In addition, the Department’s determination is subject to limitations of time and
information. Although this may result in different definitions of the like product, such
differences do not render the decision of either agency contrary to law. 3

Section 771(10) of the Act defines the domestic like product as “a product which is like, or in the
absence of like, most similar in characteristics and uses with, the article subject to an
investigation under this subtitle.” Thus, the reference point from which the domestic like
product analysis begins is “the article subject to an investigation,” i.e., the class or kind of
merchandise to be investigated, which normally will be the scope as defined in the petition.
While the Department is not bound by the criteria used by the ITC to determine the domestic like
product in answering this question, we have reviewed these factors as presented by Petitioners.
The criteria are: (1) physical characteristics and uses; (2) interchangeability; (3) channels of
distribution; (4) customer and producer perceptions; (5) common manufacturing facilities,
processes, and employees; and (6) price. 4 With regard to the domestic like product, Petitioners

1
  See Petitions for the Imposition of Antidumping Duties on Chlorinated Isocyanurates from Japan and
Countervailing Duties on Chlorinated Isocyanurates from the People’s Republic of China, dated August 29, 2013
(“Petitions”).
2
  Petitioners are Clearon Corp. (“Clearon”) and Occidental Chemical Corporation (“OxyChem”).
3
  See USEC, Inc. v. United States, 132 F. Supp. 2d 1, 8 (CIT 2001) (citing Algoma Steel Corp. Ltd. v. United States,
688 F. Supp. 639, 644 (CIT 1988), aff’d 865 F.2d 240 (Fed. Cir. 1989)).
4
  See Fujitsu Ltd. v. United States, 36 F. Supp. 2d 394, 397-98 (CIT 1999); Torrington Co. v. United States, 747 F.
Supp. 744, 748-49 (CIT 1990), aff’d, 938 F.2d 1278 (Fed. Cir. 1991); see also Antidumping and Countervailing

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do not offer a definition of domestic like product distinct from the scope of the investigations. 5
Petitioners note that “{t}he Commission looks for clear dividing lines among possible like
products and disregards minor variations. Where there is a ‘continuum’ of products slightly
distinguishable from each other, the Commission treats the merchandise as a single product.” 6
As a result, Petitioners contend that there is a single like product co-extensive with the scope of
the investigations. For a detailed analysis and discussion, see the “Analysis of Domestic Like
Product” section below.

Analysis of Domestic Like Product

         A. Chlorinated Isocyanurates

Petitioners address the six criteria used by the ITC to determine the domestic like product in
Volume I of the Petitions, at 96-108. Petitioners note that “{i}n the 2005 investigation of
Chlorinated Isocyanurates from China and Spain, the Commission found that chlorinated
{isocyanurates} constituted a single like product coextensive with the scope of the petition and
Commerce investigations. The Commission considered and rejected three arguments for
subdividing chlorinated {isocyanurates} into different like products.” 7 Petitioners urge the
Department to find a single like product co-extensive with the scope for purposes of these
investigations. Petitioners make the following arguments:

         1) Physical Characteristics and Uses

Chlorinated isocyanurates (“chlorinated isos”), as defined by the scope of the investigations,
consist of sodium dichloroiscyanurates (“dichlor”) and trichoroisocyanuric acid (“trichlor”).
According to Petitioners, both dichlor and trichlor are produced by chlorinating cyanuric acid
and have similar chemical compositions.8 Petitioners note that both dichlor and trichlor are
white granular or powder products, when sold in bulk, and may be pressed into tablets. 9
Petitioners further note that both dichlor and trichlor “are chemically stable means of storing and
delivering chlorine, which is released when the product is introduced into water.” 10 According to
Petitioners, both products are primarily used as pool water disinfectants and for sanitization, but
can also be used in sanitizers, detergents, cleaners, scouring powders, bleaches, and for water
treatment applications. 11 Although dichlor and trichlor have slightly different applications due to
their differing available chlorine percentages, Petitioners argue that these differences do not
create clear dividing lines. 12


Duty Handbook, Twelfth Edition, United States International Trade Commission, Publication 3916 (April 2007), at
II-33.
5
  See Volume I of the Petitions, at 96.
6
  Id., at 97 (citations omitted).
7
  Id., at 96 (citation omitted), and Volume II of the Petitions, at Exhibit GEN-10; see also Chlorinated Isocyanurates
from China and Spain, Inv. Nos. 731-TA-1082 and 1083 (Final), USITC Pub. 3782 (June 2005) (“Chlorinated
Isocyanurates from China and Spain”) at 6-10.
8
  See Volume I of the Petitions, at 97.
9
  Id.
10
   Id.
11
   Id., at 98.
12
   Id., at 97.

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Petitioners also contend that powdered chlorinated isos have the same physical characteristics
and uses as other chlorinated isos. According to Petitioners, powdered chlorinated isos differ
from granular chlorinated isos only in the size of the individual particles; in terms of chemical
composition, powdered and granular chlorinated isos are identical. 13 In fact, Petitioners note that
granular chlorinated isos are produced by granulation of powdered chlorinated isos. 14

In addition, Petitioners also contend that blended chlorinated isos tablets have the same or very
similar physical characteristics to other forms of chlorinated isos. According to Petitioners,
blended chlorinated isos tablets contain trichlor or dichlor and other active ingredients that
provide (or are advertised to provide) additional functions. 15 As an example, Petitioners note that
dichlor may be blended with additional components, such as an effervescent, to cause the tablet
to dissolve faster. 16 Petitioners argue that the blended tablets compete with other forms of
chlorinated isos for the same customer applications because blending chlorinated isos with other
components, such as algaecides or clarifiers, does not alter the end uses of the product. 17
According to Petitioners, there are no “‘clear dividing lines’ based on whether the subject
merchandise is in granular, tablet, blended tablet, or another form.” 18

         2) Interchangeability

Petitioners note that, although both dichlor and trichlor have similar uses, dichlor tends to be
used for “shock treatments” (where chlorine levels need to be increased quickly to combat
bacteria and algae attacks), while trichlor is used as a “maintenance product because of its slower
release and lower solubility characteristics.” 19 However, Petitioners note that both trichlor and
dichlor are chemically equivalent once dissolved in water. 20

According to Petitioners, powdered chlorinated isos have no substantial independent end-use or
separate market. Petitioners note that the majority of chlorinated isos powder is used to make
granular products and a small percentage of trichlor powder is used as “shock” product for
swimming pools since powder dissolves faster. 21

With respect to blended tablets, Petitioners argue that blended tablets compete with “pure”
dichlor and trichlor tablets, as well as other forms of chlorinated isos, for the same customer
applications. According to Petitioners, although blended tablets may be marketed as having
additional properties, blending the tablets with additional components does not alter the end uses
of the product. 22


13
   Id., at 103.
14
   Id.
15
   Id., at 100.
16
   Id.
17
   Id., at 101.
18
   Id. (citation omitted).
19
   Id., at 98.
20
   Id.
21
   Id., at 103-104.
22
   Id., at 101.

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        3) Channels of Distribution

Petitioners note that both dichlor and trichlor are marketed and sold through the same channels
of distribution (repackagers (that also may be tableters), wholesale distributors, retailers, pool
service professionals, consumers, and commercial swimming pool and spa operators). 23
Likewise, Petitioners state that powdered chlorinated isos and blended tablets are distributed
through the same channels of distribution as other chlorinated isos. 24

        4) Customer and Producer Perceptions

Petitioners contend that all chlorinated isos are advertised and perceived by customers and
producers as sanitizing products. 25

        5) Common Manufacturing Facilities, Processes, and Employees

Petitioners state that production of both dichlor and trichlor involves the same basic chemical
process even though different equipment is used to make the two products. According to
Petitioners, “{f}or at least one domestic producer, manufacturing takes place in the same
facilities, using the same employees.” 26

Petitioners also note that all chlorinated isos manufacturers produce both powdered and granular
trichlor, with powdered product being produced first and then granulated to produce the granular
product. According to Petitioners, if there is demand for powdered trichlor, domestic producers
will sell that product. If there is no demand for powdered trichlor, “any powder that falls
through the sizing operation during granulation is simply recycled back through the granulation
process and recovered as granular product.” 27

With respect to blended tablets, Petitioners note that blended tablets are produced in the same
facilities that produce trichlor tablets and repackage granular trichlor and dichlor. In fact,
Petitioners state that the raw material for the production of blended tablets is primarily granular
chlorinated isos. Furthermore, Petitioners state that blended tablets are produced on the same
presses that produce trichlor tablets. 28

        6) Pricing

Petitioners note that “the price differential between dichlor and trichlor follows no standard
pattern and is quite changeable. Hence, at times, prices for both chlorinated isos may be the
same or the price of trichlor may be even higher than the price of dichlor.” 29 However, in
general, Petitioners contend that the price of dichlor tends to be higher because the volume


23
   Id., at 98.
24
   Id., at 101 and 104.
25
   See Volume I of the Petitions, at 98 and Volume II of the Petitions, at Exhibits GEN-3, GEN-4, and GEN-5.
26
   Id., at 98.
27
   Id., at 104.
28
   Id., at 101.
29
   Id., at 99.

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produced is lower and there are more production steps. 30 Petitioners also note that blended
tablets are sold at higher prices than bulk granular trichlor to account for the additional costs of
blending and tableting. 31

Department’s Position:

We have analyzed the criteria presented by Petitioners and have found there is reason to
conclude that all chlorinated isos comprise a single domestic like product. We note that
Petitioners’ domestic like product definition is consistent with the domestic like product defined
by the ITC in the previous antidumping duty investigations of chlorinated isos. 32 Furthermore,
unless the Department finds Petitioners’ definition of the domestic like product to be inaccurate,
we will adopt the domestic like product definition set forth in the Petitions. While the statute
defines the “domestic like product” as “a product which is like, or in the absence of like, most
similar in characteristics and uses with, the article subject to an investigation,” pursuant to
section 771(10) of the Act, Petitioners have presented the Department with information
pertaining to the factors the ITC traditionally analyzes. Based on our analysis of the information
submitted in the Petitions, all chlorinated isos (including powdered chlorinated isos and blended
tablets) have common physical characteristics and uses; compete with each other for certain end
uses; are sold through the same channels of distribution; are produced using similar production
processes, in common manufacturing facilities, using common employees; and are priced
similarly.

        B. Tableting and Repackaging

Petitioners also contend that, consistent with the ITC’s examination in Chlorinated
Isocyanurates from China and Spain, the domestic industry producing the domestic like product
should not include processors that take bulk trichlor, press it into tablets, and repackage it for
retail sale. 33 To support their argument, Petitioners address the six factors normally considered
by the ITC in analyzing whether production-related activities are sufficient to constitute
“production,” with references to the ITC’s consideration of this issue in Chlorinated
Isocyanurates from China and Spain. 34

Petitioners note that Petitioner Clearon’s capital investment in tableting and packaging
equipment is [xxxx xxxx] than the company’s total book value of property, plant, and equipment
utilized in chlorinated isos operations in 2012. 35 Petitioners further contend that there are
substantial differences in the training and technical expertise of the workforce involved in
producing dichlor/trichlor and the technical expertise of the tableters and re-packers. For
support, Petitioners note that the majority of labor used in Clearon’s tableting and packaging

30
   Id.
31
   Id., at 102.
32
   Id. at 96, 99, 102-103, 104-105, and Volume II of the Petitions, at Exhibit GEN-10; see also Chlorinated
Isocyanurates from China and Spain, at 6-10.
33
   See Volume I of the Petitions, at 105 and Volume II of the Petitions, at Exhibit GEN-10; see also Chlorinated
Isocyanurates from China and Spain, at 10-14.
34
   See Volume I of the Petitions, at 105-108 and Volume II of the Petitions, at Exhibit GEN-10; see also Chlorinated
Isocyanurates from China and Spain, at 10-14.
35
   See Volume I of the Petitions, at 105.

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facility consists of unskilled, low-wage contract workers. 36 Furthermore, Petitioners state that
Clearon employed [III] production and related workers in 2012, [xxxx] of which are involved in
the tableting operations. 37 With respect to value added to the product in the United States,
Petitioners state that “tableting trichlor adds [II.I] percent to the cost of granular trichlor sold in
the U.S. market.” 38 Petitioners also note that prices for trichlor vary along a continuum
depending on the type of packaging (bulk versus retail) and the form of the product (granular
versus tablet). According to Petitioners, prices range from [II.II/xx.] for trichlor 90 granular to
[II.II] for trichlor in 3-inch tablets, packaged in pails for retail sale. 39 Finally, Petitioners note
that major tableters in the United States are also importers of chlorinated isos from China and
Japan. 40

Petitioners also note that the Department found that tableting imported chlorinated isos in
Canada was not sufficient to change the country of origin of the imported chlorinated isos. 41
Furthermore, Petitioners contend that, in other cases where chemical products were manipulated
into different forms without chemical reaction, the Department has determined that merely
changing the form of the subject chemicals did not sufficiently alter the essential character of the
products to change the country of origin. 42

Department’s Position:

We have analyzed the criteria presented by Petitioners and have found there is reason to
conclude that the domestic industry should not include tableters. Significantly, we note that
Petitioners’ definition of the domestic industry in these Petitions is consistent with the
determination of three ITC Commissioners to exclude companies that only tablet and repackage
chlorinated isos from the domestic industry in the previous antidumping duty investigations of
chlorinated isos. 43 Based on our analysis of the information submitted in the Petitions, the facts
remain very similar to the facts examined by the ITC in Chlorinated Isocyanurates from China
and Spain. Data provided by Petitioners indicate that tableting does not require significant
capital investment, technical production expertise, or employment levels when compared to the
capital investment, technical expertise, and employment levels required to establish an integrated
chlorinated isos operation.

Industry Support Calculation

In determining whether Petitioners have standing (i.e., those domestic workers and producers
supporting the Petitions account for (1) at least 25 percent of the total production of the domestic
like product and (2) more than 50 percent of the production of the domestic like product

36
   Id., at 106.
37
   Id.
38
   Id.
39
   Id.
40
   Id., at 106-107, Volume III of the Petitions, at Exhibit AD-17, and Volume IV of the Petitions, at Exhibit CVD-
87.
41
   Id., at 108 and Volume II of the Petitions, at Exhibit GEN-7.
42
   See Volume I of the Petitions, at 108.
43
   Id. at 107, and Volume II of the Petitions, at Exhibit GEN-10; see also Chlorinated Isocyanurates from China and
Spain, at 10-14.

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produced by that portion of the industry expressing support for, or opposition to, the Petitions),
we conducted the following analysis.

We considered the industry support data contained in the Petitions with reference to the domestic
like product as defined in Attachment I, “Scope of the Investigation,” to this Checklist and
discussed above. We also considered Petitioners arguments regarding the definition of the
domestic industry, also discussed above. Petitioners state that there are three producers of
chlorinated isos in the United States: Clearon, OxyChem, and BioLab, Inc. (“BioLab”). 44 To
support their claim, Petitioners provided an affidavit from Jeffrey L. Williams, the Senior
Business Manager, ACL, Chlorite & Silicates, OxyChem, who has worked for OxyChem since
1986. Mr. Williams states that, based on his knowledge of the market, his company’s [xxxxxxxx
xx x xxxxxxxx xx xxx xxxxxxxxx xx xxxxx xxxxxxxxx], and feedback from OxyChem’s
customers in the U.S. market, OxyChem, Clearon, and BioLab are the three manufacturers of
chlorinated isos in the United States. 45 Furthermore, Petitioners provided a marketing research
report on chlorinated isocyanurates, from SRI Consulting, which also identifies the same three
producers of chlorinated isocyanurates in the United States. 46

To establish industry support, Petitioners provided their own production of the domestic like
product for calendar year 2012. 47 In addition, Petitioners estimated BioLab’s 2012 production of
the domestic like product. 48

Petitioners note that [IxxIxx xxxxxxxx xxxxxxxxxxx xxxx xx xxxxxxxxxx xxxxxxxx xxxx xxxx
IxxIxxx xxx xxxxxxxxxx xx xx xxxxxxxx]. 49 According to Petitioners, [IxxIxxx xx xxx xxxx
xxxxxxxx xx xxxxxxxx xxxx xxxx xx IxxIxx xx xxxxxxxxxxx xxxxxxxxxxx xxxx]. 50 To
estimate the BioLab’s 2012 production of the domestic like product, Petitioners first calculated
[IxxIxxxIx xxxxx xxxx xx xxxxxxxx xxxx xxxx xx xxx xxxxxxxxxx xx xxxxxxxx]. 51
Petitioners contend that [IxxIxx xxx IxxIxxx xxx x xxxx xxxxxxx xxxxxxx xx xxxxxxx
xxxxxxxx xxxx xxxxxxxx xxxx]. 52 Next, Petitioners applied [IxxIxxxIx xxxxxxxx xxxx xxxxx
xxxx xx IxxIxxxIx xxxxx xx xxxxxxxx xxxx xx IxxIxx] to calculate BioLab’s estimated trichlor
production in 2012. 53 To calculate total 2012 production of the domestic like product, Petitioners
added their own 2012 production to the estimated 2012 production of BioLab. 54

Petitioners compared their own 2012 production volume to the estimated 2012 production
volume of the entire domestic industry. 55 Based on information provided in the Petitions,
Petitioners account for [II.II] percent of total production of the domestic like product.
44
   See Volume I of the Petitions, at 2-3.
45
   See Volume II of the Petitions, at Exhibit GEN-12.
46
   Id., at Exhibit GEN-9 (E. Linka, H. Janshkar, C. Funada, “CEH Marketing Research Report, Chlorinated
Isocyanurates,” (Chemical Economics Handbook – SRI Consulting, 2012), at 5, 12.)
47
   See Volume I of the Petitions, at 4.
48
   Id. and Volume II of the Petitions, at Exhibit GEN-12.
49
   See Volume I of the Petitions, at 3.
50
   See Volume II of the Petitions, at Exhibit GEN-12.
51
   Id.
52
   Id.
53
   Id.
54
   See Volume I of the Petitions, at 4.
55
   Id.

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                                            Table 1
                                Calculation of Industry Support

                                                                    2012 Production of
                             Petitioners                             Chlorinated Isos
                                                                        (1,000 lbs)

      Clearon                                                                  [II,III]

      OxyChem                                                                  [II,III]

      Other U.S. Producers

      BioLab                                                                   [II,III]

      Total 2012 U.S. Production of Chlorinated Isos                       [III,III]

                      Total Industry Support                               [II.II]%




Challenge to Industry Support

None.

Findings

We relied on information provided by Petitioners, as described above, to establish total 2012
production of chlorinated isos. Using these data, as demonstrated above, we find that the
domestic producers who support the Petitions account for at least 25 percent of the total
production of the domestic like product. We further find that the domestic producers who
support the Petitions account for more than 50 percent of the production of the domestic like
product produced by that portion of the industry expressing support for, or opposition to, the
Petitions. Therefore, we find that there is adequate industry support within the meaning of
sections 702(c)(4)(A) and 732(c)(4)(A) of the Act.

We conducted a search of the internet and have been unable to locate information that
contradicts Petitioners’ assertions. We find that Petitioners have provided data that are
reasonably available. For these reasons, we determine that there is adequate industry support for
initiating these investigations. Accordingly, we find that the Petitions have met the requirements
of sections 702(c)(4)(A) and 732(c)(4)(A) of the Act.




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                                           Attachment III

      Analysis of Allegations and Evidence of Material Injury and Causation for the
       Petitions Covering Chlorinated Isocyanurates from Japan and the People’s
                                    Republic of China


I.       Introduction

When making a determination regarding the initiation of antidumping duty and countervailing
duty investigations, the Department of Commerce (“the Department”) examines, on the basis of
sources readily available to the Department, whether the petitions allege the elements necessary
for the imposition of antidumping and countervailing duties and contain information reasonably
available to the petitioner that supports the allegations. 1 This attachment analyzes the
sufficiency of the allegations and supporting evidence regarding material injury and causation.

II.      Definition of Domestic Industry

The domestic industry is described with reference to producers of the domestic like product, as
provided for in section 771(4)(A) of the Act. The Petitions 2 define the domestic industry as U.S.
producers of chlorinated isocyanurates (“chlorinated isos”). 3 Petitioners 4 identify themselves, as
well as one other producer of the domestic like product, as the companies constituting the
domestic industry in the United States. 5 For a discussion of the domestic like product, see
Attachment II, “Analysis of Industry Support for the Petitions Covering Chlorinated
Isocyanurates from Japan and the People’s Republic of China,” to this Checklist.

III.     Evidence of Injury and Threat of Injury

To determine injury, the statute requires an evaluation of the volume, price effects, and impact of
imports on the domestic industry and may consider other economic factors. 6 Specifically, in
examining the impact of imports, section 771(7)(C)(iii) of the Act states that:

         In examining the impact {of imports on domestic producers} …, the
         {International Trade} Commission {“ITC”} shall evaluate all relevant economic
         factors which have a bearing on the state of the industry in the United States,
         including, but not limited to–
                 (I) actual and potential decline in output, sales, market share, profits,
                 productivity, return on investments, and utilization of capacity,

1
  See sections 702(c)(1)(A)(i) and 732(c)(1)(A)(i) of the Tariff Act of 1930, as amended (“the Act”).
2
  See Petitions for the Imposition of Antidumping Duties on Chlorinated Isocyanurates from Japan and
Countervailing Duties on Chlorinated Isocyanurates from the People’s Republic of China, dated August 29, 2013
(“Petitions”). Petitioners filed the Supplement to the AD/CVD Petitions, dated September 9, 2013, in response to
the Department’s request for additional information regarding the Petitions.
3
  See Volume I of the Petitions, at 105-108.
4
  The petitioners are Clearon Corp. and Occidental Chemical Corporation (collectively, “Petitioners”).
5
  See Volume I of the Petitions, at 2-3 and Exhibits GEN-9 and GEN-12.
6
  See section 771(7)(B)(i) of the Act.



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               (II) factors affecting domestic prices,
               (III) actual and potential negative effects on cash flow, inventories,
               employment, wages, growth, ability to raise capital, and investment,
               (IV) actual and potential negative effects on the existing development and
               production efforts of the domestic industry..., and
               (V) in {an antidumping proceeding}…, the magnitude of the margin of
               dumping.

The Petitions allege that the domestic industry has experienced the following types of injury by
reason of imports from Japan and the People’s Republic of China (“China”):

•      Reduced market share (Volume I of the Petitions, at 115, 116 and 127, and
       Volume II of the Petitions, at Exhibit GEN-14);
•      Declining production, capacity utilization, and shipments (Volume I of the
       Petitions, at 115 and 123-127, and Volume II of the Petitions, at Exhibits GEN-9,
       GEN-12, and GEN-14);
•      Underselling and price depression or suppression (Volume I of the Petitions, at
       119-121 and 127-128, and Volume II of the Petitions, at Exhibits GEN-11, GEN-
       15 and GEN-16);
•      Lost sales and revenues (Volume I of the Petitions, at 119-121, and Volume II of
       the Petitions, at Exhibit GEN-16);
•      Negative impact on employment, hours worked, and wages paid (Volume I of the
       Petitions, at 125-127, and Volume II of the Petitions, at Exhibit GEN-14); and
•      Decline in financial performance (Volume I of the Petitions, at 121, and 126-128,
       and Volume II of the Petitions, at Exhibit GEN-14).

The Petitions also allege that the domestic industry could be threatened with further injury by
reason of imports from Japan and China:

•      Countervailable subsidies from the Government of China (Volume I of the
       Petitions, at 128);
•      Continued increase of subject imports and market penetration (Volume I of the
       Petitions, at 128-131);
•      Substantial existing capacity to increase production (Volume I of the Petitions, at
       119, 129 and 131, and Volume II of the Petitions, at Exhibits GEN-9, GEN-11
       and GEN-17);
•      Continued underselling and price depression or suppression (Volume I of the
       Petitions, at 130-131, and Volume II of the Petitions, at Exhibit GEN-11); and
•      Substantial inventories of subject merchandise in the U.S. market (Volume I of
       the Petitions, at 131).

The information from the Petitions provides the Department with a sufficient basis to conclude
that the allegations of material injury and threat of material injury as a result of imports of
subject merchandise are adequately supported.



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IV.      Cumulation

Section 771(7)(G)(i) of the Act requires the ITC to cumulate imports from all countries for
which petitions were filed on the same day if such imports compete with each other and with the
domestic like product in the United States market. On August 29, 2013, Petitioners filed the
Petitions against the two subject countries. Citing to import data and the ITC’s affirmative injury
determination in the antidumping duty investigations of chlorinated isos from China and Spain, 7
Petitioners argue that cumulation is appropriate. 8

In determining whether cumulation is appropriate, the ITC uses a framework of four factors. 9
These factors, along with the sections of the Petitions in which they are addressed, are listed
below.

•     The degree of fungibility between imports from the two subject countries and between the
      imports and the domestic like product.

         Petitioners submit that “chlorinated isos from China, Japan and the United States are
         highly fungible chemical commodities… {and} are fully interchangeable in the
         market.” 10 Moreover, Petitioners contend that market conditions do not differ from those
         in the 2005 Chlorinated Isos from China and Spain Investigations, in which the ITC
         found that “{s}ome producers, importers and purchasers reported that as long as the
         product is registered with the EPA, regardless of where it is produced, it is always
         interchangeable.” 11

•     Whether the imports and the domestic like product are handled in common or similar
      channels of distribution.

         Petitioners contend that imports and the domestic like product are sold through similar
         channels of distribution. Petitioners submit that “mass market retailers…purchase
         subject imports and domestically produced chlorinated isos…{and} sell the subject
         imports and domestic chlorinated isos on a nationwide basis.” 12 Petitioners also note that
         subject imports and domestically produced chlorinated isos are sold through
         distributors. 13

•     The presence of sales or offers for sale of the imports and the domestic like product in the
      same geographic markets.
7
  See U.S. International Trade Commission, Chlorinated Isocyanurates from China and Spain, Inv. Nos. 731-TA-
1082 and 1083 (Final), USITC Pub. 3782 (June 2005) (hereinafter, 2005 Chlorinated Isos from China and Spain
Investigations).
8
  See Volume I of the Petitions, at 109-112, and Volume II of the Petitions, at Exhibits GEN-2, GEN-10, GEN-11.
9
  See Certain Cast-Iron Pipe Fittings from Brazil, the Republic of Korea, and Taiwan, Inv. Nos. 731-TA-278-280
(Final), USITC Pub. 1845 (May 1986); see also Fundicao Tupy, S.A. v. United States, 678 F. Supp. 898, 902 (Ct.
Int’l Trade 1988), aff’d, 859 F.2d 915 (Fed. Cir. 1988).
10
   See Volume I of the Petitions, at 109-110, and Volume II of the Petitions, at Exhibits GEN-2, GEN-10, and GEN-
11.
11
   See Volume I of the Petitions at 109-110, and Volume II of the Petitions, at Exhibits GEN-10 and GEN-11.
12
   See Volume I of the Petitions, at 110, and Volume II of the Petitions, at Exhibit GEN-10.
13
   Id., and Volume II of the Petitions, at Exhibit GEN-13.

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         Petitioners submit that subject imports and the domestic like product are sold in
         overlapping geographic markets. Petitioners argue that, as demonstrated by import data,
         “96.4% of the volume of subject imports entered through the same Customs Districts…
         {and}{t}he vast majority of imports arrive through Los Angeles or New York and are
         distributed nationally from either coast.” 14

•     Whether the imports are present in the U.S. market simultaneously.

         Petitioners submit that imports from China and Japan have been simultaneously present
         in the U.S. market over the three year period of investigation (“POI”). 15 Furthermore,
         Petitioners argue that subject imports “have continued to enter through Los Angeles and
         New York in 2013.” 16

V.       Negligibility

Section 771(24)(A)(i) of the Act states that “imports from a country of merchandise
corresponding to a domestic like product identified by the Commission are ‘negligible’ if such
imports account for less than 3 percent of the volume of all such merchandise imported into the
United States in the most recent 12-month period for which the data are available . . .”
According to ITC Dataweb import data provided by Petitioners for the most recent 12-month
period for which the data were available (July 2012 through June 2013), the volume of
chlorinated isos imports from China and Japan accounted for 50.4 percent and 42 percent of total
imports, respectively. 17 Petitioners submit that “it is clear from these data that imports from
China and Japan were not negligible.” 18 Petitioners further contend that the volume of subject
imports from the two countries, whether measured cumulatively or individually, is significant. 19

VI.      Causation of Material Injury or Threat of Material Injury

Petitioners contend that the material injury and the threat of material injury to the domestic
industry were caused by the impact of the allegedly dumped and subsidized imports from Japan
and China. In support of their argument, Petitioners provide information on the historical trend
of the volume of the allegedly dumped and subsidized imports, focusing on the period beginning
with 2010 and ending with the year-to-date data for June 2013 (the most recently available
data). 20 In the Petitions, Petitioners demonstrate the effect of these import volumes, and their
respective values, on domestic prices, market share, production, shipments, capacity utilization,
employment, hours worked, wages paid, and the consequent impact on the domestic industry,



14
   See Volume I of the Petitions, at 110-111.
15
   Id., at 111-112.
16
   Id., at 112, and Volume II of the Petitions, at Exhibit GEN-13.
17
   See Volume I of the Petitions, at 112-113; Volume III of the Petitions, at Exhibit AD-2; and Volume IV of the
Petitions, at Exhibit CVD-86.
18
   See Volume I of the Petitions, at 112.
19
   Id., at 114.
20
   Id., at 109-115 and 129-130; Volume II of the Petitions, at Exhibits GEN-13 and GEN-14; Volume III of the
Petitions, at Exhibit AD-2; and Volume IV of the Petitions, at Exhibit CVD-86.

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specifically on financial performance, sales and revenue. 21 Petitioners argue that this evidence
reflects the injurious effects on the U.S. industry’s financial performance and market share
caused by increasing imports of the subject chlorinated isos at prices substantially lower than
price offers from Petitioners, thereby resulting in significant incidents of lost sales and
revenues. 22

In making a determination regarding causation of material injury, the ITC is directed to evaluate
the volume of subject imports (section 771(7)(B)(i)(I) of the Act), the effect of those imports on
the prices of domestically-produced products (section 771(7)(B)(i)(II) of the Act) and their
impact on the domestic operations of U.S. producers (section 771(7)(B)(i)(III) of the Act).
Petitioners base their allegations of causation of current injury upon their reduced market share;
decline in production, capacity utilization, and shipments; underselling and price depression or
suppression; negative impact on employment, hours worked, and wages paid; lost sales and
revenues; and decline in financial performance. 23

In regards to the threat of material injury, Petitioners base their allegations on countervailable
subsidies from the Government of China; continued increase of subject imports and market
penetration; substantial existing capacity to increase production; continued underselling and
price depression or suppression; and substantial inventory overhang. 24

The allegations of causation of material injury and the threat of material injury are based upon
the factors indicating current injury, as well as the factors indicating threat of material injury as
noted above. The factors related to causation presented in the injury section of the Petitions are
the types of factors that the ITC is directed to consider for the purpose of evaluating causation
under sections 771(7)(C) and 771(7)(F) of the Act.

VII.    Conclusion

In order to assess the accuracy and adequacy of the evidence relating to the allegations regarding
material injury and causation, we examined the information presented in the Petitions and the
supplement to the Petitions, and compared it with information that was reasonably available
(e.g., import data on the ITC website and additional industry reports available online). We have
not located any information that contradicts Petitioners’ assertions.

We have analyzed Petitioners’ evidence regarding material injury and causation and have found
that the information in the Petitions demonstrates a sufficient showing of injury or threat of
injury to the U.S. industry producing chlorinated isos. Therefore, we find the overall evidence of
injury included in the Petitions to be adequate to initiate the investigations of chlorinated isos
from China and Japan. Ultimately, the ITC will make the final determination with respect to
material injury, or threat thereof, and causation.

21
   See Volume I of the Petitions, at 115- 116 and 119-128, and Volume II of the Petitions, at Exhibits GEN-9, GEN-
12 and GEN-14 through GEN-16.
22
   Id.
23
   See Section III above.
24
   See Volume I of the Petitions, at 119 and 128-132, and Volume II of the Petitions, at Exhibits GEN-9, GEN-11,
GEN-14 and GEN-17.

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                     UNITED STATES INTERNATIONAL TRADE COMMISSION


                  Investigation Nos. 701‐TA‐501 and 731‐TA‐1226 (Preliminary)

                    CHLORINATED ISOCYANURATES FROM CHINA AND JAPAN

Institution of antidumping and countervailing duty investigations and scheduling of preliminary
phase investigations.

AGENCY:    United States International Trade Commission.

ACTION:   Notice.

SUMMARY: The Commission hereby gives notice of the institution of investigations and
commencement of preliminary phase antidumping and countervailing duty investigations
Nos. 701‐TA‐501 and 731‐TA‐1226 (Preliminary) under sections 703(a) and 733(a) of the Tariff
Act of 1930 (19 U.S.C. '' 1671b(a) and 1673b(a)) (the Act) to determine whether there is a
reasonable indication that an industry in the United States is materially injured or threatened
with material injury, or the establishment of an industry in the United States is materially
retarded, by reason of imports from chlorinated isocyanurates from China and Japan, provided
for in subheadings 2933.69.60 and 3808.99.95 of the Harmonized Tariff Schedule of the United
States, that are alleged to be sold in the United States at less than fair value by Japan and
alleged to be subsidized by China. Unless the Department of Commerce extends the time for
initiation pursuant to sections 702(c)(1)(B) or 732(c)(1)(B) of the Act (19 U.S.C.
'' 1671a(c)(1)(B) or 1673a(c)(1)(B)), the Commission must reach a preliminary determination in
antidumping and countervailing duty investigations in 45 days, or in this case by October 11,
2013. The Commission=s views are due at Commerce within five business days thereafter, or
by October 22, 2013.

       For further information concerning the conduct of these investigations and rules of
general application, consult the Commission=s Rules of Practice and Procedure, part 201,
subparts A through E (19 CFR part 201), and part 207, subparts A and B (19 CFR part 207).

EFFECTIVE DATE:     August 29, 2013.

FOR FURTHER INFORMATION CONTACT: Joanna Lo (202‐205‐1888), Office of Investigations,
U.S. International Trade Commission, 500 E Street SW, Washington, DC 20436.
Hearing‐impaired persons can obtain information on this matter by contacting the
Commission=s TDD terminal on 202‐205‐1810. Persons with mobility impairments who will
need special assistance in gaining access to the Commission should contact the Office of the
Secretary at 202‐205‐2000. General information concerning the Commission may also be
obtained by accessing its internet server (http://www.usitc.gov). The public record for these



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investigations may be viewed on the Commission=s electronic docket (EDIS) at
http://edis.usitc.gov.

SUPPLEMENTARY INFORMATION:

       Background.‐‐These investigations are being instituted in response to a petition filed on
August 29, 2013 by Clearon Corp., South Charleston, WV; and Occidental Chemical Corp. Dallas,
TX.

        Participation in the investigations and public service list.‐‐Persons (other than
petitioners) wishing to participate in the investigations as parties must file an entry of
appearance with the Secretary to the Commission, as provided in sections 201.11 and 207.10 of
the Commission=s rules, not later than seven days after publication of this notice in the Federal
Register. Industrial users and (if the merchandise under investigation is sold at the retail level)
representative consumer organizations have the right to appear as parties in Commission
antidumping and countervailing duty investigations. The Secretary will prepare a public
service list containing the names and addresses of all persons, or their representatives, who are
parties to these investigations upon the expiration of the period for filing entries of appearance.

        Limited disclosure of business proprietary information (BPI) under an administrative
protective order (APO) and BPI service list.‐‐Pursuant to section 207.7(a) of the Commission=s
rules, the Secretary will make BPI gathered in these investigations available to authorized
applicants representing interested parties (as defined in 19 U.S.C. ' 1677(9)) who are parties to
the investigations under the APO issued in the investigations, provided that the application is
made not later than seven days after the publication of this notice in the Federal Register. A
separate service list will be maintained by the Secretary for those parties authorized to receive
BPI under the APO.

        Conference.‐‐The Commission’s Director of Investigations has scheduled a conference in
connection with these investigations for 9:30 a.m. on September 19, 2013, at the U.S.
International Trade Commission Building, 500 E Street SW, Washington, DC. Requests to
appear at the conference should be filed with William.Bishop@usitc.gov and
Sharon.Bellamy@usitc.gov (DO NOT FILE ON EDIS) on or before September 17, 2013. Parties
in support of the imposition of countervailing and antidumping duties in these investigations
and parties in opposition to the imposition of such duties will each be collectively allocated one
hour within which to make an oral presentation at the conference. A nonparty who has
testimony that may aid the Commission=s deliberations may request permission to present a
short statement at the conference.

        Written submissions.‐‐As provided in sections 201.8 and 207.15 of the Commission=s
rules, any person may submit to the Commission on or before September 24, 2013, a written
brief containing information and arguments pertinent to the subject matter of the
investigations. Parties may file written testimony in connection with their presentation at the
conference no later than three days before the conference. If briefs or written testimony


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contain BPI, they must conform with the requirements of sections 201.6, 207.3, and 207.7 of
the Commission=s rules. Please be aware that the Commission’s rules with respect to
electronic filing have been amended. The amendments took effect on November 7, 2011.
See 76 Fed. Reg. 61937 (Oct. 6, 2011) and the newly revised Commission’s Handbook on
E‐Filing, available on the Commission’s web site at http://edis.usitc.gov.

        In accordance with sections 201.16(c) and 207.3 of the rules, each document filed by a
party to the investigations must be served on all other parties to the investigations (as
identified by either the public or BPI service list), and a certificate of service must be timely
filed. The Secretary will not accept a document for filing without a certificate of service.

AUTHORITY: These investigations are being conducted under authority of title VII of the Tariff
Act of 1930; this notice is published pursuant to section 207.12 of the Commission=s rules.

          By order of the Commission.


                                                  Lisa R. Barton
                                                  Acting Secretary to the Commission
Issued:




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                             CERTIFICATE OF COMPLIANCE

       Pursuant to Rule 2(b) of the Court’s Standard Chambers Procedures, defendant’s counsel

certifies that defendant’s filing in this matter complies with the Court’s type-volume limitation

rules and the Court’s scheduling order in this matter. According to the word count calculated by

the word processing system with which the motion was prepared, the confidential version of the

consolidated brief contains a total of 10,386 words.



                                        /s/ Joshua Kurland

May 26, 2021
